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  DISTRICT COURT, CITY AND COUNTY OF
  DENVER, COLORADO                                  DATE FILED: September 6, 2023 9:01 AM
                                                    FILING ID: ACFEFE55A1C72
  1437 Bannock St.                                  CASE NUMBER: 2023CV32577
  Denver, CO 80203

  Petitioners:
  NORMA ANDERSON, MICHELLE PRIOLA,
  CLAUDINE CMARADA, KRISTA KAFER,
  KATHI WRIGHT, and CHRISTOPHER
  CASTILIAN,

  v.

  Respondents:
  JENA GRISWOLD, in her official capacity as
  Colorado Secretary of State, and
  DONALD J. TRUMP.                                   ▲ COURT USE ONLY ▲


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                                VERIFIED PETITION
            UNDER C.R.S. § 1-4-1204, § 1-1-113, § 13-51-105, and C.R.C.P. 57(a)
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         Petitioners Norma Anderson, Michelle Priola, Claudine Cmarada, Krista Kafer, Kathi
 Wright, and Christopher Castilian, eligible Colorado electors, bring this action under C.R.S.
 § 1-4-1204(4), § 1-1-113(1), § 13-51-105, and C.R.C.P. 57(a), to challenge the listing of
 Respondent Donald J. Trump as a candidate on the 2024 Republican presidential primary
 election ballot and any future election ballot, based on his disqualification from public office
 under Section 3 of the Fourteenth Amendment to the Constitution of the United States.
 Petitioners seek an order declaring Trump disqualified under the Fourteenth Amendment and
 enjoining Respondent Secretary of State Jena Griswold (the “Secretary”) from taking any action
 that would allow him to access the ballot. Under C.R.S. §1-4-1204(4) and C.R.C.P. 57(m),
 Petitioners respectfully request and are entitled to an expedited hearing on this Petition.

                                         INTRODUCTION

         1.      Donald Trump tried to overthrow the results of the 2020 presidential election.
 Before the election, he made plans to cast doubt on and undermine confidence in our nation’s
 election infrastructure. After the election, he knowingly sought to subvert our Constitution and
 system of elections through a sustained campaign of lies. His efforts culminated on January 6,
 2021, when he incited, exacerbated, and otherwise engaged in a violent insurrection at the United
 States Capitol by a mob who believed they were following his orders, and refused to protect the
 Capitol or call off the mob for nearly three hours as the attack unfolded.

         2.      Trump’s efforts to overturn the 2020 election and interfere with the peaceful
 transfer of power were part of an insurrection against the Constitution of the United States.
 Because Trump took these actions after he swore an oath to support the Constitution, Section 3
 of the Fourteenth Amendment prohibits him from being President and from qualifying for the
 Colorado ballot for President in 2024. Petitioners bring this action now to protect the rights of
 Republican and Independent voters to fully participate in the upcoming primary election by
 ensuring that votes cast will be for those constitutionally qualified to hold office, that a
 disqualified candidate does not siphon off support from their candidates of choice, and that
 voters are not deprived of the chance to vote for a qualified candidate in the general election.

         3.      Adopted in the wake of the Civil War, Section 3 of the Fourteenth Amendment
 imposes a qualification for holding public office in the United States. It bars from office any
 person who swore an “oath … to support the Constitution of the United States” as a federal or
 state officer and then “engaged in insurrection or rebellion against the same, or [gave] aid or
 comfort to the enemies thereof,” unless Congress “remove[s] such disability” by a two-thirds
 vote. U.S. Const. amend XIV, § 3.

         4.     Like other constitutional qualifications based on age, citizenship, and residency,
 Section 3 is enforceable through civil suits in state court to challenge a candidate’s eligibility to
 hold public office, including the Office of the President. Neither Section 3’s text nor precedent
 require a criminal conviction for “insurrection” or any other offense for a person to be adjudged

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 disqualified, as leading constitutional scholars have confirmed. 1 Rather, Section 3 “operates
 independently of any … criminal proceedings and, indeed, also independently of impeachment
 proceedings and of congressional legislation”; it applies “directly and immediately upon those
 who betray their oaths to the Constitution.” Luttig & Tribe, supra note 1.

         5.      Section 3 is a “measure of self-defense” designed to preserve and protect
 American democracy. Cong. Globe, 39th Cong., 1st Sess. 2918 (May 31, 1866) (statement of
 Sen. Willey). It embodies the Fourteenth Amendment’s framers’ recognition of the grave threat
 that insurrection against the Constitution poses to the existence and integrity of our Union.
 Section 3 “functions as a sort of constitutional immune system,” meant “to keep those who have
 fundamentally betrayed the constitutional order from keeping or reassuming power.” Baude &
 Paulsen, supra note 1, at 35. “The oath to support the Constitution is the test. The idea being that
 one who had taken an oath to support the Constitution and violated it, ought to be excluded from
 taking it again, until relieved by Congress.” Worthy v. Barrett, 63 N.C. 199, 204 (1869), appeal
 dismissed sub nom. Worthy v. Comm’rs, 76 U.S. 611 (1869).

         6.     Donald Trump has failed this test. Four years after taking an oath to “preserve,
 protect and defend” the Constitution as President of the United States, U.S. Const. art. II, § 1,
 Trump tried to overthrow the results of the 2020 election, leading to a violent insurrection at the
 United States Capitol to stop the lawful transfer of power to his successor. By instigating this
 unprecedented assault on the American constitutional order, Trump violated his oath and
 disqualified himself under the Fourteenth Amendment from holding public office, including the
 Office of the President. 2




 1
   E.g., William Baude & Michael Stokes Paulsen, The Sweep and Force of Section Three, 172 U.
 Pa. L. Rev. (forthcoming 2024), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4532751;
 J. Michael Luttig & Laurence H. Tribe, The Constitution Prohibits Trump From Ever Being
 President Again, The Atlantic, Aug. 19, 2023,
 https://www.theatlantic.com/ideas/archive/2023/08/donald-trump-constitutionally-prohibited-
 presidency/675048; Steven Calabresi, Trump Is Disqualified from Being on Any Election Ballots,
 The Volokh Conspiracy, Aug. 10, 2023, https://reason.com/volokh/2023/08/10/trump-is-
 disqualified-from-being-on-any-election-ballots/; accord Litigation of Criminal Prosecutions for
 Treason, Insurrection, and Seditious Conspiracy, 179 Am. Jur. Trials 435 § 17 (2023).
 2
  In this Petition, each photograph and accompanying caption are part of the preceding numbered
 paragraph.

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         7.     The core facts demonstrating Trump’s disqualification are a matter of public
 record. He dishonestly and unlawfully tried to overturn the 2020 election results through multiple
 avenues. When that failed, he summoned tens of thousands of enraged supporters for a “wild”
 protest in Washington, D.C. on January 6, 2021—the date that Congress and the Vice President
 would meet to certify the results of the 2020 presidential election under the Twelfth Amendment
 to the Constitution and the Electoral Count Act, 3 U.S.C. § 15.

         8.      Among those Trump mobilized for January 6th were violent extremists and now-
 convicted seditionists whom he earlier instructed to “stand back and stand by.” Others were
 supporters Trump had inflamed for months with the lie that the 2020 election would be “rigged”
 and was being “stolen” from them. Once his supporters were assembled at the White House
 Ellipse, President Trump repeated that incendiary lie and directed them to march on the Capitol,
 knowing many were armed and prepared for violence. He urged them to “fight like hell” to “Stop
 the Steal”—i.e., stop Vice President Mike Pence and Congress from lawfully certifying the
 Electoral College votes designating Joseph R. Biden, Jr. the 46th President of the United States.

        9.      Before January 6th, Trump was told repeatedly by lawyers and top officials that
 Pence could not lawfully overturn the election results. And Pence rebuked Trump’s coercive
 demands to do so. Undeterred, Trump continued to exert public pressure on Pence on January
 6th. He put his own Vice President in the crosshairs of what became a violent mob, stressing that
 “if Mike Pence does the right thing, we win the election.”

         10.     President Trump’s mob went on to violently storm and seize the United States
 Capitol, a feat even the Confederacy never achieved during the Civil War. The mob forced Vice
 President Pence and Members of Congress to flee for their lives and halt their constitutional
 duties. Their attack disrupted the peaceful transfer of presidential power for the first time in
 American history.

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         11.    By 1:21 p.m., President Trump knew the Capitol was under attack, and Vice
 President Pence had announced publicly he would not overturn the election results. While
 watching the assault unfold on television, Trump poured fuel on the fire. He sent a tweet at 2:24
 p.m. targeting Pence for lacking the “courage” to overturn the election. The tweet caused the
 mob to surge and chant “hang Mike Pence!” It predictably exacerbated the violence that Trump
 knew was underway, something Trump knew full well would happen in response to the tweet.

         12.     President Trump failed to take any action to stop the attack for nearly three hours
 as his mob ransacked the United States Capitol, brutally assaulted police officers, and called for
 the murder of elected officials. He refused to deploy a federal response or call off his mob
 despite his affirmative constitutional duty to “take Care that the Laws be faithfully executed” and
 his role as Commander-in-Chief of the military, U.S. Const. art. II, §§ 2, 3, including the D.C.
 National Guard.

        13.      Rather than defending the Capitol, President Trump exploited the violence and
 leveraged it to pressure Members of Congress to further delay the election certification.

         14.     It was only after three hours of barbaric violence broadcast on television and
 repeated pleas from his senior staff and family that Trump posted a video at 4:17 p.m. instructing
 his mob to “go home,” adding that he “love[d]” them and understood their “pain” over an
 “election that was stolen from us.” Many in the mob did not leave the Capitol grounds until
 Trump told them to. And Trump called off the mob only after it seemed clear they would not
 achieve his goal of stopping Congress’s certification of the election results.

         15.     Later that night, the President of the United States justified this deadly attack on
 the seat of his own government, tweeting at 6:01 p.m.: “These are the things and events that



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 happen when a sacred landslide election victory is so unceremoniously & viciously stripped
 away from great patriots. … Remember this day forever!”

          16.    President Trump was the mob’s leader, and the mob was his weapon. The mob
 traveled from throughout the country to Washington because the President summoned them
 there. He instructed the mob to march on the Capitol and they complied. Many in the mob left
 the Capitol grounds only when, after hours of violence against police officers and interference
 with Congress’s constitutionally-mandated duties, Trump belatedly told them to leave. Through
 their flags, banners, clothing, and chants, the mob made clear they were there for Trump.

         17.     Racism and white supremacy—the same virulent ideologies that led to the Civil
 War and, in its wake, the Fourteenth Amendment—pervaded Trump’s insurrection and the
 movement surrounding it. Ahead of January 6th, Trump and his allies directed their false claims
 of election fraud at cities with large Black populations, targeting and specifically identifying
 “urban” areas in Detroit, Philadelphia, Milwaukee and Atlanta. They sought to coerce and
 intimidate officials in those jurisdictions to invalidate the votes of millions of Black Americans.
 They falsely accused Black election workers of ballot tampering, causing them to face threats of
 lynchings and other racialized violence. And on January 6th, neo-Confederates and neo-Nazis
 were among the first in Trump’s mob to breach the Capitol building, where they terrorized Black
 police officers with racial slurs and jabbed one such officer with a Confederate flag—a symbol
 of white supremacy and another failed insurrection against the United States.




        18.     President Trump’s weaponized mob carried out the most significant breach of the
 Capitol building since the War of 1812. Their attack led to seven deaths, injuries to more than

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  one hundred law enforcement officers, and more than $2.7 billion in property damage and losses.
  A Capitol Police officer whom the mob had attacked died the next day, and four other officers
  died by suicide in the following months.

           19.    The January 6th attack was the culmination of a multi-part scheme to use lies,
  coercion, intimidation, and violence against government officials to overturn the 2020 election
  results. The threat was broad. It was directed at Republicans and Democrats alike. Targets
  included the Vice President of the United States, federal and state legislators, election officials,
  and the Supreme Court. The goal was to unlawfully keep Trump in office, invalidating the votes
  of more than 81 million Americans who cast ballots for Biden in the 2020 election.

          20.    This scheme to obstruct the peaceful transfer of power—carried out under the
  public banner of the “Stop the Steal” movement—unfolded in multiple states in the leadup to
  January 6th, including Colorado. The election denialism and political violence championed by
  that movement continue to pose an existential threat to democracy in this State and throughout
  the country. Indeed, a Department of Justice investigation found that election workers in
  Colorado received among the highest number of potentially criminal threats in the nation in the
  wake of the 2020 election. 3

           21.    Voluminous public evidence and legal authorities establish that the January 6th
  mob attack on the Capitol and surrounding events constituted an “insurrection” against the
  Constitution within the meaning of Section 3 of the Fourteenth Amendment. The evidence
  further shows that Trump not only “engaged in” the insurrection but was its “central cause.”
  Final Report of the U.S. House Select Committee to Investigate the January 6th Attack on the
  United States Capitol, H. Rep. 117-663, 117th Cong., 2d Sess., at 8, (Dec. 22, 2022),
  https://www.govinfo.gov/content/pkg/GPO-J6-REPORT/pdf/GPO-J6-REPORT.pdf (“Jan. 6th
  Report”). “None of the events of January 6th would have happened without him.” Id.; see also
  id. at 690 (recommending enforcement of Section 3 of the Fourteenth Amendment against public
  officials who engaged in the January 6th insurrection).

          22.      Although Section 3 disqualification does not require a criminal conviction or
  impeachment for any offense, a federal grand jury has indicted Trump on four criminal counts
  relating to his efforts to subvert the 2020 election results: (1) conspiracy to defraud the United
  States in violation of 18 U.S.C. § 371; (2) conspiracy to obstruct an official proceeding in
  violation of 18 U.S.C. § 1512(k); (3) obstruction of, and attempt to obstruct, an official
  proceeding in violation of 18 U.S.C. § 1512(c)(2), 2; and (4) conspiracy against citizens’
  constitutional right to vote and to have one’s vote counted in violation of 18 U.S.C. § 241, a

  3
    Readout of Election Threats Task Force Briefing with Election Officials and Workers, U.S.
  Dep’t of Justice, Aug. 1, 2022, https://www.justice.gov/opa/pr/readout-election-threats-task-
  force-briefing-election-officials-and-workers.

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  statute originally codified after the Civil War to counteract political violence against newly
  enfranchised Black citizens, see First Ku Klux Klan Act, 16 Stat. 140 (May 31, 1870). 4

          23.     Separately, a Georgia grand jury has indicted Trump on 13 criminal charges
  relating to a sweeping “conspiracy to unlawfully change the outcome of the [2020] election in
  favor of Trump” through false statements, forgery, solicitation of public officers to violate their
  oaths to the Constitution, and other state felonies. 5

          24.     A bipartisan majority of the House of Representatives impeached Trump for
  “incitement of insurrection,” and a bipartisan majority of the Senate voted to convict him, with
  several Senators voting against conviction (and the final vote falling below the requisite two-
  thirds supermajority) based “on the theory that the Senate lacked jurisdiction to try a former
  president.” 6 The bipartisan January 6th Select Committee and numerous federal judges have
  likewise recognized Trump’s central role in the insurrection.

           25.    Courts have disqualified officials under the Fourteenth Amendment who played
  far less substantial roles in insurrections, and who, like Trump, did not personally commit violent
  acts. This includes Couy Griffin, a former New Mexico county commissioner who was a
  grassroots mobilizer, inciter, and member of Trump’s mob on January 6th (but did not commit
  violent acts or breach the Capitol building), and Kenneth Worthy, who served as a sheriff in a
  Confederate state (but did not take up arms in the Confederate army). 7 If these individuals’
  conduct warranted Section 3 disqualification, then surely Trump’s does as well.



  4
    Indictment, United States v. Trump, 23-cr-257-TSC, ECF No. 1 (D.D.C. filed Aug. 1, 2023),
  https://www.justice.gov/storage/US_v_Trump_23_cr_257.pdf (“Trump Federal D.C.
  Indictment”).
  5
    Indictment, Georgia v. Trump, No. 23SC188947 (Ga. Super. Ct. filed Aug. 14, 2023),
  https://www.politico.com/f/?id=00000189-f730-dc32-ab89-f7fc1f760000 (“Trump Georgia
  Indictment”).
  6
    Ryan Goodman and Josh Asabor, In Their Own Words: The 43 Republicans’ Explanations of
  Their Votes Not to Convict Trump in Impeachment Trial, Just Security, Feb. 15, 2021,
  https://www.justsecurity.org/74725/in-their-own-words-the-43-republicans-explanations-of-
  their-votes-not-to-convict-trump-in-impeachment-trial/.
  7
    See New Mexico ex rel. White v. Griffin, No. D-101-CV-2022-00473, 2022 WL 4295619 (N.M.
  Dist. Ct. Sep. 6, 2022), appeal dismissed, No. S-1-SC-39571 (N.M. Nov. 15, 2022); Worthy, 63
  N.C. 199; see also The Precedent for 14th Amendment Disqualification, Citizens for
  Responsibility and Ethics in Washington, July 7, 2023, https://www.citizensforethics.org/reports-
  investigations/crew-reports/past-14th-amendment-disqualifications/.

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          26.     Since January 6, 2021, Trump has publicly affirmed his disloyalty to the
  Constitution and his allegiance to the insurrectionists who seized the Capitol for him. He has
  called the insurrectionists “patriots,” 8 vowed to give many “full pardons with an apology” if he
  becomes President again, 9 financially supported them, 10 released a song with a choir of
  convicted January 6th defendants called “Justice for All,” 11 and hugged on camera a convicted
  January 6th defendant who has said that Pence and Members of Congress who voted to certify
  Biden’s victory should be executed for treason. 12




  8
   David Cohen, Trump on Jan. 6 insurrection: ‘These were great people’, Politico, July 11, 2021,
  https://www.politico.com/news/2021/07/11/trump-jan-6-insurrection-these-were-great-people-
  499165.
  9
   Mariana Alfaro, Trump vows pardons, government apology to Capitol rioters if elected,
  Washington Post, Sept. 1, 2022, https://www.washingtonpost.com/national-
  security/2022/09/01/trump-jan-6-rioters-pardon/.
  10
       Id.
  11
    Charna Flam, January 6 Prison Choir’s ‘Justice for All’ Single, Featuring Donald Trump,
  Reaches No. 1 on iTunes, Variety, Mar. 11, 2023, https://variety.com/2023/digital/news/january-
  6-prisoners-choir-song-number-one-itunes-donald-trump-1235550422/.
  12
     Ryan J. Reilly and Olympia Sonnier, Donald Trump embraces Jan. 6 defendant who wants
  Mike Pence executed, NBC News, Apr. 28, 2023, https://www.nbcnews.com/politics/donald-
  trump/donald-trump-embraces-jan-6-defendant-wants-pence-executed-rcna81958.

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         27.     Trump has blamed former Vice President Pence repeatedly for the attack, because
  Pence refused to violate federal law and his own oath to the Constitution.13

          28.     Trump also continues to propagate the lie he used to summon the mob to
  Washington: that the 2020 election was stolen. In December 2022, he disturbingly called for the
  “termination of … the Constitution” to correct “Massive Fraud” in the election. 14 And he
  continues to fan the flames of political violence among his supporters against judges,
  prosecutors, and other government officials. 15 He is precisely the threat to American democracy
  the Fourteenth Amendment’s framers had in mind when they adopted Section 3’s prohibition on
  constitutional oath-breakers holding office.




          29.    Because Trump swore an oath to “preserve, protect and defend” the Constitution
  upon assuming the Office of the President on January 20, 2017 and then engaged in insurrection
  against the Constitution on and around January 6, 2021, he is disqualified under Section 3 of the

  13
     Isaac Arnsdorf and Maeve Reston, Trump claims violence he inspired on Jan. 6 was Pence’s
  fault, Washington Post, Mar. 13, 2023,
  https://www.washingtonpost.com/politics/2023/03/13/trump-pence-iowa/.
  14
    Kristen Holmes, Trump calls for the termination of the Constitution in Truth Social post,
  CNN, Dec. 4, 2022, https://www.cnn.com/2022/12/03/politics/trump-constitution-truth-
  social/index.html.
  15
     See, e.g., Eric Garcia, Trump attacks judge’s family and calls Alvin Bragg a ‘criminal’ at Mar-
  a-Lago despite court warning, The Independent, Apr. 6, 2023,
  https://www.independent.co.uk/news/world/americas/us-politics/donald-trump-alvin-bragg-wife-
  speech-b2315221.html.

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  Fourteenth Amendment from “hold[ing] any office … under the United States,” including the
  Office of the President.

         30.    Despite his constitutional disqualification, Trump is presently a “candidate” under
  Colorado and federal law for the 2024 Republican presidential primary election.

           31.    The Secretary has the power and duty to exclude constitutionally ineligible
  candidates from the ballot. Despite this duty, the Secretary has not committed to excluding
  Trump from the presidential primary ballot based on his disqualification under Section 3. Based
  on historical practice, the Secretary will not independently investigate Trump’s constitutional
  eligibility under Section 3 and exclude him from the ballot on that basis absent a judicial order to
  that effect.

          32.     Due to Trump’s candidacy combined with his constitutional ineligibility, the
  Secretary is “about to commit,” C.R.S. § 1-1-113(1), absent relief by this Court, multiple actions
  in the process of granting Trump access to the ballot that are “improp[er],” C.R.S. § 1-4-1204(4),
  and constitute “a breach or neglect of duty or other wrongful act,” C.R.S. § 1-1-113(1), in
  violation of the U.S. Constitution and Colorado law.

          33.     There is an urgent public interest in promptly resolving whether Trump is
  constitutionally eligible to serve as president in advance of the approaching primary election.
  Absent timely relief, Petitioners and other voters will be irreparably harmed.

          34.    Accordingly, under C.R.S. § 1-4-1204(4), § 1-1-113(1), § 13-51-105, and
  C.R.C.P. 57(a), Petitioners seek an order declaring Trump constitutionally disqualified from
  public office under Section 3 of the Fourteenth Amendment and enjoining the Secretary from
  taking any action to grant Trump access to the ballot for the presidential primary or any other
  election.

                                              PARTIES

         35.     Petitioner Norma Anderson is a registered voter affiliated with the Republican
  Party who resides in Colorado. She is an “eligible elector” within the meaning of C.R.S. § 1-1-
  104(16), § 1-1-113(1), and § 1-2-101(1).

         36.     Petitioner Michelle Priola is a registered voter affiliated with the Republican Party
  who resides in Colorado. She is an “eligible elector” within the meaning of C.R.S. § 1-1-104(16),
  § 1-1-113(1), and § 1-2-101(1).

         37.     Petitioner Claudine Cmarada is a registered voter affiliated with the Republican
  Party who resides in Colorado. She is an “eligible elector” within the meaning of C.R.S. § 1-1-
  104(16), § 1-1-113(1), and § 1-2-101(1).

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         38.     Petitioner Krista Kafer is a registered voter affiliated with the Republican Party
  who resides in Colorado. She is an “eligible elector” within the meaning of C.R.S. § 1-1-104(16),
  § 1-1-113(1), and § 1-2-101(1).

         39.     Petitioner Kathi Wright is a registered voter unaffiliated with any political party
  who resides in Colorado. She is an “eligible elector” within the meaning of C.R.S. § 1-1-104(16),
  § 1-1-113(1), and § 1-2-101(1).

         40.     Petitioner Christoper Castilian is a registered voter unaffiliated with any political
  party who resides in Colorado. He is an “eligible elector” within the meaning of C.R.S. § 1-1-
  104(16), § 1-1-113(1), and § 1-2-101(1).

          41.     As “eligible electors,” Petitioners have standing under Colorado law to challenge
  the constitutional eligibility of candidates in the 2024 Republican presidential primary election.
  If an ineligible candidate appears on the ballot that Petitioners will cast in the election,
  Petitioners will suffer an injury in fact to a legally protected interest under Colorado law because
  the election would not be among eligible candidates, the Secretary of State would have violated
  her duties under the U.S. Constitution and Colorado law, the ineligible candidate would have
  affected the integrity and fairness of the election, and the party could end up with an ineligible
  nominee in the general election. Petitioners do not support Trump and will vote for another
  candidate on the ballot. If Trump is on the ballot, voters who would otherwise vote for
  Petitioners’ candidates of choice will instead vote for Trump, reducing the likelihood that
  Petitioners’ candidates of choice will win the election. And Republican voters could be deprived
  of the chance to vote for a qualified candidate in the general election.

           42.     Respondent Jena Griswold is the Secretary of State of Colorado and is sued solely
  in her official capacity. As the State’s chief election officer, the Secretary is responsible for
  overseeing ballot access for presidential primary candidates, including by accepting a major
  political party’s form designating a candidate “as a bona fide candidate for president of the
  United States” who is “affiliated with [the] major political party,” C.R.S. § 1-4-1204(1)(b);
  accepting a “notarized candidate’s statement of intent together with either a nonrefundable filing
  fee of five hundred dollars or a petition signed by at least five thousand eligible electors,” id. § 1-
  4-1204(1)(c), § 1-4-903; and, ultimately, “certif[ying] and “listing” the “names and party
  affiliations of the candidates to be placed on any presidential primary election ballots,” id. §§ 1-
  4-1204(1), (4).

          43.    Respondent Donald J. Trump is a private citizen and a “candidate” under
  Colorado and federal law for the 2024 Republican presidential primary election. See Colo. Const.
  art. XXVIII, § 2 (defining “candidate” as one who “has publicly announced an intention to seek
  election to public office … and thereafter has received a contribution or made an expenditure in
  support of the candidacy”); C.R.S. § 1-4-905.5(1)(a) (same); 52 U.S.C. § 30101(2) (defining

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  “candidate” as “an individual who seeks nomination for election … to Federal office” and has
  “received contributions aggregating in excess of $5,000 or has made expenditures aggregating in
  excess of $5,000”). Trump publicly announced his 2024 presidential campaign on November 15,
  2022. 16 He has filed with the Federal Election Commission a Statement of Candidacy 17 and a
  candidate Public Financial Disclosure Report. 18 To date, Trump’s campaign has raised at least
  $35,987,476 and spent at least $13,471,085. 19 In Colorado, Trump’s campaign has raised at least
  $476,302 in individual contributions. 20

         44.     Trump previously served as the 45th President of the United States from January
  20, 2017, to January 20, 2021. He was a candidate for re-election in 2020.

          45.     Trump appeared on the Colorado presidential primary ballot in 2020. To gain
  access to that ballot, the Colorado Republican Party submitted to the Secretary (and the Secretary
  accepted), a presidential primary approval form affirming that Trump was a “bona fide”
  candidate who was “affiliated with the party.” 21 Trump thereafter submitted to the Secretary (and
  the Secretary accepted) a notarized candidate’s statement of intent, together with a non-
  refundable filing fee of five hundred dollars, in which Trump affirmed he met “all qualifications
  for the office prescribed by law.” 22



  16
    Former President Trump Announces His 2024 Presidential Campaign, C-SPAN, Nov. 15,
  2022, https://www.c-span.org/video/?c5041264/president-trump-announces-2024-presidential-
  campaign.
  17
     FEC Form 2, Statement of Candidacy, Donald J. Trump, Dec. 8, 2022,
  https://docquery.fec.gov/pdf/377/202212089550119377/202212089550119377.pdf.
  18
    OGE Form 278e, Executive Branch Personnel Public Financial Disclosure Report, Donald J.
  Trump, Apr. 14, 2023, https://www.citizensforethics.org/wp-
  content/uploads/2023/04/Disclosure-Report-Part-1-4-14-23.pdf.
  19
     Federal Election Commission, Financial Summary: Donald J. Trump for President 2024, Inc.,
  https://www.fec.gov/data/candidate/P80001571/?cycle=2024&election_full=true.
  20
     Federal Election Commission, Presidential Candidate Map,
  https://www.fec.gov/data/candidates/president/presidential-map/.
  21
     State Party 2020 Presidential Primary Approval for Donald J. Trump,
  https://www.citizensforethics.org/wp-content/uploads/2023/08/2020-State-Primary-
  Approval.pdf.
  22
     Major Party Candidate Statement of Intent for 2020 Presidential Primary by Donald J. Trump,
  https://www.citizensforethics.org/wp-content/uploads/2023/08/2019.11.18-Trump-Statement-of-
  Intent-for-2020-Primary.pdf.

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                                  JURISDICTION AND VENUE

         46.     This Court has jurisdiction over this action under C.R.S. § 1-4-1204(4), § 1-1-
  113(1), § 13-51-106, and C.R.C.P. 57.

          47.      Venue is proper in this Court under C.R.C.P. 98(b)(2) because the Secretary’s
  office is in the City and County of Denver, Colorado.

                                    FACTUAL BACKGROUND

        I.     Before the 2020 election, Donald Trump lays the groundwork to reject the
               election results if he loses and deploy political violence to stay in power.

                  A. Trump encourages political violence repeatedly during his 2016
                     campaign and his presidency.

         48.    Encouraging and normalizing violence against his perceived enemies has been a
  hallmark of Donald Trump’s political career dating back to his 2016 presidential campaign.
  Trump’s persistent promotion of political violence helped set the stage for the January 6th attack.

          49.     During his 2016 campaign, Trump encouraged supporters to physically assault
  protesters at his rallies and, often, they did.

          50.    At a rally in Birmingham, Alabama, on November 21, 2015, Trump demanded the
  removal of a protester, shouting: “Get him the hell out of here, will you please? Get him out of
  here! Throw him out!” 23 Video captured by a CNN reporter shows that, as Trump shouted from
  the stage, Trump supporters swarmed the protester (a Black man), knocking him to the ground
  and then punching and kicking him. 24 When asked about the assault on Fox News the next day,
  Trump justified the violence: “Maybe he should have been roughed up, because it was absolutely
  disgusting what he was doing.” 25

         51.      At a February 1, 2016 rally in Cedar Rapids, Iowa, Trump instructed the crowd to

  23
     Trump to black activist: ‘Get him the hell out of here’, Washington Post, Nov. 22, 2015,
  https://www.washingtonpost.com/video/politics/trump-to-black-activist-get-him-the-hell-out-of-
  here/2015/11/22/57a055ba-9134-11e5-befa-99ceebcbb272_video.html.
  24
     Jeremy Diamond (@JDiamond1), Twitter, Nov. 21, 2015,
  https://twitter.com/JDiamond1/status/668168739100172289.
  25
    Jeremy Diamond, Trump on protester: ‘Maybe he should have been roughed up,’ CNN, Nov.
  23, 2015, https://www.cnn.com/2015/11/22/politics/donald-trump-black-lives-matter-protester-
  confrontation/index.html.

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  “knock the crap out of” protesters who may try to throw tomatoes at him, promising to “pay for
  the legal fees” for anyone who did. 26

          52.     At a February 22, 2016 rally in Las Vegas, Nevada, Trump commented on a
  protester and lamented, “We’re not allowed to punch back anymore. I love the old days. You
  know what they used to do to guys like that when they were in a place like this? They’d be
  carried out on a stretcher, folks. … I’d like to punch him in the face, I’ll tell ya.” The crowd
  erupted in applause. 27

           53.    A few weeks after Trump conveyed his desire to “punch [a protester] in the face,”
  one of his supporters did exactly that. At a March 9, 2016 rally in Fayetteville, North Carolina,
  police were escorting a protester out of the rally when a Trump supporter sucker-punched the
  protester (a Black man) in the face. 28 The same day, Trump stated such violence against
  protesters was “very, very appropriate” and that “we need a little bit more of” it. 29 When asked
  again about the attack at a March 15, 2016 presidential debate, Trump acknowledged his
  supporters “have anger that’s unbelievable” while denying any responsibility for their violent
  acts. 30

         54.     After taking office in 2017, Trump continued to encourage and normalize
  violence against perceived political enemies—now from the Office of the President.

         55.      On August 11 and 12, 2017, white supremacists descended on Charlottesville,
  Virginia for the “Unite the Right” rally, where neo-Nazis, neo-Confederates, and other
  extremists protested the removal of Confederate statues and menaced residents with racist and
  anti-semitic chants. A self-identified white supremacist deliberately rammed his car into a crowd

  26
     Trump: ‘Knock the crap’ out of tomato throwers, Washington Post, Feb. 1, 2016,
  https://www.washingtonpost.com/video/politics/trump-knock-the-crap-out-of-tomato-
  throwers/2016/02/01/1d1fe1e2-c92b-11e5-b9ab-26591104bb19_video.html.
  27
     Donald Trump Says He’d Like to Punch a Protester in the Face, YouTube, Feb. 22, 2016,
  https://youtu.be/1es9MZyyPOA.
  28
     Justin Wm. Moyer, Jenny Starrs, and Sarah Larimer, Trump supporter charged after sucker-
  punching protester at North Carolina rally, Washington Post, Mar. 11, 2016,
  https://www.washingtonpost.com/news/morning-mix/wp/2016/03/10/trump-protester-sucker-
  punched-at-north-carolina-rally-videos-show/.
  29
    Eric Levitz, Trump on His Supporters Attacking Protesters: ‘That’s What We Need More of’,
  New York Magazine, Mar. 11, 2016, https://nymag.com/intelligencer/2016/03/trump-punching-
  protesters-is-very-appropriate.html.
  30
     Transcript of Republican debate in Miami, full text, CNN, Mar. 15, 2016,
  https://www.cnn.com/2016/03/10/politics/republican-debate-transcript-full-text/index.html.

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  of counter-protesters, killing 32-year-old Heather Heyer. When asked about these events at an
  August 15 press conference, Trump responded that some of the white supremacists were “fine
  people,” stating there “was blame on both sides …. some very fine people on both sides.” 31

        56.     At an October 18, 2018 rally in Montana, Trump celebrated then-Congressman
  Greg Gianforte for violently body slamming a reporter in 2017, telling the cheering crowd, “Any
  guy who can do a body-slam, that’s my kind of guy.” 32

         57.      At a May 9, 2019 rally in Florida, Trump asked “how do you stop” migrants from
  coming to the United States. A supporter shouted, “shoot them.” Trump laughed and minimized
  the overt call for violence, stating, “That’s only in the Panhandle, you can get away with that
  statement.” The crowd cheered. 33

          58.    President Trump’s violent rhetoric against his perceived political enemies
  escalated in 2020—a tumultuous year in which the country grappled with the COVID-19
  pandemic, nationwide racial justice protests against police brutality, and the 2020 presidential
  campaign.

         59.     On April 17, 2020, President Trump sent a series of tweets calling on his
  supporters to “liberate” three states with Democratic governors amid backlash to their COVID-
  19 policies. He first tweeted, “LIBERATE MINNESOTA!” 34 A minute later, he tweeted,
  “LIBERATE MICHIGAN!” 35 Minutes after that, he tweeted, “LIBERATE VIRGINIA, and save
  your great 2nd Amendment. It is under siege!” 36

         60.     On April 30, in what was a clear harbinger for the January 6th attack on the U.S.

  31
   President Donald Trump On Charlottesville: You Had Very Fine People, On Both Sides,
  CNBC, Aug. 15, 2017, https://www.youtube.com/watch?v=JmaZR8E12bs.
  32
     Emily Cochrane, ‘That’s My Kind of Guy,’ Trump Says of Republican Lawmaker Who Body-
  Slammed a Reporter, New York Times, Oct. 19, 2018,
  https://www.nytimes.com/2018/10/19/us/politics/trump-greg-gianforte-montana.html.
  33
     Trump laughs after audience member suggests shooting migrants, YouTube, May 9, 2019,
  https://www.youtube.com/watch?v=C9AXGPo1vvM.
  34
     Donald J. Trump (@realDonaldTrump), Apr. 17, 2020, Twitter,
  https://twitter.com/realDonaldTrump/status/1251168994066944003.
  35
     Donald J. Trump (@realDonaldTrump), Apr. 17, 2020, Twitter,
  https://twitter.com/realDonaldTrump/status/1251169217531056130.
  36
     Donald J. Trump (@realDonaldTrump), Apr. 17, 2020, Twitter,
  https://twitter.com/realDonaldTrump/status/1251169987110330372.

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  Capitol, hundreds of extremists swarmed the Michigan State Capitol to prevent the legislature
  from lawfully extending Governor Gretchen Whitmer’s COVID-19 stay-at-home order. 37 The
  extremists—many wearing pro-Trump merchandise and some armed with assault rifles and
  wearing tactical gear and battle fatigues—stormed the capitol building and chanted “Our
  House!” and “Let us in!” as they tried to breach the legislative chamber, but were held back by
  police. 38 Among those in attendance were the Proud Boys, a far-right extremist group with a
  history of violence against political opponents. 39 Extremists likened Governor Whitmer to Adolf
  Hitler, carried signs that read “TYRANTS GET THE ROPE,” and displayed Confederate flags,
  nooses, and a doll depicting Governor Whitmer being hanged. 40

           61.     Instead of condemning this armed mob that threatened violence against the
  governor during its intimidating occupation of the Michigan Capitol, President Trump took the
  side of the extremists. He tweeted on May 1, 2020: “The Governor of Michigan should give a
  little, and put out the fire. These are very good people, but they are angry. They want their lives
  back again, safely! See them, talk to them, make a deal.” 41 Several anti-government extremists
  were later charged and convicted of conspiring to kidnap Governor Whitmer just before the 2020
  election. 42

         62.      As detailed infra, in the year leading up to January 6, 2021, far-right extremists
  staged at least nine similar events inside state capitol buildings across the country. Jan. 6th

  37
    Jason Slotkin, Protesters Swarm Michigan Capitol Amid Showdown Over Governor's
  Emergency Powers, NPR, May 1, 2020, https://www.npr.org/sections/coronavirus-live-
  updates/2020/05/01/849017021/protestors-swarm-michigan-capitol-amid-showdown-over-
  governors-emergency-powers.
  38
    Lois Becket, Armed protesters demonstrate against Covid-19 lockdown at Michigan capitol,
  The Guardian, https://www.theguardian.com/us-news/2020/apr/30/michigan-protests-
  coronavirus-lockdown-armed-capitol.
  39
    Tom Batchelor, Hundreds of Heavily-Armed Gun Activists Surround Michigan State Capitol,
  Newsweek, Sept. 18, 2020, https://www.newsweek.com/hundreds-armed-gun-activists-surround-
  michigan-state-capitol-1532865.
  40
     Id.; Kathleen Gray, In Michigan, a Dress Rehearsal for the Chaos at the Capitol on
  Wednesday, New York Times, Jan. 9, 2021,
  https://www.nytimes.com/2021/01/09/us/politics/michigan-state-capitol.html.
  41
     Donald J. Trump (@realDonaldTrump), Twitter, May 1, 2020,
  https://twitter.com/realDonaldTrump/status/1256202305680158720.
  42
    Joey Cappelletti and Corey Williams, Co-leader of Whitmer kidnapping plot gets 16 years in
  prison, Associated Press, Dec. 27, 2022, https://apnews.com/article/gretchen-whitmer-politics-
  michigan-dd8c0cf8d7bb48e01c3befd4ed8db3ea.

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  Report at 503. Members of the Proud Boys, Oath Keepers, and other violent groups joined these
  events. Participants in at least four of these state capitol incursions (in Michigan, Idaho, Arizona,
  and Oregon) later joined Trump’s mob in attacking the U.S. Capitol on January 6th. Id.

          63.      On May 28, 2020, President Trump retweeted a video of Couy Griffin—founder
  of “Cowboys for Trump” and then a county commissioner in New Mexico—saying “the only
  good Democrat is a dead Democrat” to a cheering crowd. 43 In retweeting this incendiary video to
  his millions of followers, Trump wrote, “Thank you Cowboys. See you in New Mexico!” 44 A
  state court later removed and disqualified Griffin from office under the Fourteenth Amendment
  for helping to mobilize and joining Trump’s mob on January 6th. See New Mexico ex rel. White
  v. Griffin, No. D-101-CV-2022-00473, 2022 WL 4295619 (N.M. Dist. Ct. Sept. 6, 2022), appeal
  dismissed, No. S-1-SC-39571 (N.M. Nov. 15, 2022).

         64.    On May 29, 2020, President Trump threatened to deploy “the Military” to
  Minneapolis to shoot “looters” amid protests over the police murder of George Floyd, tweeting
  “when the looting starts, the shooting starts.” 45

         65.     When asked at a September 29, 2020 presidential debate to denounce white
  supremacists and violent extremists such as the Proud Boys, Trump refused and instead told the
  Proud Boys to “stand back and stand by,” later adding that “somebody’s got to do something
  about Antifa and the left.” 46 In making these comments, Trump disregarded his advisers’ prior
  recommendations that he publicly denounce violent actors such as the Proud Boys.

          66.     President Trump’s words electrified the Proud Boys, causing the group’s
  membership to triple. Jan. 6th Report at 507–08. Proud Boys Chairman Enrique Tarrio wrote on
  the far-right social media site Parler, “I will stand down sir!!! … Standing by sir.” 47 Senior Proud
  Boy Joseph Biggs posted on the same site, “Trump basically said to go fuck them up. This makes

  43
    Jason Silverstein, Trump shares video of supporter saying “the only good Democrat is a dead
  Democrat”, CBS News, May 28, 2020, https://www.cbsnews.com/news/president-trump-shares-
  video-of-supporter-saying-the-only-good-democrat-is-a-dead-democrat/.
  44
     Donald J. Trump (@realDonaldTrump), Twitter, May 28, 2020,
  https://twitter.com/realDonaldTrump/status/1265855459719892993.
  45
     Donald J. Trump (@realDonaldTrump), Twitter, May 29, 2020,
  https://twitter.com/realDonaldTrump/status/1266231100780744704.
  46
     Trump tells Proud Boys: ‘Stand back and stand by’, YouTube, Sept. 30, 2020,
  https://www.youtube.com/watch?v=qIHhB1ZMV_o.
  47
    Asked to Denounce White Supremacists, President Trump Tells Far-Right Extremist Group to
  “Stand By”, Anti-Defamation League, Sept. 30, 2020, https://www.adl.org/resources/blog/asked-
  denounce-white-supremacists-president-trump-tells-far-right-extremist-group.

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  me so happy.” 48

          67.    The Proud Boys quickly embraced Trump’s “stand back and stand by” directive
  as a slogan and started selling merchandise with it that same night. Jan. 6th Report at 508. Tarrio,
  Biggs, and two other Proud Boys leaders were later convicted of seditious conspiracy to oppose
  by force the lawful transfer of presidential power on January 6th. 49




          68.    On October 30, 2020, a convoy of Trump supporters driving dozens of trucks
  (calling themselves a “Trump Train”) surrounded a Biden-Harris campaign bus on a Texas
  highway and forced it to slow to a crawl, came within inches of hitting it, and slammed into a
  campaign staffer’s follow car. The confrontation led Texas Democrats to cancel three scheduled




  48
     David Gilbert, 'Trump Basically Said to Go Fuck Them Up': Here’s How the Proud Boys
  Reacted to Trump’s Comments, Vice, Sept. 30, 2020,
  https://www.vice.com/en/article/n7wxxk/trump-basically-said-to-go-fuck-them-up-heres-how-
  the-proud-boys-reacted-to-trumps-comments.
  49
     Jury Convicts Four Leaders of the Proud Boys of Seditious Conspiracy Related to U.S. Capitol
  Breach, U.S. Attorney’s Office for the Dist. of Columbia, May 4, 2023,
  https://www.justice.gov/usao-dc/pr/jury-convicts-four-leaders-proud-boys-seditious-conspiracy-
  related-us-capitol-breach.

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  campaign events due to safety concerns. 50 Two of the Trump Train’s participants later settled a
  lawsuit for political intimidation under the Second Ku Klux Klan Act, 42 U.S.C. § 1985. 51

          69.     Trump immediately celebrated this dangerous act of political intimidation. On
  October 31st, he tweeted a stylized video of the Trump Train confrontation and stated “I LOVE
  TEXAS!” 52 On November 1st, in response to news that the FBI was investigating the incident,
  Trump tweeted, “In my opinion, these patriots did nothing wrong” and indicated they should not
  be investigated. 53 Later that day at a rally in Michigan, Trump again celebrated the incident,
  falsely stating his supporters were “protecting [Biden’s] bus …, because they’re nice,” and
  boasting “they had hundreds of cars, Trump, Trump. Trump. Trump and the American flag.” 54

          70.     Years of President Trump’s encouragement and endorsement of political violence
  had predictable consequences: it normalized for his supporters the idea of using violence, force,
  and intimidation against political foes. It also demonstrated Trump’s knowledge of and support
  for threats and acts of violence by his supporters against his perceived political enemies, as well
  as the power of Trump’s words to inspire such acts. Trump would later use that same call-and-
  response dynamic to mobilize a violent mob to attack Congress on January 6th.

                 B. Trump sows the seeds of election denialism before the 2020 election.

           71.    At the heart of the January 6th insurrection was the inflammatory lie of a “stolen”
  presidential election: it is what motivated the nationwide “Stop the Steal” movement and
  mobilized tens of thousands of enraged Trump supporters to descend on Washington, D.C. to
  violently disrupt the transfer of power. Donald Trump was—and remains—the leading source of
  that lie. And he laid the groundwork for it well before the 2020 election.

         72.     When asked at an October 19, 2016 presidential debate if he would accept the

  50
     Aliyya Swaby, “These patriots did nothing wrong,” Trump says of supporters who
  surrounded Biden bus, Texas Tribune, Nov. 1, 2020,
  https://www.texastribune.org/2020/11/01/trump-biden-bus/.
  51
   Two Defendants in the Texas “Trump Train” Lawsuit Agree to Settlement, Protect Democracy,
  Apr. 27, 2023, https://protectdemocracy.org/work/two-defendant-settle-trump-train/.
  52
     Donald J. Trump (@realDonaldTrump), Twitter, Oct. 31, 2020,
  https://twitter.com/realDonaldTrump/status/1322700188624932869.
  53
     Donald J. Trump (@realDonaldTrump), Twitter, Nov. 1, 2020,
  https://twitter.com/realDonaldTrump/status/1323072051402350592.
  54
    'These patriots did nothing wrong': Trump says Texas trucks were 'protecting' Biden bus, CBS
  Austin, Nov. 1, 2020, https://cbsaustin.com/news/local/trump-says-protesters-were-protecting-
  the-biden-campaign-bus.

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  2016 election results, Trump refused to answer; instead, he said, “I will look at it at the time. … I
  will keep you in suspense” and made unsubstantiated claims about the integrity of voter rolls. 55

         73.     Even after winning the 2016 presidential election but losing the popular vote,
  Trump falsely asserted he would have won the popular vote “if you deduct the millions of people
  who voted illegally.” 56 Throughout his presidency, Trump repeated the lie that widespread voter
  fraud cost him the popular vote. 57

         74.     During the 2018 midterm elections, President Trump falsely claimed four key
  races were being “rigged” against the Republican party. 58 In a November 9th tweet, he called for
  “a new Election” in Arizona based on fictitious “Electoral corruption.” 59

          75.    President Trump’s anti-democratic rhetoric intensified as the 2020 presidential
  election approached. 60 He used the bully pulpit of the presidency, including his heavily
  trafficked Twitter feed, to inflame his followers with one election lie after another. See Jan. 6th
  Report at 201–02 (collecting examples).

          76.    During a July 19, 2020 interview on Fox News Sunday, Trump falsely claimed
  that mail-in voting, which several states expanded due to the COVID-19 public health crisis and
  that Trump himself used, “is going to rig the election.” 61 When asked if he would accept the

  55
    Trump Won't Say if He'll Accept Election Results | Third Presidential Debate, YouTube, Oct.
  19, 2016, https://www.youtube.com/watch?v=pAru83kBtnw.
  56
    Tim LoBianco, Trump falsely claims ‘millions of people who voted illegally’ cost him popular
  vote, CNN, Nov. 28, 2016, https://www.cnn.com/2016/11/27/politics/donald-trump-voter-fraud-
  popular-vote/index.html.
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     Emily Olson, Trump’s Endgame, ABC News, Nov. 7, 2020,
  https://www.abc.net.au/news/2020-11-08/us-election-donald-trump-endgame-in-plain-sight-for-
  months/12858094.
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    David Smith, Trump accused of stifling democracy as midterm races remain on knife edge,
  The Guardian, Nov. 10, 2018, https://www.theguardian.com/us-news/2018/nov/10/trump-
  midterm-recount-election-rigging-arizona-georgia-florid.
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     Donald J. Trump (@realDonaldTrump), Twitter, Nov. 9, 2018,
  https://twitter.com/realDonaldTrump/status/1060993836984324096.
  60
     See Kevin Liptak, A List of the Times Trump Has Said He Won’t Accept the Election Results
  or Leave Office if He Loses, CNN, Sept. 24, 2020,
  https://www.cnn.com/2020/09/24/politics/trump-election-warnings-leaving-office/index.html.
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    Ron Blitzer, Trump pushes back against critics on coronavirus, addresses whether he will
  accept election results in exclusive interview, Fox News, July 19, 2020,

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  election results, Trump said, “No, I’m not going to just say yes. I’m not going to say no, and I
  didn’t last time either.” 62

         77.     Amid polling showing Biden with a double-digit lead over Trump, 63 Trump sent a
  tweet on July 30th proposing to delay the 2020 election to prevent anticipated voter fraud,
  writing “With Universal Mail-In Voting (not Absentee Voting, which is good), 2020 will be the
  most INACCURATE & FRAUDULENT Election in history. It will be a great embarrassment to
  the USA. Delay the Election until people can properly, securely and safely vote???” 64

           78.   At an August 17, 2020 campaign rally in Wisconsin, Trump stated “the only way
  we’re going to lose this election is if the election is rigged. Remember that. It’s the only way
  we’re going to lose this election. … The only way they’re going to win is that way. And we can’t
  let that happen.” 65

          79.     While speaking at the Republican National Convention at the White House on
  August 24, 2020, Trump called mail-in voting “the biggest scam in the history of politics,”
  accused Democrats of “using COVID to steal an election” and “defraud the American people—
  all the American people—of a fair and free election,” and repeated the lie that “the only way they
  can take this election away from us is if this is a rigged election.” 66

          80.    When asked at a September 23, 2020 White House press briefing if he would
  commit to a peaceful transfer of power after the election, President Trump refused, stating
  “We’re going to have to see what happens. … I’ve been complaining very strongly about the
  ballots. The ballots are a disaster … Get rid of the ballots and you’ll have a very trans—we’ll
  have a very peaceful—there won’t be a transfer, frankly; there’ll be a continuation. The ballots


  https://www.foxnews.com/politics/trump-pushes-back-against-critics-on-coronavirus-addresses-
  whether-he-will-accept-election-results-in-exclusive-interview.
  62
       Id.
  63
     Grace Sparks, CNN Poll of Polls: Biden maintains double-digit lead over Trump nationally,
  with coronavirus a top issue, CNN, July 20, 2020,
  https://www.cnn.com/2020/07/20/politics/poll-of-polls-july-trump-biden-coronavirus/index.html.
  64
     Donald J. Trump (@realDonaldTrump), Twitter, July 30, 2020,
  https://twitter.com/realDonaldTrump/status/1288818160389558273.
  65
   Donald Trump: “The only way we’re going to lose this election, is if the election is rigged,”
  YouTube, Aug. 18, 2020, https://www.youtube.com/watch?v=IFzi5TmAjRE.
  66
     Donald Trump accuses Democrats of plot to ‘steal’ election at Republican convention – video,
  The Guardian, Aug. 24, 2020, https://www.theguardian.com/us-news/video/2020/aug/24/donald-
  trump-accuses-democrats-of-plot-to-steal-election-at-republican-convention-video.

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  are out of control. You know it.” 67

          81.     On November 2, 2020, the day before Election Day, Trump criticized the U.S.
  Supreme Court for allowing Pennsylvania to extend the time for receiving mail-in ballots,
  tweeting that the Court’s decision was “VERY dangerous,” “will allow rampant and unchecked
  cheating and will undermine our entire systems of laws,” and “will also induce violence in the
  streets,” imploring that “[s]omething must be done!” 68

       II.   After the 2020 election, President Trump refuses to admit defeat and inflames
             his supporters with the lie that the election was stolen from them.

          82.    From November 3, 2020, through January 6, 2021, President Trump continued to
  inflame his supporters with false claims of election fraud. He did so even after he exhausted legal
  challenges, the Electoral College formalized President Biden’s victory on December 14, 2020,
  and Trump was told repeatedly—by the Department of Justice (“DOJ”), his White House
  lawyers, and his campaign advisors—that there was no widespread fraud sufficient to change the
  election outcome.

                 A. President Trump falsely declares victory prematurely and pervasively
                    spreads election disinformation.

          83.     On election night 2020, despite guidance from his campaign advisors that the race
  was far too early to call, President Trump falsely declared victory while repeating baseless
  claims of election fraud. In a speech from the White House, he stated: “This is a fraud on the
  American public. This is an embarrassment to our country. We were getting ready to win this
  election. Frankly, we did win this election. We did win this election. … This is a major fraud on
  our nation.” 69

          84.    President Trump’s decision to declare victory falsely on election night was a
  premeditated strategy. Before Election Day, Counsel to Vice President Pence Greg Jacob learned
  of the plan and drafted a memo on Election Day to Pence’s Chief of Staff Marc Short, advising
  against Pence’s involvement in it. Jan. 6th Report at 435. On Election Day, Trump’s outside
  advisor Tom Fitton said he had spoken to Trump about a draft statement, sent to White House
  Deputy Chief of Staff Dan Scavino on October 31, declaring victory and demanding that all vote

  67
     Trump won’t commit to peaceful transfer of power, YouTube, Sept. 23, 2020,
  https://www.youtube.com/watch?v=6XD2oUG5WGQ.
  68
     Donald J. Trump (@realDonaldTrump), Twitter, Nov. 2, 2020,
  https://twitter.com/realDonaldTrump/status/1323430341512622080.
  69
    President Trump Remarks on Election Status, C-SPAN, Nov. 3, 2020, https://www.c-
  span.org/video/?477710-1/president-trump-remarks-election-status.

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  counting stop. Id. at 10.

          85.      This strategy was meant to take advantage of the so-called “Red Mirage”—the
  illusion of a Republican (Red) victory in the early stages of vote counting because Republican
  voters are more likely to vote in person and those votes are typically counted first, including in
  swing states. Jan. 6th Report at 196–203. This phenomenon was widely known prior to the 2020
  election, as it has played out in nearly every modern election. Id. at 197–98. In an October 31
  audio recording, Trump advisor Steve Bannon described the strategy to a group of his associates
  as follows:

          And what Trump’s gonna do is just declare victory, right? He’s gonna declare
          victory. But that doesn’t mean he’s a winner. He’s just gonna say he’s a winner …
          The Democrats—more of our people vote early that count. Theirs vote in mail. And
          so they’re gonna have a natural disadvantage, and Trump’s going to take advantage
          of it—that’s our strategy. He’s gonna declare himself a winner. … [I]f Trump is
          losing … he’s gonna … say ‘They stole it.’”

  Id. at 10.

         86.      As more mail-in votes were counted and election results shifted toward
  Democrats, the Red Mirage faded, and Trump supporters became increasingly agitated by the
  President’s false claims of election fraud.

        87.    On November 4th, based on incomplete early returns, President Trump tweeted:
  “We are up BIG, but they are trying to STEAL the Election. We will never let them do it.” 70

         88.     On November 5th, with his chances of victory dwindling, Trump tweeted “STOP
  THE COUNT!” 71 Halting the counting of votes at that point would have disenfranchised
  millions and violated federal and state laws. Jan. 6th Report at 9.

        89.     On November 7th, the Associated Press, Fox News, and other major news
  networks called the presidential election for Joe Biden. 72 President Trump refused to accept this


  70
     Donald J. Trump (@realDonaldTrump), Twitter, Nov. 4, 2020,
  https://twitter.com/realDonaldTrump/status/1323864823680126977.
  71
     Donald J. Trump (@realDonaldTrump), Twitter, Nov. 5, 2020,
  https://twitter.com/realDonaldTrump/status/1324353932022480896.
  72
     Jonathan Lemire, Zeke Miller, and Will Weissert, Biden defeats Trump for White House, says
  ‘time to heal’, Associated Press, Nov. 7, 2020, https://apnews.com/article/joe-biden-wins-white-
  house-ap-fd58df73aa677acb74fce2a69adb71f9; Paul Steinhauser, Biden wins presidency, Trump

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  reporting. On November 8th, he tweeted, “We believe these people are thieves. The big city
  machines are corrupt. This was a stolen election. Best pollster in Britain wrote this morning that
  this clearly was a stolen election.” 73

           90.     In the ensuing days, Trump’s campaign team repeatedly told President Trump
  that there was no evidence the election had been “stolen” and that he had simply lost. Jan. 6th
  Report at 204–06. Trump campaign manager Bill Stepien and his team served as the “truth
  telling squad” to the President, debunking false claims that “didn’t prove to be true.” Id. at 204.
  Trump campaign lawyer Alex Cannon informed Vice President Pence and White House Chief of
  Staff Mark Meadows that he was not finding any evidence of fraud sufficient to change the
  results in any state. Id.

          91.     Similarly, Attorney General Bill Barr, Acting Attorney General Jeffrey Rosen,
  and other top Justice Department officials repeatedly told President Trump in the weeks after the
  election that their investigations uncovered no evidence of fraud or irregularities sufficient to
  change the outcome of the election. Id. at 14–15. Attorney General Barr relayed that finding to
  the press on December 1st. Id.

         92.    President Trump’s White House Counsel Pat Cipollone reached the same
  conclusion and “forcefully” told this to Trump “over and over again.” Id. at 15–16.

          93.    Undeterred, Trump continued to tweet out false claims of election fraud at a
  steady clip. For example, on November 9, 2020, he tweeted: “Nevada is turning out to be a
  cesspool of Fake Votes. @mschlapp & @AdamLaxalt are finding things that, when released,
  will be absolutely shocking!” 74 The next day, he tweeted: “People will not accept this Rigged
  Election!” 75

          94.     Trump and his allies frequently directed their false claims of election fraud at
  cities with large Black populations, including Detroit (78% Black), Atlanta (48% Black),
  Philadelphia (41% Black), Milwaukee (39% Black), and Pittsburgh (23% Black). In a November
  27th tweet, Trump took aim at the “politically corrupt” cities of Detroit, Philadelphia, Atlanta


  denied second term in White House, Fox News projects, Fox News, Nov. 7, 2020,
  https://www.foxnews.com/politics/biden-wins-presidency-trump-fox-news-projects.
  73
     Donald J. Trump (@realDonaldTrump), Twitter, Nov. 8, 2020,
  https://twitter.com/realDonaldTrump/status/1325442336957018112.
  74
     Donald J. Trump (@realDonaldTrump), Twitter, Nov. 9, 2020,
  https://twitter.com/realDonaldTrump/status/1325889532840062976.
  75
     Donald J. Trump (@realDonaldTrump), Twitter, Nov. 10, 2020,
  https://twitter.com/realDonaldTrump/status/1326353226749386757.

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  and Milwaukee. 76 On December 13th, Trump tweeted that “dead people, below age people,
  illegal immigrants, fake signatures, prisoners, and many others voted illegally” in “Detroit,
  Philadelphia, Milwaukee, Atlanta, Pittsburgh, and elsewhere.” 77 Meanwhile, Trump campaign
  attorney Rudy Giuliani called for throwing out all votes in Detroit and falsely claimed Trump
  would have won Wisconsin if not for voter fraud in Madison and Milwaukee. 78

         95.     On November 12th, the Election Infrastructure Government Coordinating
  Council, led by the U.S. Department of Homeland Security’s Cybersecurity and Infrastructure
  Security Agency (“CISA”), announced that the 2020 election “was the most secure in American
  history” and there was “no evidence that any voting system deleted or lost votes, changed votes,
  or was in any way compromised.” 79 Five days later, President Trump fired his appointed CISA
  Director Christopher Krebs. 80

           96.    In November and December 2020, the Trump campaign paid about $1.5 million
  in total to two research firms, Berkeley Research Group and Simpatico Software Systems, to
  investigate allegations of election fraud. 81 Berkeley Research Group investigated fraud
  allegations in six key states and found no evidence that would have affected the election




  76
     Donald J. Trump (@realDonaldTrump), Nov. 27, 2020, Twitter,
  https://twitter.com/realDonaldTrump/status/1332407714304110597.
  77
     Donald J. Trump (@realDonaldTrump), Dec. 13, 2020, Twitter,
  https://twitter.com/realDonaldTrump/status/1338254787675041802?s=20.
  78
     LIVE: Rudy Giuliani and Trump Campaign Officials Hold News Conference at the RNC,
  YouTube, Nov. 19, 2020, at 23:42; 28:15,
  https://www.youtube.com/watch?v=sq7TeUJwQD4&t=2682s.
  79
    Cybersecurity & Infrastructure Security Agency, Joint Statement from Elections Infrastructure
  Government Coordinating Council & the Election Infrastructure Sector Coordinating Executive
  Committees, Nov. 12, 2020, https://www.cisa.gov/news-events/news/joint-statement-elections-
  infrastructure-government-coordinating-council-election.
  80
    Ben Fox, Trump fires agency head who vouched for 2020 vote security, Associated Press,
  Nov. 18, 2020, https://apnews.com/article/donald-trump-fires-christopher-krebs-dhs-
  5e63923e0c11c9155eb5af2362d78548.
  81
     Josh Dawsey and Amy Gardner, Trump-funded studies disputing election fraud are focus in
  two probes, Washington Post, June 5, 2023,
  https://www.washingtonpost.com/nation/2023/06/05/trump-funded-studies-disputing-election-
  fraud-are-focus-two-probes/.

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  results. 82 Berkeley Research Group employees personally briefed Trump on these findings in
  December 2020. 83 Simpatico Software Systems investigated over a dozen voter fraud theories
  and likewise reported to the Trump campaign that the theories were unsupported. 84

           97.     President Trump disregarded the findings of his campaign advisors, the
  Department of Justice, senior administration officials, and the White House Counsel’s office. He
  instead turned to a new team of legal advisors willing to promote his outright lies and conspiracy
  theories, including Giuliani, Jenna Ellis, John Eastman, Sidney Powell, and Cleta Mitchell. Jan.
  6th Report at 203–04, 209–10. They immediately went to work to try to overturn the election. In
  a November 14, 2020 strategy session with Trump loyalists, Giuliani announced planned
  litigation “to invalidate upwards of 1M ballots.” Id. at 210.

                 B. Dozens of courts reject Trump’s frivolous election lawsuits, leading to
                    disciplinary action and sanctions against his attorneys.

          98.     In their effort to overturn the election in the courts, President Trump’s campaign
  and allies filed 62 lawsuits in battleground states between November 4, 2020, and January 6,
  2021. Jan. 6th Report at 210. They lost 61. Id. Their single victory affected few votes, did not
  confirm any claim of voter fraud, and did not change the outcome of the election in any state. Id.

          99.      Judges appointed by Republicans and Democrats alike, including several
  appointed by President Trump, found no credible evidence of widespread election fraud or
  irregularities. Id. at 210–13. And they did not mince words in calling out the frivolous litigation
  for what it was: a dangerous attempt to invalidate a free and fair election. See, e.g., Donald J.
  Trump for President, Inc. v. Sec’y of Pennsylvania, 830 F. App’x 377, 381, 391 (3d Cir. 2020)
  (“Free, fair elections are the lifeblood of our democracy. Charges of unfairness are serious. But
  calling an election unfair does not make it so. Charges require specific allegations and then
  proof. We have neither here.”); Donald J. Trump for President, Inc. v. Boockvar, 502 F. Supp.
  3d 899, 910 (M.D. Pa. 2020) (“[T]he Trump Campaign … ask[s] this Court to disenfranchise
  almost seven million voters. This Court has been unable to find any case in which a plaintiff has
  sought such a drastic remedy in the contest of an election, in terms of the sheer volume of votes
  asked to be invalidated. … [T]his Court has been presented with strained legal arguments

  82
    Josh Dawsey, Trump campaign paid researchers to prove 2020 fraud but kept findings secret,
  Washington Post, Feb. 11, 2023, https://www.washingtonpost.com/politics/2023/02/11/trump-
  campaign-report-electoral-fraud/.
  83
       Id.
  84
     Josh Dawsey and Amy Gardner, Trump-funded studies disputing election fraud are focus in
  two probes, Washington Post, June 5, 2023,
  https://www.washingtonpost.com/nation/2023/06/05/trump-funded-studies-disputing-election-
  fraud-are-focus-two-probes/.

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  without merit and speculative accusations, … unsupported by evidence. In the United States of
  America, this cannot justify the disenfranchisement of a single voter, let alone all the voters of its
  sixth most populated state.”); Law v. Whitmer, 477 P.3d 1124, *19 (Nev. 2020) (unpublished)
  (attaching and affirming district court decision) (Trump’s allies “did not prove under any
  standard of proof that illegal votes were cast and counted, or legal votes were not counted at all,
  due to voter fraud”).

          100. Trump’s attorneys ultimately faced stiff sanctions and disciplinary action for
  peddling Trump’s lies. A New York court suspended Giuliani’s law license based on
  “uncontroverted evidence that [he] communicated demonstrably false and misleading statements
  to courts, lawmakers, and the public at large in his capacity as lawyer for former President
  Donald J. Trump and the Trump campaign,” and that he made these “false statements” to
  “improperly bolster [his] narrative that due to widespread voter fraud, victory in the 2020 United
  States presidential election was stolen from his client.” 85

          101. The Presiding Disciplinary Judge of the Colorado Supreme Court approved a
  stipulation to discipline Jenna Ellis (Giuliani’s deputy), in which Ellis admitted that “[w]hile
  serving as a senior legal advisor to [Trump] and as counsel for his reelection campaign,” she
  “repeatedly made misrepresentations on national television and on Twitter, undermining the
  American public’s confidence in the 2020 presidential election.” People v. Ellis, 526 P.3d 958,
  958–59 (Colo. O.P.D.J. 2023).

          102. A federal district judge in Michigan sanctioned and referred for bar discipline
  Sidney Powell, Lin Wood, and seven other Trump-allied attorneys for bringing a suit the court
  called “a historic and profound abuse of the judicial process” meant to “deceiv[e] a federal court
  and the American people into believing that rights were infringed.” King v. Whitmer, 556 F.
  Supp. 3d 680, 688 (E.D. Mich. 2021), aff’d in relevant part, 71 F.4th 511 (6th Cir. 2023).

         103. The California State Bar has brought disciplinary charges against Trump attorney
  John Eastman for “engag[ing] in a course of conduct to plan, promote, and assist then-President
  Trump in executing a strategy, unsupported by facts or law, to overturn the legitimate results of
  the 2020 presidential election by obstructing the count of electoral votes of certain states.” 86

  85
     In the Matter of Rudolph W. Giuliani, No. 2021-00506, slip op at *2, 22 (N.Y. App. Div. May
  3, 2021),
  https://www.nycourts.gov/courts/ad1/calendar/List_Word/2021/06_Jun/24/PDF/Matter%20of%2
  0Giuliani%20(2021-00506)%20PC.pdf.
  86
    News Release, Attorney John Eastman Charged with Multiple Disciplinary Counts by the
  State Bar of California, State Bar of California, Jan. 26, 2023, https://www.calbar.ca.gov/About-
  Us/News/News-Releases/attorney-john-eastman-charged-with-multiple-disciplinary-counts-by-
  the-state-bar-of-california.

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         104. A federal district judge in California found that President Trump himself likely
  made knowingly false claims of voter fraud, under oath, in an election suit filed in federal court
  in Georgia. The California court cited an email in which Eastman stated that “the President” had
  been “made aware that some of the allegations (and evidence proffered by the experts) has been
  inaccurate [sic],” and that Trump signing a “verification” of the complaint “with that
  knowledge … would not be accurate.” Eastman v. Thompson, 636 F. Supp. 3d 1078, 1091 (C.D.
  Cal. 2022). Yet Trump and his attorneys proceeded to file the complaint with the same
  inaccurate information, and Trump “signed a verification swearing under oath that the …
  inaccurate numbers ‘are true and correct’ or ‘believed to be true and correct’ to the best of his
  knowledge and belief.” Id. at 1091–92. The court found that the evidence showed “President
  Trump knew that the specific numbers of voter fraud were wrong but continued to tout those
  numbers, both in court and to the public.” Id. at 1092.

          105. Trump’s legal effort to overturn the election effectively ended on December 11,
  2020, when the Supreme Court issued a one-paragraph order rejecting a long-shot lawsuit filed
  by the State of Texas to invalidate the election results in four other states. See Texas v.
  Pennsylvania, 141 S. Ct. 1230 (2020).

          106. President Trump was “fired up about the Supreme Court decision” and was
  “raging about” it. Jan. 6th Report at 20. In private, Trump acknowledged that the decision
  confirmed his electoral loss, stating to White House Chief of Staff Mark Meadows, “This is
  embarrassing. … We need to figure it out. I don’t want people to know that we lost.” Id. But in
  public, Trump continued to spread the lie that he won the election, tweeting the next day:

         So, you’re the President of the United States, and you just went through an election
         where you got more votes than any sitting President in history, by far - and
         purportedly lost. You can’t get “standing” before the Supreme Court, so you
         “intervene” with wonderful states … but, within a flash, it is thrown out and gone,
         without even looking at the many reasons it was brought. A Rigged Election, fight
         on! 87

          107. These court decisions prompted President Trump and his supporters, including
  violent extremists, to target the courts themselves. As detailed infra, the Supreme Court was the
  target of several “Stop the Steal” demonstrations in the leadup to January 6th, some of which
  followed Trump’s tweets criticizing the Court. And Proud Boys Chairman Enrique Tarrio
  considered a detailed plan, titled “1776 Returns,” to storm and seize control of the “Supreme
  Court of the United States” and other federal buildings in Washington, D.C. until “demands” for

  87
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 12, 2020,
  https://twitter.com/realDonaldTrump/status/1337629305405321216?s=20.

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  a “new election” were fulfilled. Jan. 6th Report at 511. 88

       III.   President Trump leads a broad-based effort to pressure, coerce, and intimidate
              state and local officials to unlawfully overturn the 2020 election results.

                 A. Trump continues to seek to overturn the election results after the
                    Electoral College formalizes his loss on December 14, 2020.

          108. Article II of the Constitution, as modified by the Twelfth Amendment, governs
  election of the President. Article II created the Electoral College, providing that the states would
  select presidential electors in the manner provided by state legislatures, and those electors would
  in turn vote for the President. See U.S. Const. art. II. § 1, amend. XII.

          109. Every state selects presidential electors by popular vote, and each state’s laws
  provide for procedures to resolve election disputes, including through lawsuits if necessary. After
  any election issues are resolved in state or federal court, each state’s Governor transmits a
  “certificate of the ascertainment” of the duly chosen Electoral College electors to the National
  Archives for inspection and counting by Congress. 3 U.S.C. §§ 6, 15.

          110. The Electoral College meets in mid-December to cast their votes, which are then
  sent to and counted by Congress on January 6th. 3 U.S.C. §§ 7, 15. The Vice President, as
  President of the Senate, presides over the joint session of Congress on January 6th. See U.S.
  Const. amend. XII; 3 U.S.C. § 15. The Vice President’s role is ceremonial: he merely oversees
  the opening and counting of Electoral College votes provided by each state’s governor. See U.S.
  Const. amend XII (“The President of the Senate shall, in the presence of the Senate and the
  House of Representatives, open all the certificates and the votes shall then be counted.”).

          111. By design, the President plays no role in the Electoral College vote or certification
  process. Nor is securing or perpetuating incumbency a “function of the presidency.” Thompson v.
  Trump, 590 F. Supp. 3d 46, 82 (D.D.C. 2022), appeal pending, No. 22-5069 (D.C. Cir.). Rather,
  “Article II of the Constitution, which defines the powers and duties of the President, is agnostic
  as to whether a sitting President is elected to a new term.” Id.

          112. On December 14, 2020, the Electoral College met and cast each State’s electoral
  votes for the 2020 presidential election. President Trump lost. The election was over. There was
  no longer a lawful avenue for President Trump to overturn the election results.

          113.   Senior Trump administration officials and family members urged President

  88
     Def. Zachary Rehl’s Mot. to Reopen Detention H’rg, Ex. 1, “1776 Returns,” United States v.
  Nordean, et al., No. 21-cr-175, ECF No. 401-1 (D.D.C. June 15, 2022),
  https://s3.documentcloud.org/documents/22060615/1776-returns.pdf.

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  Trump to concede, but he refused. See Jan. 6th Report at 499.

         114. Instead of accepting the Electoral College’s vote, President Trump doubled down
  on delegitimizing the election results and sought to obstruct the transfer of power by any means
  necessary.

                 B. Trump pressures Republican officials in states he lost to illegally replace
                    Biden electors with illegitimate Trump electors and to “find” votes for
                    him.

          115. Even before the 2020 election, President Trump’s campaign developed plans to
  unlawfully circumvent the election results if Trump lost and appoint “loyal electors” in
  battleground states with Republican-controlled legislatures. Jan. 6th Report at 266.

          116. After it had become clear his loss seemed all but certain, Trump and his allies
  began pursuing their state-focused plan in earnest. Id. at 267–70. Trump personally led outreach
  to many officials in states he lost with Republican-controlled legislatures, including Georgia,
  Michigan, Pennsylvania, and Arizona. Id. at 270–71. These efforts included Trump and his allies
  using false claims of election fraud to target communities where Black and Latino Americans
  voted in large numbers and falsely accusing Black election workers of ballot tampering.

        117. A key component of Trump’s pressure plan was to chastise uncooperative
  Republican officials as disloyal and even traitorous. Id. at 298.

         118. Between the November election and January 6th, Trump and his inner circle
  engaged in at least 200 acts of public or private outreach, pressure, or condemnation targeting
  Republican governors, state legislators, and state and local election administrators to prevent
  them from certifying his loss. Id. at 271. Trump’s main targets were top Republicans officials in
  Georgia, Michigan, Pennsylvania, and Arizona. Id. at 282–96.

          119. President Trump personally pressured many Republican lawmakers and election
  officials in states he lost to convene special legislative sessions to illegally replace Biden electors
  with fraudulent Trump electors. Id. at 281–91. On Twitter, Trump publicly pressured individual
  legislators to “demand a vote on decertification,” id. at 283, referring to those who resisted his
  efforts as “[t]raitors,” id. at 286.

          120. Georgia was a central focus of Trump’s pressure campaign. In a December 7,
  2020 statement, Georgia Governor Brian Kemp rejected Trump’s calls to convene a special
  legislative session in Georgia “to select a separate slate of presidential electors” for Trump,
  explaining that such an action would be “unconstitutional and immediately enjoined by the




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  courts.” 89 President Trump responded by escalating social media attacks against Kemp. In
  December 2020, Trump posted an average of one tweet per day either criticizing Governor
  Kemp or pressuring him to help him overturn the election. Jan. 6th Report at 290. For instance,
  on December 14th, Trump tweeted, “What a fool Governor @BrianKempGA of Georgia is. …
  Demand this clown call a Special Session and open up signature verification, NOW.” 90 On
  December 18th, he tweeted, “Governor @BrianKempGA of Georgia still has not called a Special
  Session. So easy to do, why is he not doing it? It will give us the State. MUST ACT NOW!” 91

          121. President Trump’s pressure campaign on Georgia Secretary of State Brad
  Raffensperger was even worse. Prior to January 2nd, Trump tried calling Raffensperger 18 times,
  but Raffensperger avoided the calls because of ongoing litigation against Trump’s campaign. Id.
  at 292. When Raffensperger finally took the President’s call on January 2nd, Trump repeated his
  false claims of election fraud and asked Raffensperger to “find” precisely the number of votes he
  needed to overturn the election results in Georgia, stating “I just want to find 11,780 votes,
  which is one more than we have because we won the State.” Id. He reiterated that request in
  other ways, such as stating “fellas, I need 11,000 votes. Give me a break.” Id. When
  Raffensperger refused, President Trump accused him of committing crimes and threatened
  possible prosecution:

          the ballots are corrupt. … which is totally illegal. … it is more illegal for you than
          it is for them because, you know, what they did and you’re not reporting it. That’s
          a criminal, that’s a criminal offense. And you can’t let that happen. That’s a big risk
          to you and to Ryan, your lawyer… I’m notifying you that you’re letting it happen.

  Id. at 293.

          122. Reviewing the evidence surrounding the January 2nd call, a federal district judge
  ruled that Trump’s “repeated pleas” to Raffensperger “clearly demonstrate that his justification
  was not to investigate fraud, but to win the election” through unlawful means. Eastman v.
  Thompson, 594 F. Supp. 3d 1156, 1191–92 (C.D. Cal. 2022).

          123. Trump unsuccessfully tried to enlist the Department of Justice to help overturn the
  election results in Georgia and other states. After striking out with Attorney General Barr, Acting
  89
     Gov. Kemp, Lt. Gov. Duncan Issue Statement on Request for Special Session of General
  Assembly, Office of Governor Brian Kemp, Dec. 7, 2020, https://gov.georgia.gov/press-
  releases/2020-12-07/gov-kemp-lt-gov-duncan-issue-statement-request-special-session-general.
  90
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 14, 2020,
  https://twitter.com/realDonaldTrump/status/1338348880182829061?s=20.
  91
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 18, 2020,
  https://twitter.com/realDonaldTrump/status/1339938332223139840?s=20.

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  Attorney General Rosen, and Acting Assistant Attorney General Donoghue, Trump enlisted the
  help of lower-level DOJ official Jeffrey Clark to do his bidding. After at least two meetings with
  Trump (which he did not disclose to DOJ leadership in advance), Clark drafted a proposed letter
  to the Georgia legislature falsely stating that the Department had identified “significant
  concerns” of election fraud in the state (it had not) and recommending a special legislative
  session to investigate the matter. Jan. 6th Report at 49–51. After DOJ leadership refused to sign
  the letter, Trump sought to sideline them by offering Clark the position of Acting Attorney
  General. Id. at 52–53. Trump rescinded Clark’s offer only after DOJ leadership vowed to resign
  en masse if Clark were appointed. Id. at 54.

           124. State officials who resisted Trump’s coercive demands made clear that Trump and
  his allies were urging them to violate their oaths to the Constitution. For instance, Arizona House
  Speaker Rusty Bowers stated: “I and my fellow legislators swore an oath to support the U.S.
  Constitution and the constitution and laws of the state of Arizona. It would violate that oath, the
  basic principles of republican government, and the rule of law if we attempted to nullify the
  people’s vote based on unsupported theories of fraud.” 92

          125. A Georgia grand jury has indicted Trump on 13 criminal counts, along with 18
  co-conspirators including Rudy Giuliani, Sidney Powell, and John Eastman, relating to a
  sweeping “conspiracy to unlawfully change the outcome of the [2020] election in favor of
  Trump.” Trump Georgia Indictment at 14. Among those charges are three counts of “Solicitation
  of Violation of Oath by Public Officer,” which assert that Trump unlawfully solicited Secretary
  Raffensberger and Speaker of the Georgia House of Representatives David Ralston to violate
  their oaths to the U.S. Constitution by illegally overturning the election results in Georgia. Id. at
  74, 87.

                 C. Trump causes waves of violent threats and intimidation against state and
                    local election officials.

          126. President Trump’s state-level pressure campaign ultimately failed, but the fallout
  was considerable. Officials who resisted Trump’s coercive tactics and election workers across
  the country who simply did their jobs became targets of violent threats, armed intimidation,
  stalking, harassment, public demonization, spamming, and doxing. Jan. 6th Report at 300–05.
  They and their families faced explicit threats of murder, bombings, and sexual assault. Id. Black
  election officials were frequently targeted with threats of lynchings and other racialized violence.
  Id.

         127.    A striking example of this terror campaign came in Georgia, where Black election
  92
     News Release, Speaker Bowers Addresses Calls for the Legislature to Overturn 2020 Certified
  Election Results, Ariz. House of Reps., Dec. 4, 2020,
  https://www.azleg.gov/press/house/54LEG/2R/201204STATEMENT.pdf.

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  workers Ruby Freeman and Shaye Moss (mother and daughter) were inundated with violent and
  racist threats after President Trump and Giuliani falsely accused them of vote tampering. Id. at
  305–06. (The Georgia Board of Elections later confirmed these allegations were “false and
  unsubstantiated,” 93 and a federal court entered a default judgment against Giuliani in Freeman
  and Moss’s defamation suit against him. 94). After Trump touted these false claims about
  Freeman at a December 5, 2020 rally in Georgia, strangers came to her home and tried to lure her
  outside with threatening emails and text messages. Id.

         128. On advice from the FBI, Freeman fled from her home and did not move back for
  months. Id. The concern was well-founded: A member of the Oath Keepers militia who was later
  convicted of multiple offenses for his role in the January 6th attack had a document in his home
  with the words “DEATH LIST” written across the top—the only two names listed were Ruby
  Freeman and Shaye Moss. Id. at 307.

          129. Ralph Jones, a Black election official who oversaw voter registration in Fulton
  County, Georgia, received death threats following the election including one calling him a
  “n[igger] who should be shot,” with another threatening “to kill him by dragging his body around
  with a truck.” Id. at 305–06.

         130. Another Black election worker in Georgia, Lawrence Sloan, was forced to go into
  hiding after President Trump and his adult sons falsely accused him of destroying ballots. 95

         131. Michigan state representative Cynthia Johnson, a Black woman, was threatened
  with lynching after she challenged witnesses that Rudy Giuliani presented to her committee. Jan.
  6th Report at 304.

         132. Secretary Raffensperger, one of Trump’s top targets, frequently received hostile
  messages directed toward him and his wife, some in the form of “sexualized attacks.” Id. at 305.
  The Secretary’s wife canceled visits from grandchildren after someone broke into their daughter-
  in-law’s house, and after police found self-identified members of the Oath Keepers outside the
  93
     State Election Board Clears Fulton County “Ballot Suitcase” Investigation; Report Finds No
  Evidence of Conspiracy, No Fraud, Georgia Sec. of State, June 20, 2023,
  https://sos.ga.gov/news/state-election-board-clears-fulton-county-ballot-suitcase-investigation-
  report-finds-no.
  94
     Mem. Op., Freeman v. Giuliani, No. 21-cv-3354, ECF No. 94 (D.D.C. Aug. 30, 2023),
  https://ecf.dcd.uscourts.gov/cgi-bin/show_public_doc?2021cv3354-94.
  95
    Nicole Carr, Election worker forced into hiding speaks out on video that falsely claimed he
  destroyed ballot, WSB-TV, Dec. 4, 2020, https://www.wsbtv.com/news/politics/election-worker-
  forced-into-hiding-speaks-out-video-that-falsely-claimed-he-destroyed-
  ballot/NF7VRBTRY5CCBH4HAARGX5SHDA/.

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  Raffenspergers’ home. Id.

         133. Another official targeted by Trump, Arizona House Speaker Rusty Bowers, faced
  armed protests at his home, with protesters honking horns, shouting into bullhorns, and calling
  him a pedophile. Id. at 303.

          134. Election administration offices in ten Georgia counties received emailed threats of
  bombings that they were warned would “make the Boston bombings look like child’s play” and
  that “death and destruction” would persist until “Trump is guaranteed to be POTUS.” Id. at 305.

          135. State and county election officials in Colorado were inundated with violent threats
  after the 2020 election and continue to face them. After publicly opposing President Trump’s
  2020 election lies, Colorado Secretary of State Jena Griswold received hundreds of threats on
  social media, including a Facebook message that read, “Watch your back. I KNOW WHERE
  YOU SLEEP, I SEE YOU SLEEPING. BE AFRAID, BE VERY AFRAID,” and an Instagram
  comment that read, “Penalty for treason? Hanging or firing squad. You can pick Griswold.” 96
  Two men have been criminally charged and convicted for making violent threats to the
  Secretary. 97 She now travels with a security detail. 98

          136. On November 5th, President Trump tweeted “STOP THE COUNT!” 99 During
  this same period, the Proud Boys and other Trump supporters held armed and intimidatory
  protests outside of ballot counting centers as poll workers counted votes for the 2020 election,
  including in Nevada, Arizona, and Michigan. 100 At one ballot-counting center in Detroit,

  96
     Cat Zakrzewski, Election workers brace for a torrent of threats: ‘I KNOW WHERE YOU
  SLEEP’, Washington Post, Nov. 8, 2022,
  https://www.washingtonpost.com/technology/2022/11/08/election-workers-online-threats/.
  97
     Margery A. Beck, Man gets prison for threatening Colorado election official, Associated
  Press, Oct. 6, 2022, https://apnews.com/article/elections-social-media-colorado-presidential-
  b4218eebcde7b96f186be3c72078c1bf; Logan Smith, “The angel of death is coming”: Littleton
  man sentenced for threats made to state office, CBS Colorado, Apr. 17, 2023,
  https://www.cbsnews.com/colorado/news/kirk-wertz-sentence-angel-of-death-is-coming-jena-
  griswold-threats-secretary-of-state-office/.
  98
    Rosalind Hederman, With violent rhetoric and election denial, podcaster becomes GOP force,
  Washington Post, Jun. 27, 2022, https://www.washingtonpost.com/politics/2022/06/27/with-
  violent-rhetoric-election-denial-podcaster-becomes-gop-force/.
  99
     Donald J. Trump (@realDonaldTrump), Twitter, Nov. 5, 2020,
  https://twitter.com/realDonaldTrump/status/1324353932022480896.
  100
     Michael Scherer, To build a crowd for a pro-Trump rally, Nevada GOP consultant sought
  help from Proud Boys, Washington Post, June 2, 2021,

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  demonstrators angrily pounded on doors and shouted “Let us in” and “Stop the count,” but were
  held back by police. 101

         137. President Trump was aware of the violent threats he was inspiring—which were
  widely reported in the media—and ignored pleas to condemn them. At a December 1, 2020 press
  conference, the Georgia Secretary of State’s Chief Operating Officer, Gabriel Sterling, made an
  impassioned plea calling out President Trump by name and warning his rhetoric was “going to
  get [someone] killed.” Sterling said:

         A 20 something tech in Gwinnett County today has death threats and a noose put
         out, saying he should be hung for treason because he was transferring a report on
         batches from an EMS to a county computer so he could read it.

         It has to stop.

         Mr. President, you have not condemned these actions or this language. … This has
         to stop. We need you to step up. …

         My boss, Secretary Raffensperger, his address is out there. They have people doing
         caravans in front of their house. They’ve had people come onto their property.
         Tricia, his wife of 40 years, is getting sexualized threats through her cellphone.

         It has to stop.

         This is elections. This is the backbone of democracy. And all of you who have not
         said a damn word are complicit in this. … Death threats, physical threats,
         intimidation, it’s too much. It’s not right. …

         Mr. President, it looks like you likely lost the state of Georgia. … [Y]ou need to
         step up and … stop inspiring people to commit potential acts of violence.
         Someone’s going to get hurt. Someone’s going to get shot. Someone’s going to get

  https://www.washingtonpost.com/politics/proud-boys-nevada-republican/2021/06/01/60da2a58-
  be5f-11eb-b26e-53663e6be6ff_story.html; Tim Sullivan and Adam Geller, Increasingly normal:
  Guns seen outside vote-counting centers, Associated Press, Nov. 7, 2020,
  https://apnews.com/article/protests-vote-count-safety-concerns-
  653dc8f0787c9258524078548d518992 .
  101
     Trea Bladas, Kristen Jordan Shamus, Niraj Warikoo, and Evan Petzold, Chaos erupts at TCF
  Center as Republican vote challenges cry foul in Detroit, Detroit Free Press, Nov. 4, 2020,
  https://www.freep.com/story/news/politics/elections/2020/11/04/tcf-center-challengers-detroit-
  michigan/6164715002/.

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         killed. 102

          138. President Trump saw a video of Sterling’s statement on Twitter and, in a retweet
  of the video, doubled down on the very lies that Sterling warned would get someone killed:
  “Rigged Election. Show signatures and envelopes. Expose the massive voter fraud in Georgia.
  What is Secretary of State and @BrianKempGA afraid of. They know what we’ll find!!!” 103




  102
     Georgia Election Official Gabriel Sterling: “Someone’s Going to Get Killed” Transcript,
  Rev, Dec. 1, 2020, https://www.rev.com/blog/transcripts/georgia-election-official-gabriel-
  sterling-someones-going-to-get-killed-transcript.
  103
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 1, 2020,
  http://web.archive.org/web/20201203173245/https://mobile.twitter.com/realDonaldTrump/status/
  1333975991518187521.



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        IV.   President Trump oversees a scheme to send fake slates of presidential electors to
              Congress and pressures Vice President Pence to unlawfully obstruct the January
              6th certification proceeding based on those fake electoral slates.

         139. As his litigation and state-level strategies failed, President Trump turned his focus
  to January 6, 2021. That was the date on which a joint session of Congress, with Vice President
  Pence presiding as President of the Senate, would count the electoral votes cast on December 14,
  2020, and certify the election results under the Twelfth Amendment and the Electoral Count Act,
  3 U.S.C. § 15.

          140. Trump’s January 6th strategy depended on Vice President Pence. Trump lawyers
  Kenneth Chesebro and John Eastman devised an unlawful plan in which the Vice President
  would—contrary to established legal authority and precedent—refuse to count certified electoral
  votes from seven states that Trump lost: Nevada, Arizona, Georgia, Michigan, New Mexico,
  Pennsylvania, and Wisconsin. Under this plan, Vice President Pence would point to so-called
  “competing” or “dual” slates of Electoral College electors from those seven states to justify
  either disregarding those states’ legitimate electors in counting the votes or halting the vote count
  and sending the slates back to the states. Jan. 6th Report at 341–44.

          141. But there were no valid competing slates of electors from the seven states.
  Instead, Republican officials sent false slates of Trump electors to Congress and the National
  Archives as a pretext for Vice President Pence to unlawfully disregard the real electoral college
  votes for Biden. Trump privately and publicly pressured Pence to carry out this plan, despite
  being told repeatedly it was unlawful. Id.

          142. Reviewing the evidence surrounding the fake elector scheme, a federal district
  judge found it is “more likely than not that President Trump” committed two federal crimes: (1)
  “corruptly attempt[ing] to obstruct the Joint Session of Congress on January 6, 2021,” in
  violation of 18 U.S.C. § 1512(c)(2), and (2) “conspir[ing] to defraud the United States by
  disrupting the electoral, in violation of 18 U.S.C. § 371.” Eastman, 594 F. Supp. 3d at 1193,
  1195.

          143. Federal and Georgia grand juries have criminally charged Trump for his role in
  the fake elector plot, including his unlawful solicitation of Vice President Pence to violate the
  U.S. Constitution and federal law by rejecting valid Electoral College votes. See Trump Federal
  D.C. Indictment; Trump Georgia Indictment.

          144. The Michigan Attorney General has charged sixteen of Trump’s Michigan fake
  electors with various election law and forgery felonies. 104

  104
    Michigan Attorney General Dana Nessel Charges 16 ‘False Electors’ with Election Law and
  Forgery Felonies, Mich. Dep’t of Att’y Gen., July 18, 2023,

                                                   37
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          145. The fake elector plan “was an unlawful, unprecedented and destructive break
  from the electoral college process” that “led directly to the violence that occurred on January
  6th.” Jan. 6th Report at 342–43.

                 A. Trump oversees the fake elector plan.

         146. The fake elector plan emerged from a series of legal memoranda written by
  Trump campaign lawyer Kenneth Chesebro, with Trump lawyer John Eastman later taking on a
  more prominent role. Id. at 343–45.

          147. Trump’s White House staff and his campaign began operationalizing the fake
  elector plan in early December 2020, the week before the Electoral College would meet on
  December 14th. Id. at 345.

          148. By December 8th, President Trump was pursuing and driving the fake elector
  plan. Id. at 346. He personally enlisted the Republican National Committee’s (“RNC”)
  assistance. Id. White House Chief of Staff Mark Meadows confirmed in a December 8th text
  message that they planned to convene Trump electors in key states that Trump lost and transmit
  false electoral certificates to Washington, D.C. Id. at 345.

          149. The Trump campaign filed lawsuits in certain states to supply a pretext for
  convening the fake electors in those states. Id. In later litigation, a federal district judge found
  that Trump filed these lawsuits “not to obtain legal relief, but to disrupt or delay the January 6th
  congressional proceedings through the courts.” Eastman, 636 F. Supp. 3d at 1090–91.

          150. On December 14th—the date when the true, certified electors were meeting to
  cast their electoral votes for Biden in Nevada, Wisconsin, Arizona, Georgia, Michigan, New
  Mexico, and Pennsylvania—the fake Trump electors convened in those states to sign false
  electoral certificates. Jan. 6th Report at 352–53. In some states, those orchestrating the fake
  electors engaged in acts of subterfuge by meeting in secret, lying to security guards about what
  they were doing, and instructing participants to keep details confidential. Id. at 354.

          151. The fake electoral certificates signed in Nevada, Wisconsin, Arizona, Georgia,
  and Michigan falsely declared the Trump electors to be “the duly elected and qualified Electors”
  from their state. Id. at 352–53. This declaration was false because the signatories had not been
  granted official status by their state government in the form of a certificate of ascertainment. Id.
  at 353.


  https://www.michigan.gov/ag/news/press-releases/2023/07/18/michigan-attorney-general-dana-
  nessel-charges-16-false-electors.

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            152. On the evening of December 14th, RNC Chairwoman Ronna Romney McDaniel
  forwarded an “Elector Recap” email to President Trump’s executive assistant, conveying that the
  illicit scheme had been formalized. Id. at 354. She wrote, “President Trump’s electors voted in
  the contested states,” to which President Trump’s assistant replied, “It’s in front of him!” Id.

         153. Five of the fake Trump elector certificates were then transmitted to Congress and
  the National Archives, who later deemed them invalid. Id. at 354–55. The fake Michigan and
  Wisconsin electoral certificates never made it to the Vice President, despite failed attempts by
  Trump’s team to deliver them through Members of Congress. Id. at 358.

                 B. Trump exerts intense public and private pressure on Vice President
                    Pence to rely on fake electors to unlawfully obstruct the January 6th
                    proceeding.

         154. Beginning in December 2020 and with greater frequency as January 6th
  approached, President Trump pressured Vice President Pence in private and public to obstruct
  the January 6th proceeding based on his illegal “President of the Senate strategy.” Id. at 341–42.

         155. At a December 21st White House meeting with President Trump and Vice
  President Pence, several Members of Congress urged the Vice President to reject Biden electors
  from one or more of the seven contested states. Jan. 6th Report at 355.

          156. On December 25th, when Pence called Trump to wish him a Merry Christmas,
  Trump pushed Pence to reject electoral votes from certain states on January 6th. Pence resisted,
  stating “You know I don’t think I have the authority to change the outcome.” Trump Federal
  D.C. Indictment ¶ 90.

           157. By early January 2021, Vice President Pence’s counsel, Greg Jacob, concluded
  that under the Electoral Count Act of 1887 and the Twelfth Amendment “‘[t]here is no justifiable
  basis to conclude that the Vice President has … authority’ to affect the outcome of the
  presidential election.” Jan. 6th Report at 435. Pence agreed with that view. Id. at 448. As Jacob
  later testified, “the Vice President’s first instinct, when he heard this theory, was that there was
  no way that our Framers, who abhorred concentrated power, who had broken away from the
  tyranny of George III, would ever have put one person—particularly not a person who had a
  direct interest in the outcome because they were on the ticket for the election—in a role to have
  decisive impact on the outcome of the election. And our review of text, history, and, frankly, just
  common sense, all confirmed the Vice President’s first instinct on that point.” Id. at 31. Indeed,
  if the theory were correct, a recalcitrant vice president could single-handedly decide who
  becomes president. On January 6, 1993, Dan Quayle could have kept George H.W. Bush in
  office. Or, on January 6, 2001, Al Gore could have made himself the president.

         158.    Despite Vice President Pence’s opposition, Trump and his allies exerted intense

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  pressure on him to unilaterally overturn the election results on January 6th.

          159. On January 1st, Trump called Pence and berated him for opposing a lawsuit
  seeking a judicial declaration that the Vice President had the constitutional power to reject or
  return votes to the states. Pence responded that there was no constitutional basis for such
  authority and that it was improper. Trump replied, “You’re too honest.” Trump Federal D.C.
  Indictment ¶ 90.

          160. At a January 4th Oval Office meeting with Vice President Pence, President
  Trump and Eastman sought to convince Pence that he had the power to disregard certified
  electors from states Biden won. Jan. 6th Report at 444. Eastman acknowledged, in President
  Trump’s presence, “that his proposal violated the Electoral Count Act,” that it “was not
  supported by precedent,” that “the Supreme Court would never endorse it,” and that the fake
  electoral slates upon which his plan depended were invalid. Id. at 446–47. Trump and Eastman
  nonetheless pressed Pence to carry out the unlawful scheme; Pence refused. Id. at 448.

         161. President Trump then resorted to public pressure. At a January 4th rally in
  Georgia, Trump accused “radical Democrats” of trying to “steal[]” the election, adding that
  “we’re not going to let it happen.” He then shifted focus to the Vice President: “I hope Mike
  Pence comes through for us … [I]f he doesn’t come through, I won’t like him quite as much.” Id.
  at 448–49.

         162. At 11:06 a.m. on January 5th, President Trump tweeted to his tens of millions of
  followers, amid a flurry of other tweets spreading election lies, that “[t]he Vice President has the
  power to reject fraudulently chosen electors.” 105

           163. That same day, Trump summoned Pence for a one-on-one meeting at the White
  House, where he again pressured Pence to overturn the election on January 6th. Id. at 452–53.
  Pence, again, refused. Id. Trump grew frustrated and told Pence he would have to publicly
  criticize him. Upon learning this, the Vice President’s Chief of Staff Marc Short was concerned
  for Pence’s safety and alerted the head of the Vice President’s Secret Service detail. Trump
  Federal D.C. Indictment ¶ 97.

         164. Later on January 5th, Trump, Pence, Jacob, and Eastman held a call, during which
  Eastman asked if the Vice President would at least be willing to “consider sending the electors
  back to the States.” Jan. 6th Report at 453. Pence said, “I don’t see it,” while stating his counsel
  would continue to hear out Eastman’s theories. Id.



  105
     Donald J. Trump (@realDonaldTrump), Twitter, Jan. 5, 2021,
  https://twitter.com/realDonaldTrump/status/1346488314157797389.

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          165. That evening, the New York Times published an article titled “Pence Said to Have
  Told Trump He Lacks Power to Change Election Result.” The article accurately reported that
  “Vice President Mike Pence told President Trump on Tuesday [January 4th] that he did not
  believe he had the power to block congressional certification of Joseph R. Biden Jr.’s victory in
  the presidential election despite Mr. Trump’s baseless insistence that he did.” 106

          166. Later that night, President Trump issued a statement disputing the Times’ report.
  The statement was filled with lies: Trump falsely claimed the “Vice President and I are in total
  agreement that the Vice President has the power to act” and that “[o]ur Vice President has
  several options under the U.S. Constitution” to unilaterally overturn the “illegal and corrupt”
  election results. 107 Yet again, Trump used falsehoods and public pressure to try to sway the Vice
  President, who Trump knew was not “in total agreement” with him.

         167. Trump allies, including political advisor Steve Bannon, amplified the public
  pressure on Pence in the leadup to January 6th. Jan. 6th Report at 454–55.

         168. The pressure campaign on Vice President Pence came to a head on January 6th,
  when tens of thousands of enraged Trump supporters from across the country answered President
  Trump’s call to assemble in Washington, D.C. to “Stop the Steal.” As detailed infra, Trump
  repeatedly directed his supporters’ anger toward Vice President Pence that day, including after
  he knew his mob was attacking the Capitol and threatening the lives of Pence and others.

           169. The violence on January 6th was fueled by President Trump spreading the lie that
  the election outcome had not yet been determined and that Vice President Pence had the power
  to deliver victory for him based on his slates of fake electors. Jan. 6th Report at 342–43. That lie,
  along with Trump’s other lies about election fraud, led tens of thousands to travel to Washington,
  D.C. to intimidate Vice President Pence and, when he did not succumb, to storm the Capitol and
  call for his murder.

        V.   President Trump summons tens of thousands of enraged supporters, including
             violent extremists, to travel to Washington, D.C. for a “wild” protest on January
             6th to “Stop the Steal.”

        170. After the December 14th Electoral College vote, the election was over. President
  Trump had lost and there was no lawful avenue to overturn the election results.

  106
     Maggie Haberman and Annie Karni, Pence Said to Have Told Trump He Lacks Power to
  Change Election Result, New York Times, Jan. 5, 2021,
  https://www.nytimes.com/2021/01/05/us/politics/pence-trump-election-results.html.
  107
     Meredith Lee Hill (@meredithllee), Twitter, Jan. 5, 2021,
  https://twitter.com/meredithllee/status/1346652403605647367.

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          171. On December 18th, Trump held a highly contentious meeting at the White House
  in which Sidney Powell and other election conspiracists proposed seizing voting machines and
  other extreme measures. Jan. 6th Report at 222. The proposals were ultimately rejected after
  strong opposition by White House lawyers. Id.

         172. Undeterred, President Trump summoned a violent mob to stop the transfer of
  power by force.

          173. At 1:42 a.m. on December 19th, President Trump tweeted a report filled with
  false claims of election fraud and announced: “Big protest in D.C. on January 6th. Be there, will
  be wild!” 108




          174. President Trump’s December 19th tweet galvanized tens of thousands of his
  supporters across the country. He had been inflaming them for months with the lie of a “stolen”
  election, and now, he focused their anger on the joint session of Congress in Washington, D.C.
  on January 6th.

          175. Trump’s call to action was highly unusual. Never before had an American
  president or presidential candidate summoned supporters to Washington for a “protest” of
  Congress’s constitutionally-mandated certification of a presidential election, let alone a “wild”
  protest. Historically, Congress’s January 6th proceedings were ceremonial events during which
  electoral votes were counted and the election results formalized without disruption, even when
  objections and debate occurred.

         176.    According to Twitter personnel, President Trump’s “will be wild” tweet generated
  108
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 19, 2020,
  https://twitter.com/realDonaldTrump/status/1340185773220515840.

                                                  42
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  a “fire hose” of calls to overthrow the U.S. government by Trump supporters who felt “as if their
  Commander in Chief” had summoned them. Jan. 6th Report at 499.

         177. An analyst at the National Capital Region Threat Intelligence Consortium
  observed that Trump’s tweet led to “a tenfold uptick in violent online rhetoric targeting Congress
  and law enforcement” and noticed “violent right-wing groups that had not previously been
  aligned had begun coordinating their efforts.” Id. at 694.

         178. In the ensuing weeks, President Trump posted more than a dozen other tweets to
  his more than 86 million Twitter followers encouraging them to come to Washington, D.C. to
  “#stopthesteal” on January 6th. Id. at 55.

          179. As he knew they would, President Trump’s tweets and other communications
  mobilized and coalesced a constellation of groups involved in the January 6th attack, including
  violent far-right extremists, anti-government militia groups, white nationalists, conspiracy
  theorists, rally organizers, and others who Trump knew closely followed his social media posts
  and whose presence could add to the size of the mob. With the President’s unifying call to
  action, these disparate groups now had a single date, a rallying point, and a mission: “Stop the
  Steal.”

          180. Nearly 200 January 6th criminal defendants (and counting) from 37 states have
  confirmed in court filings, guilty pleas, and public statements that they traveled to Washington,
  D.C. because President Trump called them there. 109 Former county commissioner Couy
  Griffin—who was recently disqualified from office under the Fourteenth Amendment for
  participating in the January 6th insurrection—likewise said he traveled to Washington “to answer
  President Trump’s call” and urged others to do the same. Griffin, 2022 WL 4295619, at *5.

          181. Based on threats widely circulated in the public domain and within the Executive
  Branch that President Trump led, and based on his prior experience with his supporters engaging
  in violence, Trump knew or consciously disregarded the risk that his supporters were angry and
  prepared for violence on January 6th. 110 That was the point: He shared their goal of stopping the

  109
     “Trump has called all patriots”: 174 Jan. 6th criminal defendants say Trump incited them,
  Citizens for Responsibility and Ethics in Washington, July 6, 2023,
  https://www.citizensforethics.org/reports-investigations/crew-reports/trump-incited-january-6-
  defendants/; January 6th Select Committee, Select Committee Chart Compiling Defendant
  Statements Supporting Materials Referenced in H. Rept. 117-663, Dec. 22, 2022,
  https://www.govinfo.gov/content/pkg/GPO-J6-DOC-DEFENDANT-STATEMENTS-
  CHART/xls/GPO-J6-DOC-DEFENDANT-STATEMENTS-CHART.xlsx.
  110
     In this Petition, allegations of Respondent Trump’s knowledge encompass both actual
  knowledge and conscious disregard of a risk.

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  transfer of power by any means necessary, including the use of violence.

                 A. Trump mobilizes violent extremists ahead of January 6th.

          182. Violent far-right extremists who long supported President Trump—including the
  Proud Boys, the Oath Keepers, the Three Percenters, and others—predictably viewed his
  December 19th “will be wild” tweet as a call to arms. Leaders of the Proud Boys and Oath
  Keepers have since been convicted on charges of seditious conspiracy to oppose by force the
  lawful transfer of presidential power.

         183. Although the Proud Boys and Oath Keepers historically were not allies, Trump’s
  tweet conveyed a sense of urgency that motivated the two extremist rivals to work together for a
  common goal: stopping the lawful transfer of power. Jan. 6th Report at 514. Senior Oath Keeper
  Kelly Meggs announced an alliance with the Proud Boys and Florida Three Percenters, stating
  “We have decided to work together and shut this shit down.” Id.

          184. Founded in 2016, the Proud Boys are self-proclaimed “Western chauvinists” who
  embrace white supremacy, misogyny, antisemitism, and the use of violence against political foes.
  Jan. 6th Report at 507. The group soon established a nationwide presence, including in Colorado,
  where Proud Boys have instigated violence at protests. 111

         185. The group, whom President Trump had instructed about three months earlier to
  “stand back and stand by,” reacted immediately to Trump’s December 19th tweet and began
  planning an attack. Jan. 6th Report at 56. They restructured their chain-of-command and created
  encrypted group chats entitled “Ministry of Self Defense” and “Boots on the Ground” to
  coordinate their January 6th plan. Id. at 510.

          186. On December 30, 2020, Proud Boys Chairman Enrique Tarrio received a
  document titled “1776 Returns” from cryptocurrency investors in Florida, which included
  detailed plans to storm and occupy key federal buildings in Washington, D.C., including
  congressional office buildings and the Supreme Court. 112 Id. at 511. The plan called for “the
  masses to rush the building[s],” distract law enforcement in the area by pulling fire alarms
  around the city, target specific senators’ offices, and disguise participants’ identities with
  COVID masks. Id. The Proud Boys later adopted aspects of the plan on January 6th. Id.

  111
     Jason Wilson, Proud Boys are a dangerous ‘white supremacist’ group say US agencies, The
  Guardian, Oct. 1, 2020, https://www.theguardian.com/world/2020/oct/01/proud-boys-white-
  supremacist-group-law-enforcement-agencies.
  112
     Def. Zachary Rehl’s Mot. to Reopen Detention H’rg, Ex. 1, “1776 Returns,” United States v.
  Nordean, et al., No. 21-cr-175, ECF No. 401-1 (D.D.C. June 15, 2022),
  https://s3.documentcloud.org/documents/22060615/1776-returns.pdf.

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          187. By late December 2020, Tarrio determined the Proud Boys’ actions on January
  6th would be “centered around the Capitol.” Id. at 56. On social media, Tarrio referenced
  “revolt” and “[r]evolution” and asked on Telegram “What if we invade it?” Id. at 56. On January
  4th, Tarrio told his men they should “storm the Capitol.” Id. at 500.

         188. The Proud Boys would go on to lead the January 6th attack at key breach points,
  penetrate the Capitol building, and lead hundreds of others inside. Id. at 56. As the attack
  unfolded, Tarrio claimed credit in a private chat, writing: “We did this.” Id. at 500. Tarrio, who
  was not in Washington, D.C. on January 6th, was later convicted along with three other Proud
  Boys leaders for seditious conspiracy and other felonies. 113 Proud Boy leaders Joseph Biggs and
  Zachary Rehl were sentenced to 17 years in prison and 15 years in prison, respectively, with
  Biggs receiving a sentencing enhancement “for a federal crime of terrorism.” 114 At trial,
  prosecutors stated the Proud Boys saw themselves as “Donald Trump’s army.” 115

          189. Jeremy Bertino, a Proud Boy who pleaded guilty to seditious conspiracy, admitted
  as part of his plea agreement that the group’s leaders “agreed that the election had been stolen,
  that the purpose of traveling to Washington, D.C., on January 6, 2021, was to stop the
  certification of the Electoral College Vote, and that the [Proud Boys] leaders were willing to …
  us[e] force against police and others[] to achieve that objective.” 116

          190. Trump’s “will be wild” tweet also galvanized the Oath Keepers. Founded in 2009
  by Elmer Stewart Rhodes, the Oath Keepers is an anti-government militia group that focuses on
  recruiting former and current military, law enforcement, and other public servants who have
  taken an oath to support the U.S. Constitution. Jan. 6th Report at 512. Like the Proud Boys, the

  113
      Jury Convicts Four Leaders of the Proud Boys of Seditious Conspiracy Related to U.S.
  Capitol Breach, U.S. Attorney’s Office for the Dist. of Columbia, May 4, 2023,
  https://www.justice.gov/usao-dc/pr/jury-convicts-four-leaders-proud-boys-seditious-conspiracy-
  related-us-capitol-breach.
  114
     Two Leaders of the Proud Boys Sentenced to 17 and 15 Years in Prison on Seditious
  Conspiracy and Other Charges Related to U.S. Capitol Breach, U.S. Dep’t of Justice, Aug. 31,
  2023, https://www.justice.gov/opa/pr/two-leaders-proud-boys-sentenced-17-and-15-years-
  prison-seditious-conspiracy-and-other.
  115
     Holmes Lybrand and Hannah Rabinowitz, Proud Boys were ‘Donald Trump’s army,’
  prosecutor says in closing arguments of seditious conspiracy trial, CNN, Apr. 24, 2023,
  https://www.cnn.com/2023/04/24/politics/proud-boys-seditious-conspiracy-trial-closing-
  arguments/index.html.
  116
      Statement of Offense ¶ 10, United States v. Bertino, 22-cr-329-TJK, ECF No. 5 (D.D.C. Oct.
  6, 2022), https://www.justice.gov/usao-dc/case-multi-defendant/file/1541236/download.

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  Oath Keepers have a nationwide presence. In Colorado alone, the group reportedly has more than
  950 members, including two elected officials and fourteen members of law enforcement. 117

          191. Days before Trump’s tweet, on December 10, 2020, Rhodes vowed that if
  President Trump did not invoke the Insurrection Act, the Oath Keepers would “rise up in
  insurrection (rebellion) against the ChiCom puppet Biden.” Jan. 6th Report at 514.

          192. After Trump’s tweet, on December 22nd, leader of the Oath Keepers Florida
  chapter Kelly Meggs echoed the tweet in a Facebook message, writing: “Trump said It’s gonna
  be wild!!!!!!! It’s gonna be wild!!!!!!! He wants us to make it WILD that’s what he’s saying. He
  called us all to the Capitol and wants us to make it wild!!! Sir Yes Sir!!! Gentlemen we are
  heading to DC pack your shit!!” Id. at 515.

          193. In the leadup to January 6th, Rhodes and other Oath Keepers created a “Quick
  Reaction Force” operating out of hotels in Virginia, just outside of Washington, D.C. They
  amassed an arsenal of assault weapons and equipment, hoping President Trump would invoke
  the Insurrection Act and deputize the Oath Keepers as his own militia. Id. at 514–15.

          194. On January 6th, members of the Oath Keepers formed two military “stacks,”
  marched up the Capitol’s East Plaza steps, and forced their way inside the building. Id. at 658.
  Fourteen Oath Keepers, including Rhodes and Meggs, were later convicted of felonies including
  seditious conspiracy relating to their efforts to “oppose by force the execution of the laws
  governing the transfer of presidential power.” 118 Like the Proud Boys’ Tarrio, Rhodes was
  convicted for his leadership role in the January 6th attack; he was not accused of breaching the
  Capitol building or personally committing violent acts on January 6th. A federal judge sentenced
  Rhodes to 18 years in prison and, as with the Proud Boys’ Biggs, applied a sentencing



  117
     The Oath Keepers Data Leak: Unmasking Extremism in Public Life, ADL, Sept. 6, 2022,
  https://www.adl.org/resources/report/oath-keepers-data-leak-unmasking-extremism-public-life.
  118
     Leader of Oath Keepers and Oath Keepers Member Found Guilty of Seditious Conspiracy
  and Other Charges Related to U.S. Capitol Breach, U.S. Dep’t of Justice, Nov. 29, 2022,
  https://www.justice.gov/opa/pr/leader-oath-keepers-and-oath-keepers-member-found-guilty-
  seditious-conspiracy-and-other; Four Oath Keepers Found Guilty of Seditious Conspiracy
  Related to U.S. Capitol Breach, U.S. Dep’t of Justice, Jan. 23, 2023,
  https://www.justice.gov/opa/pr/four-oath-keepers-found-guilty-seditious-conspiracy-related-us-
  capitol-breach; Six Additional Oath Keepers Members and Affiliates Found Guilty of Charges
  Related to Capitol Breach, U.S. Dep’t of Justice, Mar. 21, 2023,
  https://www.justice.gov/opa/pr/six-additional-oath-keepers-members-and-affiliates-found-guilty-
  charges-related-capitol.

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  enhancement for terrorism. 119

        195. The Three Percenters are another violent militia that viewed President Trump’s
  December 19th tweet as a call to arms. Jan. 6th Report at 521. Like the Proud Boys and Oath
  Keepers, the Three Percenters have a nationwide presence and are active in Colorado. 120

          196. Three Percenters across the country immediately began planning for violence
  after Trump’s “be wild” tweet, which tapped into a well of anti-government extremism already
  prevalent among the group’s members. Id. at 521–22.

          197. Robert Gieswein, a Coloradan affiliated with the Three Percenters who was
  among the first to breach the Capitol building on January 6th, said he came to Washington, D.C.
  “to keep President Trump in.” Id. at 56. He later pleaded guilty to two felony counts for
  assaulting police officers with an aerosol irritant. 121

          198. Lucas Denney, a Three Percenter from Texas who later pleaded guilty to
  assaulting officers on January 6th, repeatedly cited Trump’s December 19th tweet. On December
  21st, he told a fellow Three Percenter “Trump himself is calling for a big protest in DC on
  January 6th. I’m not going to miss this one.” Jan. 6th Report at 56. In a December 30th Facebook
  message, he wrote, “Trump has called this himself. For everyone to come. It’s the day the
  electoral college is suppose [sic] to be certified by congress to officially elect Biden. But, Pence
  is in charge of this and he’s going to throw out all the votes from States that were proved to have
  fraud. …That’s why he’s called this rally for support. … Trump will stay President.” Id. at 522.

          199. Numerous Three Percenters used President Trump’s “will be wild” tweet as a
  recruitment tool to encourage others to answer Trump’s call. Id. at 524. In late December, the
  Three Percenters Original issued a letter to its members announcing “this organization will be
  answering that call!.” Id.

         200.    The Three Percenters coordinated with the Proud Boys, Oath Keepers, and other
  119
     Court Sentences Two Oath Keepers Leaders to 18 Years in Prison on Seditious Conspiracy
  and Other Charges Related to U.S. Capitol Breach, U.S. Dep’t of Justice, May 25, 2023,
  https://www.justice.gov/usao-dc/pr/court-sentences-two-oath-keepers-leaders-18-years-prison-
  seditious-conspiracy-and-other.
  120
      Elise Schmelzer, “Aggressive” rise of Colorado’s extremist militia groups follow long history
  in state, Lamar Ledger, Jan. 24, 2021, https://www.lamarledger.com/2021/01/24/colorado-
  militia-three-percenter/.
  121
     Colorado Man Pleads Guilty to Felony Charges For Actions During Jan. 6 Capitol Breach,
  U.S. Attorney’s Office for the Dist. of Columbia, Mar. 6, 2023, https://www.justice.gov/usao-
  dc/pr/colorado-man-pleads-guilty-felony-charges-actions-during-jan-6-capitol-breach.

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  militia groups both before and on January 6th. They used Zello (a walkie-talkie app) to share
  intelligence after President Trump’s December 19th tweet and while in Washington, D.C. on
  January 6th. Id. at 525.

                 B. Trump propels the “Stop the Steal” movement and cross-country rallies
                    in the leadup to January 6th.

          201. Violent extremists were not the only ones electrified by Trump’s promise of a
  “wild” protest on January 6th. The “Stop the Steal” movement—a coalition of rally organizers,
  far-right provocateurs, and Trump allies who helped him amplify the lie of a “stolen” election—
  also acted swiftly to answer the President’s call. That coalition helped to mobilize thousands of
  Trump supporters to form a violent mob in Washington, D.C. on January 6th to do exactly what
  their deceptive slogan promised: “Stop the Steal.”

                        1. Stop the Steal’s origins and activities prior to Trump’s December
                           19th “will be wild” tweet.

          202. “Stop the Steal” is a phrase originally coined by longtime Trump political advisor
  Roger Stone during the 2016 election to dispute the election results if Trump lost. Jan. 6th Report
  at 502. When Trump won, the phrase went dormant. Id. On November 5, 2020, when the failure
  of Trump’s re-election bid seemed imminent, Stone told associates he planned to reconstitute
  “Stop the Steal.” Id.

          203. Ali Alexander, a Stone ally, quickly organized a new “Stop the Steal” campaign,
  establishing Stop the Steal, LLC, in Alabama on November 10, 2020. Id. at 503. Other key
  players in the coalition included Alex Jones, the conspiracy theorist and host of InfoWars; Nick
  Fuentes, leader of the white nationalist group Groypers; and Amy and Kylie Kremer, pro-Trump
  rally organizers and founders of Women for America First. Id. at 503, 530.

           204. Between Election Day 2020 and January 6th, Stop the Steal organizers held
  dozens of rallies around the country, including in Colorado, inflaming Trump supporters with
  election disinformation and recruiting them to travel to Washington, D.C. for January 6th. Id. at
  530. 122 The rallies brought together many groups, including violent extremists such as the Proud
  Boys, Oath Keepers, and Three Percenters; QAnon conspiracy theorists; white nationalists; and

  122
      See Amber Jo Cooper, Kate Singh, and Courtney Fromm, Trump supporters gather for ‘Stop
  the Steal’ rally in Colorado Springs, Fox 21, Nov. 7, 2020, https://www.fox21news.com/top-
  stories/trump-supporters-gather-for-stop-the-steal-rally-in-colorado-springs/; David Mullen, Pro-
  Trump demonstrators take the streets on Saturday to protest the election, Colorado Politics, Nov.
  28, 2020, https://www.coloradopolitics.com/2020-election/pro-trump-demonstrators-take-the-
  streets-on-saturday-to-protest-the-election/article_91381461-e957-540e-a206-
  8317bd01fa2d.html.

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  anti-vaccine activists. Jan. 6th Report at 502–07. While these groups had differing goals and
  ideologies, their common denominator was support for President Trump and his lie of a stolen
  election.

          205. Trump adviser Roger Stone served as a link between several of these groups. Id.
  at 517–19. The Oath Keepers provided security for Stone at Stop the Steal rallies, and Proud
  Boys leaders had long-standing relationships with Stone. Id. Stone maintained a chat group on
  the encrypted messaging app Signal called “F.O.S.” (or Friends of Stone) that included Ali
  Alexander, Enrique Tarrio, and Stewart Rhodes, in which they coordinated on Stop the Steal
  strategy and events between the election and January 6th. Id. at 519.

          206. The state-level Stop the Steal rallies built critical momentum for January 6th. Far-
  right extremists protested at or inside state capitols or other government buildings at least 49
  times after the 2020 election through January 6th. Id. at 503. Some participants in these events
  would later join Trump’s mob in attacking the U.S. Capitol on January 6th. Id.

          207. Previewing the mob’s tactics on January 6th, some Stop the Steal events focused
  on intimidating government officials to overturn the election results in their states. This was the
  case in Georgia, a focal point of President Trump’s election subversion efforts.

          208. Between November 18 and 21, 2020, Stop the Steal participants gathered outside
  of the Georgia state capitol and the governor’s mansion, including for armed protests. Id. at 504.
  Leading Stop the Steal proponents—including Ali Alexander, Roger Stone, Alex Jones, Nick
  Fuentes, and members of the Proud Boys and Oath Keepers—used inflammatory rhetoric and
  sought to intimidate lawmakers to overturn the election results in Georgia, which was required to
  certify Biden’s victory by the end of that week. Id. at 505. Alexander exhorted supporters to
  “storm the [state] capitol” and vowed “we’ll light the whole shit on fire.” Id. at 504–05.

          209. These same Stop the Steal leaders joined two “Million MAGA Marches” in
  Washington, D.C. on November 14th and December 12th. Id. at 505. Tens of thousands of
  Trump supporters attended the events, with protests focused on the Supreme Court building. 123
  At that time, the Court was considering long-shot election challenges by Trump allies. Both the
  November 14th and December 12th events turned violent at night. 124

  123
     Written Testimony of USCP Former Chief of Police Steven A. Sund, Staff Rep. of S. Comm.
  on Homeland Sec. & Govt’l Affs. & S. Comm. on Rules & Admin., at 2, Feb. 23, 2021,
  https://www.rules.senate.gov/imo/media/doc/Testimony_Sund.pdf.
  124
     Marissa J. Lang, et al., After thousands of Trump supporters rally in D.C., violence erupts
  when night falls, Washington Post, Nov. 15, 2020, https://www.washingtonpost.com/dc-md-
  va/2020/11/14/million-maga-march-dc-protests/; Tom Jackman, et al., Proud Boys sparked
  clashes during pro-Trump rally, D.C. officials say, Washington Post, Dec. 14, 2020,

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         210. Many speakers at the November 14th and December 12th Stop the Steal events
  inflamed crowds and used violent rhetoric, often directed at government offices and officers.

          211. At the November 14th Million MAGA March, Nick Fuentes called for President
  Trump to rule for life and urged followers to “storm every State capitol until January 20, 2021,
  until President Trump is inaugurated for 4 more years.” Id. at 520.

          212. The December 12th Million MAGA March coincided with the Jericho March, a
  Christian nationalist rally named after the biblical battle of Jericho. Id. In that story, “God orders
  his followers to march around the city of Jericho” and then “brings the walls down and orders his
  followers to violently sack the defenseless city … and murder every living being” within. 125 The
  Jericho March co-founder said God wanted Americans to hold a similar march around the
  “spiritual walls of this country”—that is, the Capitol, the Supreme Court, and other government
  buildings in Washington. 126

         213. At the December 12th Jericho March, Stewart Rhodes urged President Trump to
  invoke the Insurrection Act and warned that, if he did not, they would be forced to wage “a much
  more desperate [and] much more bloody war.” Id. at 505. Alex Jones vowed, “Joe Biden will be
  removed, one way or another!” Id.

          214. Meanwhile, President Trump directed the December 12th rallygoers’ anger
  toward the Supreme Court. A day earlier, the Court summarily dismissed a frivolous election
  challenge filed by the State of Texas, see Texas, 141 S. Ct. 1230, which President Trump had
  touted as a “very strong” vehicle for overturning the election results. 127 Trump had publicly
  lobbied the Court to “show[] great Wisdom and Courage” 128 by taking the case and “sav[ing] our



  https://www.washingtonpost.com/local/public-safety/trump-rally-violence-proud-
  boys/2020/12/14/bf2f5826-3e26-11eb-8bc0-ae155bee4aff_story.html.
  125
     Written Testimony of Andrew L. Seidel, Christian Nationalism and the Capitol Insurrection,
  January 6th Select Committee, App. A at 3, Mar. 18, 2022,
  https://www.govinfo.gov/content/pkg/GPO-J6-DOC-CTRL0000062431/pdf/GPO-J6-DOC-
  CTRL0000062431.pdf.
  126
        Id.
  127
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 9, 2020,
  https://twitter.com/realDonaldTrump/status/1336666810742149120?s=20.
  128
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 11, 2020,
  https://twitter.com/realDonaldTrump/status/1337494507756072961?s=20.

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  Country from the greatest Election abuse in the history of the United States” 129—echoing his
  later pressure campaign on Vice President Pence to show “courage” on January 6th.

          215. After the Supreme Court dismissed Texas’s case, President Trump assailed the
  Court on Twitter throughout December 11th and 12th, including after he knew thousands of his
  supporters were gathering in Washington for the second Million MAGA March. Jan. 6th Report
  at 505.

          216. At 11:50 p.m. on December 11th, Trump wrote “The Supreme Court really let us
  down. No Wisdom, No Courage!” 130 At 11:04 a.m. on December 12th, he added “[t]he Supreme
  Court had ZERO interest in the merits of the greatest voter fraud ever perpetrated on the United
  States of America.” 131 He sent numerous tweets critical of the Court that day.

         217. Following Trump’s tweets on December 12th, the Stop the Steal coalition led a
  march on the Supreme Court. Jan. 6th Report at 505. Amassed on the Court’s front steps, the
  crowd chanted “Stop the Steal!”; “1776!”; “Our revolution!”; and “The fight has just begun!!”
  Id. That night, the Proud Boys instigated violence in downtown Washington. 132

          218. President Trump made sure the Million MAGA March attendees knew he
  personally endorsed their mission to “Stop the Steal.” At the November 14th event, he drove
  through the crowd in his presidential motorcade, waving to them. 133 On the morning of
  December 12th, he tweeted: “Wow! Thousands of people forming in Washington (D.C.) for Stop
  the Steal. Didn’t know about this, but I’ll be seeing them! #MAGA.” 134 Later that day, he flew


  129
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 10, 2020,
  https://twitter.com/realDonaldTrump/status/1337040387349893121?s=20.
  130
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 11, 2020,
  https://twitter.com/realDonaldTrump/status/1337620892139081728?s=20.
  131
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 12, 2020,
  https://twitter.com/realDonaldTrump/status/1337790419875352576?s=20.
  132
      Tom Jackman, et al., Proud Boys sparked clashes during pro-Trump rally, D.C. officials say,
  Washington Post, Dec. 14, 2020, https://www.washingtonpost.com/local/public-safety/trump-
  rally-violence-proud-boys/2020/12/14/bf2f5826-3e26-11eb-8bc0-ae155bee4aff_story.html.
  133
     Donald Trump waves to supporters at ‘Million MAGA March’ in DC, USA Today, Nov. 14,
  2020, https://www.usatoday.com/videos/news/nation/2020/11/14/donald-trump-waves-
  supporters-million-maga-march-dc/6294751002/.
  134
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 12, 2020,
  https://twitter.com/realDonaldTrump/status/1337774011376340992.

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  over rallygoers in Marine One and then tweeted a video of the crowd’s reaction on the ground. 135

                        2. Trump’s December 19th “will be wild” tweet focuses the Stop the
                           Steal coalition’s efforts on Congress’s January 6th proceedings.

          219. President Trump’s December 19th “will be wild” tweet further galvanized the
  burgeoning Stop the Steal movement and focused their nationwide efforts on a single date and
  location: January 6th in Washington, D.C. Prior to that tweet, the Stop the Steal coalition was not
  planning any large-scale demonstration in Washington for January 6th. But after Trump’s
  December 19th tweet, Stop the Steal rally planners immediately set out to do two things:
  mobilize Trump supporters around the country to travel to Washington for January 6th, and
  prepare for a “wild” rally to coincide with the joint session of Congress.

         220. Ali Alexander, founder of Stop the Steal, LLC, quickly launched a new website
  invoking the President’s tweet, “WildProtest.com.” Jan. 6th Report at 530. The site advertised
  planned January 6th events under a banner that read: “President Trump Wants You in DC
  January 6.” Id.

           221. Alex Jones devoted much of his December 20th InfoWars show to Trump’s “will
  be wild” announcement, telling his audience: “[Trump’s] calling you, he needs your help, we
  need your help,” “we need 10 million people there.” Id. at 506. InfoWars co-host Matt Bracken
  urged viewers to “occupy[] the entire area” and “if necessary storm[] right into the Capitol.” Id.
  at 507. He also previewed the strategy—successfully deployed on January 6th—of using the mob
  itself as a weapon: “If you have enough people, you can push down any kind of fence or a wall.”
  Id.

          222. Women for America First (“WFAF”), leading pro-Trump rally organizers, moved
  to secure a rally permit for January 6th mere hours after President Trump’s “will be wild” tweet.
  Id. at 530. On December 19th, WFAF co-founder Kylie Kremer amplified the President’s call on
  Twitter: “The calvary [sic] is coming, President! JANUARY 6th | Washington, DC
  TrumpMarch.com #MarchForTrump #StopTheSteal.” Id. On January 1st, President Trump
  retweeted Kremer’s December 19th “calvary” tweet, stating “A great honor!” 136 WFAF later
  hosted the Stop the Steal rally on the Ellipse where President Trump directed the crowd to march
  on the Capitol. Id.

         223.    From December 27th through January 6th, WFAF led a cross-country bus tour in

  135
     Donald J. Trump (@realDonaldTrump), Twitter, Dec. 12, 2020,
  https://twitter.com/realDonaldTrump/status/1337833603309465600?s=20.
  136
     Donald J. Trump (@realDonaldTrump), Twitter, Jan. 1, 2021,
  https://twitter.com/realDonaldTrump/status/1345106078141394944.

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  which speakers inflamed rallygoers with election lies and urged them to answer President
  Trump’s call to travel to Washington, D.C. and “apply[] pressure to members of Congress to
  contest the electoral college.” 137 A website advertising the event prominently displayed Trump’s
  “will be wild” tweet and stated “THE PRESIDENT IS CALLING ON US TO COME BACK TO
  WASHINGTON ON JANUARY 6TH FOR A BIG PROTEST - ‘BE THERE, WILL BE
  WILD.’”




         224. WFAF’s nationwide tour traversed the southern half of the United States and
  ended in Washington, D.C., as shown in the map below:




  137
     Women for America First, March for Trump Bus Tour, Trumpmarch.com,
  https://web.archive.org/web/20201226001527/https://trumpmarch.com/ (archived on Dec. 26,
  2020).

                                                 53
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          225. Couy Griffin—the former county commissioner whom a New Mexico state court
  removed under Section 3 of the Fourteenth Amendment for his role in the January 6th
  insurrection—was a “featured speaker” on WFAF’s “multi-city bus tour.” Griffin, 2022 WL
  4295619, at *5, *20. On this tour, “Mr. Griffin urged crowds to join the ‘war’ and ‘battle’ in ‘the
  streets’ of Washington, D.C. on January 6 to stop certification of the election and the peaceful
  transfer of power.” Id. at *20. He told one crowd “the reason why I’m going to Washington D.C.
  is because my president called me there and I’m gonna be there,” and he implored them to do the
  same. Id. at *6. The New Mexico court found that these “pre-January 6 mob mobilization and
  incitement efforts by Mr. Griffin and others helped make the insurrection possible.” Id. at *20.

          226. WFAF secured a multimillion dollar budget from Publix supermarket heiress Julie
  Fancelli to “get as many people [to Washington] as possible.” Jan. 6th Report at 531–32. The
  budget allocated $500,000 to a busing program and centralized ad campaign to promote the
  event. Id. at 532. Caroline Wren, a Trump fundraiser enlisted by WFAF coordinated with Stop
  the Steal leader Ali Alexander on paying for charter buses. Id. In a December 29th tweet,
  Alexander announced that “new charter buses to bring people FOR FREE to #JAN6
  #STOPTHESTEAL for President Trump,” closing the tweet with “STAND BACK & STAND
  BY!”—a reference to Trump’s directive to the Proud Boys. Id. at 532.

          227. By late December, the White House took on a direct role in coordinating the
  January 6th Stop the Steal rally. Id. at 533. President Trump participated in selecting the speaker
  lineup, id. at 536, and Trump’s campaign and joint fundraising committees made direct payments
  of $3.5 million to rally organizers. 138 White House staff and Stop the Steal organizers understood
  that President Trump planned to speak at the rally and direct his supporters to march to the
  Capitol at the end of his speech. Jan. 6th Report at 533. Trump wanted a crowd at the Capitol to
  force Congress to stop the electoral college certification and send it back to the states. Id.

          228. On January 4th, during an internal meeting, Trump also indicated to staffers his
  desire to march to the Capitol personally—and to summon 10,000 National Guardsmen, not to
  protect the Capitol from any potential violence by the mob he was summoning, but to protect
  Trump himself from supposed threats by “left-wing counter-protestors.” Id. at 233–34.

          229. On January 5th, the Stop the Steal coalition hosted rallies in front of the U.S.
  Capitol, the Supreme Court, Freedom Plaza, and other prominent locations in downtown
  Washington, D.C. With the election certification looming, the tone at the rallies became
  increasingly desperate and extreme. Speakers openly called for “war,” “revolution,” and “battle”
  and led chants of “1776,” a reference to the Revolutionary War.

  138
     Anna Massoglia, Trump’s political operation paid more than $3.5 million to Jan. 6
  organizers, Open Secrets, Feb. 10, 2021, https://www.opensecrets.org/news/2021/02/jan-6-
  protests-trump-operation-paid-3p5mil/.

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          230. At a rally hosted by Virginia Women for Trump in front of the Supreme Court,
  Ali Alexander said “we are here to stop a coup that’s going on in our country. It’s happening in
  this building behind me [points to the Supreme Court]. These cowards think that they don’t want
  to destroy norms. They’ve already been destroyed… this is our country one way or another. One
  way or another, we outnumber them.” 139 Alexander then led the crowd in chanting “1776!” and
  “Stop the Steal!” 140 Another speaker referred to an impending “revolution” on January 6th. 141

          231. At the same rally, members of a Three Percenter-linked group told the crowd,
  “We are at war,” promised to “fight” and “bleed,” and vowed that “patriot[s]” would “not return
  to our peaceful way of life until this election is made right.” Jan. 6th Report at 537.

          232. At a separate rally in front of the U.S. Capitol, Alexander told the crowd “We
  must rebel. I’m not even sure if I’m going to leave D.C. We might make this ‘Fort Trump,’
  right?” Jan. 6th Report at 537. At a rally that evening, Alexander said “1776 is always an
  option.” Id. at 537–38.

         233. That evening at 5:05 p.m., Trump tweeted that he could “hear” his supporters
  “from the Oval Office,” adding that “Our Country has had enough, they won’t take it
  anymore!” 142

          234. In another tweet sent minutes later, Trump tagged Republican congressional
  leadership and previewed the mob intimidation they would face the next day: “I hope the
  Democrats, and even more importantly, the weak and ineffective RINO section of the
  Republican Party, are looking at the thousands of people pouring into D.C. They won’t stand for
  a landslide election victory to be stolen. @senatemajldr @JohnCornyn @SenJohnThune.” 143

           235. At 5:43 p.m., President Trump tweeted a final advertisement for his January 6th
  rally, stating, “I will be speaking at the SAVE AMERICA RALLY tomorrow on the Ellipse at



  139
     Virginia Women for Trump rally at Supreme Court, Feb. 26, 2021,
  https://muse.ai/v/5LpNJhz-Virginia-Women-for-Trump-rally-at-Supreme-Court.
  140
        Id.
  141
        Id.
  142
     Donald J. Trump (@realDonaldTrump), Jan. 5, 2021,
  https://twitter.com/realDonaldTrump/status/1346578706437963777?s=20.
  143
     Donald J. Trump (@realDonaldTrump), Jan. 5, 2021,
  https://twitter.com/realDonaldTrump/status/1346580318745206785.

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  11AM Eastern. Arrive early – doors open at 7AM Eastern. BIG CROWDS!” 144

          236. That evening, President Trump acknowledged to White House staff that his
  supporters would be “fired up” and “angry” the next day because they believed the election was
  stolen. Jan. 6th Report at 539. Trump knew they were angry that night because he could hear
  them from the Oval Office. Id. But this was not news to Trump: he knew well before January 6th
  that his supporters were coming to Washington angry and prepared for violence.

                 C. Credible threats of violence were widely circulated ahead of January 6th,
                    including to the White House.

         237. Federal agencies identified significant threats of violence ahead of January 6th,
  including threats to storm the U.S. Capitol and kill elected officials. Such threats were made
  openly online and widely reported in the press. President Trump continued to urge his supporters
  to come to Washington, D.C. even after these threats.

         238. From December 1, 2020 through January 6, 2021, seven federal agencies—
  including Executive Branch agencies that President Trump oversaw—developed 27 threat
  products warning of potential violence in Washington, D.C. on January 6th. 145 Agencies relayed
  some of these threats to the White House and the Secret Service. Jan. 6th Report at 63.

          239. As the nation’s “Commander-in-Chief and Chief Law Enforcement Officer …,
  President Trump had control over the sharing of any intelligence concerning a potential riot” on
  January 6th. Trump v. Thompson, 20 F.4th 10, 42 (D.C. Cir. 2021), cert. denied, 142 S. Ct. 1350
  (2022). President Trump routinely received oral briefings from White House and Secret Service
  officials on threats of potential violence at his own speaking events and at demonstrations in
  Washington, D.C.

         240. Each agency threat product concerned Congress’s counting of electoral votes,
  with some predicting a violent assault on the U.S. Capitol. 146 Some noted that January 6th
  attendees planned to use actual and improvised weapons, including firearms, explosive devices,


  144
     Donald J. Trump (@realDonaldTrump), Jan. 5, 2021,
  https://twitter.com/realDonaldTrump/status/1346588064026685443.
  145
     U.S. Gov’t Accountability Off., Capitol Attack: Federal Agencies Identified Some Threats,
  But Did Not Fully Process And Share Information Prior to January 6, 2021, GAO-23-106625, at
  24, Feb. 2023, https://www.gao.gov/assets/gao-23-106625.pdf.
  146
     U.S. Gov’t Accountability Off., Capitol Attack: Federal Agencies’ Use of Open Source Data
  and Related Threat Products Prior to January 6, 2021, GAO-22-105963, at 21–25, May 2022,
  https://www.gao.gov/assets/gao-22-105963.pdf.

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  chemical weapons and irritants, knives, baseball bats, and fireworks. 147 All seven agencies issued
  threat products indicating that domestic violent extremists or militia groups planned for violence
  on January 6th. 148

          241. For example, a December 22nd threat assessment by the U.S. Postal Inspection
  Service found a high potential for individuals to incite civil unrest on January 6th, noting a threat
  on the social media site Parler urging others to “take up your arms” and “Hang EVERY
  TRAITOR ON JAN 6Th! [sic]” 149

          242. A December 30th intelligence brief by the Secret Service’s Protective Intelligence
  & Assessment Division, titled “Wild Protest,” highlighted that Stop the Steal rally promoters had
  adopted the President’s December 19th “will be wild” tweet as a tagline, marketing the January
  6th rally as the “Wild Protest” and “widely us[ing]” the “hashtag #WildProtest to discuss and
  promote the event.” 150 The brief added that the hashtags “#WeAreTheStorm, #1[7]76Rebel,
  #OccupyCapitols have gained attention,” and that “President Trump supporters have proposed a
  movement to occupy Capitol Hill.” 151

          243. A January 3rd special event assessment by the Capitol Police noted that Trump
  supporters saw January 6th as their last opportunity to overturn the election results and predicted
  that their desperation could lead a violent attack on Congress. Jan. 6th Report at 696. 152

          244. A January 5th situational information report from the FBI’s Norfolk Field Office,
  titled “Potential for Violence in Washington, D.C. Area in Connection with Planned
  ‘StopTheSteal’ Protest on 6 January 2021,” identified “specific calls for violence” online,
  including one that read:

              Be ready to fight. Congress needs to hear glass breaking, doors being kicked in, and
              blood from their BLM and Pantifa slave soldiers being spilled. Get violent. … stop
              calling this a march, or rally, or a protest. Go there ready for war. We get our


  147
        Id. at 22–23.
  148
        Id. at 23.
  149
        Id. at 23–24.
  150
     U.S. Secret Service, Protective Intelligence Brief, Wild Protest, at 1, Dec. 30, 2020,
  https://www.govinfo.gov/content/pkg/GPO-J6-DOC-CTRL0000101135.0001/pdf/GPO-J6-
  DOC-CTRL0000101135.0001.pdf.
  151
        Id. at 3.
  152
        Id.

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         President or we die. NOTHING else will achieve this goal. 153

          245. The Secret Service received many indications of potential violence on January
  6th. On December 24th, the agency received a compilation of threatening social media posts: one
  urged protesters to “march into the chambers”; another highlighted President Trump’s “will be
  wild” tweet and said Trump “can’t exactly openly tell you to revolt” and that this was “the
  closest he’ll ever get”; and others construed the President’s tweet as encouraging supporters to
  come to Washington “armed” or otherwise prepared for violence. Jan. 6th Report at 695.

          246. On December 26th, the Secret Service received a tip that the Proud Boys were
  planning to have a “large enough group to march into DC armed and will outnumber the police
  so they can’t be stopped.” Id. “Their plan is to literally kill people,” the informant warned. Id.

          247. On December 29th, Secret Service agents forwarded to Capitol Police warnings
  that pro-Trump demonstrators were being urged to “occupy federal building[s],” “march into the
  capital building [sic] and make them quake in their shoes by our mere presence.” Id. at 695–96.

          248. Senior Trump administration officials anticipated violence on January 6th. Acting
  Deputy Attorney General Richard Donoghue testified that DOJ leadership “knew that if you
  have tens of thousands of very upset people showing up in Washington, DC, that there was
  potential for violence.” Id. at 61. He added: “Everyone knew that there was a danger of violence.
  Everyone knew that the Capitol and other facilities were potential targets.” Id. at 698.

        249.     Chairman of the Joint Chiefs of Staff General Mark Milley similarly said that
  “everybody knew” during interagency January 6th preparation calls that “there was a probability,
  more than a possibility, a probability of violence.” Id. Deputy Secretary of Defense David
  Norquist said, “the greatest threat is a direct assault on the Capitol.” Id. at 61.

         250. Director of DHS Special Operations Christopher Tomney recalled “broad
  discussion/acknowledgment that folks were calling for bringing weapons into the city on that
  day … [N]o one disagreed that there was going to be the high likelihood that there could be some
  violence on January 6.” Id. at 698.

          251. Director of National Intelligence John Ratcliffe expressed concern to White
  House aide Cassidy Hutchinson that events on January 6th could spiral out of control and
  potentially be dangerous. Id. at 65.



  153
     FBI, Norfolk Division, Situational Information Report, Jan. 5, 2021,
  https://www.govinfo.gov/content/pkg/GPO-J6-DOC-CTRL0000001532.0001/pdf/GPO-J6-
  DOC-CTRL0000001532.0001.pdf.

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         252. On January 2nd, Chief of Staff Mark Meadows told Hutchinson that “things
  might get real, real bad on the 6th.” Id. at 64.

         253. White House Deputy Chief of Staff Anthony Ornato had access to intelligence
  suggesting violence at the Capitol on January 6th, and it was his job to relay such threats to
  Meadows and President Trump. Id. at 68.

          254. Trump White House and campaign staff posted, amplified, and closely monitored
  content on far-right websites such as TheDonald.win, where users openly discussed attacking the
  Capitol and other violence on January 6th. Id. at 527-29. On December 30th, Trump campaign
  Senior Advisor Jason Miller sent Meadows a text boasting “I got the base FIRED UP,” linking to
  a post on TheDonald.win in which, in response to Miller’s post, users stated that “gallows don’t
  require electricity” and millions will “bust in through the doors if they try to stop Pence from
  declaring Trump the winner.” Id. at 529.

         255. Trump’s staff routinely made him aware of this type of content from far-right
  websites and social media posted by his most extreme supporters, whom President Trump and
  White House Social Media Director Dan Scavino called “basement dwellers.”

          256. DOJ attorney Jeffrey Clark and Trump advisor John Eastman said violence may
  be necessary to keep Trump in office. On January 3rd, a Deputy White House Counsel told Clark
  there would be “riots in every major city in the United States” if Trump remained in office, to
  which Clark responded, “that’s why there’s an Insurrection Act,” a statute that allows the
  president to deploy the military within the United States and use it against Americans. Trump
  Federal D.C. Indictment ¶ 81. On January 4th, after a senior White House advisor told Eastman
  that his plan would “cause riots in the streets,” Eastman responded that there had been points in
  the nation’s history where violence was necessary to protect the republic. Id. ¶ 94.

         257. Top White House aides Eric Herschmann and Hope Hicks urged President Trump
  to make a preemptive public statement calling for no violence on January 6th; he never did. Jan.
  6th Report at 578.

         258. By January 6th, the stage was set for President Trump’s “wild” protest. Tens of
  thousands of his supporters had descended on the nation’s capital, angry and prepared for battle.
  Heeding the President’s call, they came to “Stop the Steal” and keep Trump in power by any
  means necessary.




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        VI.   A violent mob summoned, incited, and aided by President Trump attacks the
              U.S. Capitol to stop the lawful transfer of presidential power.

                 A. Trump continues to publicly pressure Pence early on January 6th.

          259. Early on January 6th and throughout the day, Trump continued to tell his
  supporters that Vice President Pence was the last hope for overturning the election. He did so
  even though Pence told the President “[m]any times” he would not unlawfully reject the certified
  electors from any state. Jan. 6th Report at 456.

         260. At 1:00 a.m. on January 6th, Trump tweeted, “If Vice President @Mike_Pence
  comes through for us, we will win the Presidency. Many States want to decertify the mistake
  they made in certifying incorrect & even fraudulent numbers in a process NOT approved by their
  State Legislatures (which it must be). Mike can send it back!” 154

          261. At 8:17 a.m., Trump tweeted, “All Mike Pence has to do is send them back to the
  States, AND WE WIN. Do it Mike, this is a time for extreme courage!” 155

         262. Later that morning, Trump asked speechwriters to revise his rally speech to call
  out Pence by name. Jan. 6th Report at 581. The line was later removed at the request of White
  House legal staff. Id. at 582.

         263. Around 11:20 a.m., President Trump and Vice President Pence had a heated
  phone conversation in which Pence again refused to overturn the election results. Id. at 457–58.
  Trump called Pence a “wimp,” said he “was not tough enough,” and that he “made the wrong
  decision” by choosing Pence as his running mate. Id. at 458.

       264. After that call, President Trump’s speechwriting team was instructed to
  “REINSERT THE MIKE PENCE LINES” in Trump’s speech. Id. at 583.

                 B. Trump’s mob assembles for his “Stop the Steal” rally, armed, angry, and
                    prepared for violence.

          265. In the early morning of January 6th, tens of thousands of Trump supporters began
  gathering at the Ellipse and the Washington Monument for the President’s speech and “wild”
  protest. Jan. 6th Report at 639.

  154
     Donald J. Trump (@realDonaldTrump), Twitter, Jan. 6, 2021,
  https://twitter.com/realDonaldTrump/status/1346698217304584192.
  155
     Donald J. Trump (@realDonaldTrump), Twitter, Jan. 6, 2021,
  https://twitter.com/realDonaldTrump/status/1346808075626426371.

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          266. The Secret Service set up magnetometers outside the Ellipse to screen for
  weapons and other contraband. Many rallygoers chose to remain outside to avoid the screening.
  Id. at 640.

         267. From the approximately 28,000 rallygoers who went through security, the Secret
  Service confiscated hundreds of weapons and prohibited items, including 269 knives or blades,
  242 canisters of pepper spray, 18 brass knuckles, 18 tasers, 6 pieces of body armor, 3 gas masks,
  30 batons or blunt instruments, and 17 miscellaneous items like scissors, needles, or
  screwdrivers. Id. This was no ordinary political rally; the President’s supporters came ready for
  violence.

          268. At 8:07 a.m., Secret Service agents reported to the agency’s Protective
  Intelligence Division that crowd members were “wearing ballistic helmets, body armor and
  carrying radio equipment and military grade backpacks.” Id.

         269. Later that morning, rallygoers threatened National Park Service officers who tried
  to make arrests, forcing the officers to flee and lock themselves in a security box for safety. Id.

         270. Men in combat fatigues brandished AR-15s in front of police officers near the
  National Mall, and officers detained a man with a rifle. Id. at 640–41.

          271. Several January 6th criminal defendants have pleaded guilty or been convicted of
  carrying firearms on or near the Capitol grounds. Id. at 640–41. One man traveled to D.C. with
  multiple handguns and other firearms, hundreds of rounds of ammunition, large-capacity
  ammunition feeding devices, and 11 mason jars with ignitable ingredients for Molotov
  cocktails. 156 Another brought an AR-15 style rifle and a Smith & Wesson .40 caliber pistol to
  D.C. (the latter of which he brought to the Capitol grounds). 157 Another brought a Taurus
  revolver loaded with three shotgun shells and two hollow point bullets to the Capitol. 158 Another
  brought a 9-millimeter pistol loaded with 13 bullets, as well as a separate holster containing


  156
     Alabama Man Pleads Guilty to Firearms Offenses, U.S. Dep’t of Justice, Nov. 12, 2021,
  https://www.justice.gov/opa/pr/alabama-man-pleads-guilty-firearms-offenses.
  157
     Texas Man Sentenced to 87 Months in Prison For Actions Related to Capitol Breach, U.S.
  Attorney’s Office for the Dist. of Columbia, Aug. 1, 2022, https://www.justice.gov/usao-
  dc/pr/texas-man-sentenced-prison-actions-related-capitol-breach.
  158
     Indiana Man Pleads Guilty to Carrying a Gun and Assaulting Law Enforcement Officers in
  Jan. 6 Capitol Breach, U.S. Attorney’s Office for the Dist. of Columbia, June 17, 2022,
  https://www.justice.gov/usao-dc/pr/indiana-man-arrested-carrying-gun-and-assaulting-law-
  enforcement-jan-6-capitol-breach.

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  another 12 rounds of ammunition.159 Another brought a loaded 9-millimeter pistol. 160

          272. Other January 6th assailants brought axes, tasers, cattle prods, bear spray, pepper
  spray, pitch forks, hockey sticks, and sharpened flag poles. Jan. 6th Report at 642.

           273. Many, including those who brought firearms, traveled to Washington hoping to
  kill elected officials. Mark Mazza of Indiana told authorities that he intended to target House
  Speaker Nancy Pelosi and that “you’d be here for another reason” if he had found her inside the
  Capitol. Id. at 641. Texan Garrett Miller threatened to assassinate Congresswoman Alexandria
  Ocasio-Cortez. Id. at 642. Trevor Hallgren stated, “[t]here’s no escape Pelosi, Schumer, Nadler.
  We’re coming for you. … Even you AOC. We’re coming to take you out. To pull you out by
  your hairs.” Id. And Texan Guy Reffitt stated on the morning of January 6th, “I just want to see
  Pelosi’s head hit every fucking stair on the way out. … And Mitch McConnell too. Fuck em all.”
  Id. at 652.

          274. The Proud Boys, who had been planning an attack since Trump’s December 19th
  “will be wild” tweet, made the tactical decision to march on the Capitol early, at 10:30 a.m. Jan.
  6th Report at 642–43. Led by senior members Joseph Biggs, Ethan Nordean, and Zachary Rehl,
  about 200 to 300 Proud Boys arrived at the west side of the Capitol shortly after 11:00 a.m. Id. at
  643–44. They walked the perimeter of the Capitol grounds and remained at nearby food trucks
  until shortly before 1:00 p.m., when they would lead the attack. Id. at 645.




  159
     Maryland Man Convicted of All Charges for Actions During Capitol Breach, U.S Attorney’s
  Office for the Dist. of Columbia, Apr. 20, 2023, https://www.justice.gov/usao-dc/pr/maryland-
  man-convicted-all-charges-actions-during-capitol-breach.
  160
     Missouri Man Pleads Guilty to Felony Charge for Actions During Jan. 6 Capitol Breach,
  U.S. Attorney’s Office for the Dist. of Columbia, June 9, 2023, https://www.justice.gov/usao-
  dc/pr/missouri-man-pleads-guilty-felony-charge-actions-during-jan-6-capitol-breach.

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                 C. Knowing his supporters are armed and ready for violence, Trump directs
                    them to march on the Capitol to “fight like hell” and “Stop the Steal.”

         275. From a tent backstage at the Ellipse, President Trump looked out at the crowd of
  around 53,000 supporters and became enraged when he saw that about half of them refused to
  walk through magnetometers and be screened for weapons. Jan. 6th Report at 585.

          276. Earlier that morning, Deputy Chief of Staff Ornato told Trump that the onlookers
  did not want to go through security screening because “[t]hey have weapons that they don’t want
  confiscated by the Secret Service.” Id.

         277. Upon learning that his supporters refused to go through security because they
  were armed, Trump shouted to his advance team: “I don’t [fucking] care that they have weapons.
  They’re not here to hurt me. Take the [fucking] mags away. Let my people in. They can march to
  the Capitol from here. Take the [fucking] mags away.” Id.

          278. Rudy Giuliani and John Eastman spoke before Trump, repeating their bogus
  election fraud claims with heightened fervor and desperation. Giuliani called for “trial by
  combat.” Id. at 460.

         279.   President Trump took the stage from noon until 1:10 p.m. Id. at 585, 587.


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  Building on months of inflammatory lies, Trump continued to falsely claim the election was
  stolen and that Vice President Pence had the power to keep him in office. He repeatedly targeted
  “weak Republicans” and “RINOs” in Congress. 161 And he called out Vice President Pence by
  name eleven times, ad-libbing several lines not included in his written remarks:

               a. “I hope Mike is going to do the right thing. I hope so. I hope so. Because if Mike
                  Pence does the right thing, we win the election”;

               b. “The states got defrauded … Now they want to recertify. … All Vice President
                  Pence has to do is send it back to the states to recertify and we become president
                  and you are the happiest people”;

               c. “I just spoke to Mike. I said: ‘Mike, that doesn’t take courage. What takes
                  courage is to do nothing. That takes courage.’ And then we’re stuck with a
                  president who lost the election by a lot and we have to live with that for four more
                  years. We’re just not going to let that happen”;

               d. “And Mike Pence is going to have to come through for us, and if he doesn’t, that
                  will be a, a sad day for our country because you’re sworn to uphold our
                  Constitution”;

               e. “[Pennsylvania] want[s] to recertify. But the only way that can happen is if Mike
                  Pence agrees to send it back. Mike Pence has to agree to send it back”;

               f. “And Mike Pence, I hope you’re going to stand up for the good of our
                  Constitution and for the good of our country. And if you’re not, I’m going to be
                  very disappointed in you. I will tell you right now. I’m not hearing good stories”;
                  and

               g. “So I hope Mike has the courage to do what he has to do. And I hope he doesn’t
                  listen to the RINOs and the stupid people that he’s listening to.” 162




  161
     Transcript of Trump’s speech at rally before US Capitol riot, Associated Press, Jan. 13, 2021,
  https://apnews.com/article/election-2020-joe-biden-donald-trump-capitol-siege-media-
  e79eb5164613d6718e9f4502eb471f27.
  162
        Id. (emphases added).

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         280. Trump’s statements had the intended effect of producing substantial anger against
  Vice President Pence—anger the mob acted on that day. Jan. 6th Report at 37. During Trump’s
  speech, rallygoers could be heard shouting “storm the Capitol!” “invade the Capitol building!”
  and “take the Capitol!” 163

          281. Knowing his supporters were angry and armed, President Trump used the word
  “fight” or variations of it 20 times during his Ellipse speech. 164 Nearly every mention was
  improvised: the word “fight” appears only once in a teleprompter draft of the speech. 165 Trump
  claimed, from the perch of the presidency, that the very existence of our country depended on his
  supporters’ willingness to fight: “And we fight. We fight like hell. And if you don’t fight like




  163
     Dylan Stableford, New video shows Trump rally crowd cheering call to ‘storm the Capitol’,
  Yahoo News, Jan. 25, 2021, https://www.yahoo.com/video/trump-jan-6-rally-crowd-storm-the-
  capitol-video-184828622.html.
  164
     Transcript of Trump’s speech at rally before US Capitol riot, Associated Press, Jan. 13, 2021,
  https://apnews.com/article/election-2020-joe-biden-donald-trump-capitol-siege-media-
  e79eb5164613d6718e9f4502eb471f27.
  165
     Jan. 6th Report at 584, 615 n.50; January 6th Select Committee, Documents on File with the
  Committee, (National Archives Production), 076P-R000007557_0001–34,
  https://www.govinfo.gov/content/pkg/GPO-J6-DOC-CTRL0000082715/pdf/GPO-J6-DOC-
  CTRL0000082715.pdf

                                                 65
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  hell, you’re not going to have a country anymore.” 166

          282. Trump also pushed them to display strength, stating “You’ll never take back our
  country with weakness. You have to show strength and you have to be strong. We have come to
  demand that Congress do the right thing and only count the electors who have been lawfully
  slated.” 167

          283. President Trump insisted “[w]e must stop the steal” and stated repeatedly that “we
  can’t let” the election certification happen:

               a. “You will have an illegitimate president. … [W]e can’t let that happen”;

               b. “We can’t let this stuff happen. We won’t have a country if it happens”;

               c. “And then we’re stuck with a president who lost the election by a lot and we have
                  to live with that for four more years. We’re just not going to let that happen”;

               d. “They want to come in again and rip off our country. Can’t let it happen”; and

               e. “We will never give up, we will never concede. It doesn’t happen. You don’t
                  concede when there’s theft involved.” 168

         284. President Trump exhorted his supporters to march to the Capitol and claimed he
  would join them: “[A]fter this, we’re going to walk down, and I’ll be there with you, … we’re
  going to walk down to the Capitol, and we’re going to cheer on our brave senators and
  congressmen and women, and we’re probably not going to be cheering so much for some of
  them,” he stated. 169 He repeated that call at the end of his speech, while again targeting “weak”
  Republicans: “[W]e’re going to walk down Pennsylvania Avenue. … And we’re going to the
  Capitol, and we’re going to … give our Republicans, the weak ones[,] … the kind of pride and
  boldness that they need to take back our country. So let’s walk down Pennsylvania Avenue.” 170




  166
     Transcript of Trump’s speech at rally before US Capitol riot, Associated Press, Jan. 13, 2021,
  https://apnews.com/article/election-2020-joe-biden-donald-trump-capitol-siege-media-
  e79eb5164613d6718e9f4502eb471f27 (emphases added).
  167
        Id. (emphasis added).
  168
        Id. (emphases added).
  169
        Id.
  170
        Id.

                                                  66
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                 D. Trump’s mob breaches and seizes the United States Capitol, disrupting
                    the peaceful transfer of power.




                         1. The initial attack.

          285. Around 12:53 p.m., toward the end of President Trump’s speech, the Proud Boys
  led the initial breach of the Capitol perimeter and created a path for the rest of the mob to follow.
  Jan. 6th Report at 645. A minute later, the mob pushed Capitol Police officers to the ground,
  removed fencing, and made their way toward the Capitol building. Id. at 646. The Proud Boys
  led the charge in removing the next layer of security barriers as others breached barricades
  surrounding the Capitol. Id.

          286. Between 12:45 p.m. until shortly after 1:00 p.m., law enforcement responded to
  reports of pipe bombs at the Republican National Committee and Democratic National
  Committee headquarters. 171 The bomb threats diverted law enforcement resources away from the
  Capitol. Jan. 6th Report at 708.

  171
     Staff Rep. of S. Comm. on Homeland Sec. & Govt’l Affs. & S. Comm. on Rules & Admin.,
  Examining the U.S. Capitol Attack: A Review of the Security, Planning, and Response Failures
  on January 6, 117th Cong., at 22–23, June 8, 2021,
  https://www.rules.senate.gov/imo/media/doc/Jan%206%20HSGAC%20Rules%20Report.pdf
  (“Capitol Attack Senate Report”).

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          287. By 12:58 p.m., the mob filled the lower West Terrace of the Capitol just below
  the inauguration stage that had been constructed for President-Elect Biden’s inauguration on
  January 20th. Id. at 646. Police contained the mob temporarily, but attendees from President
  Trump’s rally would soon add to the mob’s size and give them the momentum to overwhelm law
  enforcement. Id. at 647.

          288. Meanwhile, just before 1:00 p.m., Vice President Pence released a “Dear
  Colleague” letter publicly rejecting Trump’s calls to overturn the election results. Jan. 6th Report
  at 462. Pence explained: “It is my considered judgment that my oath to support and defend the
  Constitution constrains me from claiming unilateral authority to determine which electoral votes
  should be counted and which should not. … I do not believe that the Founders of our country
  intended to invest the Vice President with unilateral authority to decide which electoral votes
  should be counted during the Joint Session of Congress, and no Vice President in American
  history has ever asserted such authority.” Id.

          289. News of Pence’s letter spread quickly. Ryan Nichols, who traveled from Texas
  and was later charged with eight felonies, live-streamed a diatribe stating, “I’m hearing that
  Pence just caved. … I’m telling you if Pence caved, we’re gonna drag motherfuckers through the
  streets.” Id. at 647. Oath Keeper Jessica Watkins, who traveled from Ohio, wrote to others in a
  Zello group that “‘100%’ of the Ellipse crowd was ‘marching on the Capitol’ because ‘it has
  spread like wildfire that Pence has betrayed us.’” Id. Watkins was later convicted of four felonies
  and sentenced to eight and a half years in prison for her role in the insurrection. 172

         290. At 1:03 p.m., as police officers fought back the mob behind security barriers
  outside the Capitol, Vice President Pence gaveled in the joint session of Congress. Capitol Attack
  Senate Report at 23–24.

         291. At 1:12 p.m., while the mob continued pushing toward the building, the two
  chambers separated and began debating objections to the certification of Arizona’s Electoral
  College votes. Id. at 24.

          292. At 1:49 p.m., the D.C. Metropolitan Police Department declared a riot at the
  Capitol. Jan. 6th Report at 651. The mob overwhelmed and brutalized police officers, continued
  to breach barricades, climbed scaffolding, and ascended closer to the Capitol from multiple
  angles. Id. at 651–52.

  172
     Two More Oath Keepers Members Sentenced on Felony Charges Related to U.S. Capitol
  Breach, U.S. Atty.’s Off. for the Dist. of Columbia, May 26, 2023, https://www.justice.gov/usao-
  dc/pr/two-more-oath-keepers-members-sentenced-felony-charges-related-us-capitol-breach.

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         293. At 2:13 p.m., the Senate went into recess. Capitol Attack Senate Report at 25.
  Around that time, Vice President Pence was evacuated to his ceremonial Senate office and
  congressional leadership were evacuated to secure locations. January 6th Report at 664–65.

          294. Also at 2:13 p.m., attackers breached the Capitol building, with Proud Boy
  Dominic Pezzola smashing a window on the Senate wing using a riot shield he stole from a
  police officer. Id. at 653. Others entered the window and opened doors from the inside, allowing
  more of the mob to enter the building. Id.

           295. Members of extremist groups, white supremacists, neo-Nazis, and neo-
  Confederates were among the first to forcibly breach the Capitol. Id. at 653–55. Delaware man
  Kevin Seefried paraded a Confederate battle flag—a symbol of white supremacy and violent
  rebellion against the United States—through the halls of the Capitol building. Id. Seefried used
  the flag to threaten and jab Capitol Police Officer Eugene Goodman, a Black man. 173 Seefried
  was later convicted on five charges, including obstruction of an official proceeding, and
  sentenced to three years in prison. 174 Many others in Trump’s mob carried Confederate flags and
  battle flags from the Revolutionary War.




  173
     Daniel Barnes, Man who carried a Confederate flag in the Capitol on Jan. 6 is sentenced to 3
  years, NBC News, Feb. 9, 2023, https://www.nbcnews.com/politics/justice-department/kevin-
  seefried-confederate-flag-capitol-jan-6-sentenced-rcna69784.
  174
        Id.

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          296. Black police officers defending the Capitol faced a torrent of racial epithets. A
  crowd of around twenty people screamed at Capitol Police Officer Harry Dunn, “Boo! Fucking
  nigger!” 175 Another Black police officer was told, “Put your gun down and we’ll show you what
  kind of nigger you really are!” 176

         297. At 2:18 p.m., the House went into recess as hundreds of attackers confronted
  Capitol Police officers inside the Capitol’s Crypt. Id. at 660.

          298. At 2:30 p.m., the Senate was evacuated and senators were rushed to a more secure
  location. Id. at 665. Minutes earlier, the mob came within feet of the Senate chamber, but Officer
  Goodman successfully diverted them away. 177

          299. At 2:38 p.m., Members of Congress on the House floor were evacuated and
  rushed to a more secure location. Jan. 6th Report at 665. But 28 Members remained trapped in
  the gallery as the mob roamed the halls surrounding the House chamber. Id. at 666. The Capitol
  Police emergency response team eventually cleared the hallways with long rifles and evacuated
  the remaining Members at 3:00 p.m. Id.

                        2. Knowing the attack was underway, President Trump pours fuel
                           on the fire and endangers Vice President Pence’s life.

           300. By 1:21 p.m., mere minutes after finishing his speech, President Trump was
  informed that the Capitol was under assault. Jan. 6th Report at 592. From then until 4:03 p.m., he
  sat in the presidential dining room and watched the attack on live television. Id. at 592–93. As
  explained infra, at no point on January 6th did President Trump contact his Cabinet or military
  leaders to marshal a defense of the Capitol and put down the insurrection. But he did act to
  exacerbate the violence.

         301. President Trump had primed his supporters for violence by targeting Vice
  President Pence in his Ellipse speech. After Pence publicly rebuked Trump’s pressure tactics in
  his “Dear Colleague” letter and throughout the afternoon, the mob chanted: “Hang Mike
  Pence!”; “Bring him out. Bring out Pence.”; and referred to Pence as a “traitor.” Id. at 37–38.

  175
     Written Statement of Harry A. Dunn, Private First Class, U.S. Capitol Police, Hearing Before
  the January 6th Select Committee, Jan. 27, 2021,
  https://www.congress.gov/117/meeting/house/113969/witnesses/HHRG-117-IJ00-Wstate-
  DunnO-20210727.pdf.
  176
        Id.
  177
     Kat Lonsdorf, et al., A timeline of how the Jan. 6 attack unfolded — including who said what
  and when, NPR, June 9, 2022, https://www.npr.org/2022/01/05/1069977469/a-timeline-of-how-
  the-jan-6-attack-unfolded-including-who-said-what-and-when.

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          302. At 2:24 p.m., when he knew the Capitol was under assault and that Vice President
  Pence would not carry out his demands, President Trump poured fuel on the fire. He tweeted:
  “Mike Pence didn’t have the courage to do what should have been done to protect our Country
  and our Constitution, giving States a chance to certify a corrected set of facts, not the fraudulent
  or inaccurate ones which they were asked to previously certify. USA demands the truth!” 178




          303. White House staff expected Trump’s tweet to incite further violence. Jan. 6th
  Report at 87–88. Deputy Press Secretary Sarah Matthews stated that “it was obvious that the
  situation at the Capitol was violent and escalating quickly,” that she knew “the impact [Trump’s]
  words have on his supporters,” and that “in that moment for [Trump] to tweet out the message
  about Mike Pence, it was him pouring gasoline on the fire and making it much worse.” Id.

         304. Secret Service agents in the Protective Intelligence Division predicted the tweet
  was “probably not going to be good for Pence” and noted it garnered “over 24K likes in under 2
  min[utes].” Id. at 597.

          305. As anticipated, President Trump’s 2:24 p.m. tweet immediately caused the mob to
  surge both inside and outside the Capitol, intensifying the violence that Trump knew was
  underway. Id. at 38, 86. Minutes after the tweet, the mob broke through a security line of the
  D.C. Metropolitan Police Department, resulting in the first ever fighting withdrawal in that
  force’s 160-year history. Id. at 38.

         306.    One minute after the tweet, at 2:25 p.m., the Secret Service determined they could

  178
     Donald J. Trump (@realDonaldTrump), Twitter, Jan. 6, 2021,
  https://web.archive.org/web/20210106192450/https://twitter.com/realdonaldtrump/status/134690
  0434540240897.

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  no longer protect the Vice President in his ceremonial office and evacuated him and his family to
  a secure loading dock, where he remained for the next four and a half hours. Id. at 38–39, 466.
  The violent mob, which was calling for Pence’s murder, came within 40 feet of the Vice
  President as he was evacuated. Id. at 466.

          307. Pence later recounted that Trump’s “reckless” tweet “endangered my family and
  all those serving at the Capitol.” Id. at 94.

                        3. Trump’s mob overwhelms and brutally attacks police officers
                           defending the Capitol.

          308. By 2:36 p.m., the mob had seized control of the Senate chamber and pushed past a
  line of Capitol Police officers guarding the House chamber. Id. at 661. The mob proceeded to
  breach the Capitol from other entry points, viciously assaulting and overwhelming police officers
  within and outside the building. Id.

          309. Members of the mob attacked police officers with a variety of actual and
  improvised weapons and engaged them in hand-to-hand combat. Id. at 662. Officers were
  crushed in metal doors, attacked with tasers, shocked with cattle prods, sprayed with pepper
  spray, bludgeoned with flag poles and metal poles broken apart from security barricades, and
  beaten with their own stolen batons and riot shields. Id.

           310. The mob’s size was their greatest weapon. Griffin, 2022 WL 4295619, at *8
  (citing trial testimony of D.C. police officer Daniel Hodges). The thousands in the mob vastly
  outnumbered law enforcement by approximately 50 or 75 to 1. Id. Because of their sheer
  numbers and the chaos the mob created, police officers could not use their firearms, make
  arrests, or freely move around the Capitol grounds to successfully neutralize the threat. Id.

         311. Some of the most brutal fighting happened in a tunnel on the Capitol’s West
  Terrace, where officers fought hand to hand for more than two hours to keep the mob out of the
  Capitol building. Jan. 6th Report at 662.




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          312. The mob formed a human battering ram, chanting “Heave! Ho!” as they
  coordinated their movement to break through the police line guarding the tunnel. Id. They
  crushed D.C. police officer Daniel Hodges in a metal door frame and, while he was trapped
  there, bashed in his face with his own baton. 179




  179
     Written Statement of Officer Daniel Hodges, Hearing Before the January 6th Select
  Committee, Jan. 27, 2021,
  https://www.congress.gov/117/meeting/house/113969/witnesses/HHRG-117-IJ00-Wstate-
  HodgesO-20210727.pdf.

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         313. D.C. police officer Michael Fanone was dragged into the crowd on the West
  Terrace, tased in the neck, beaten, and robbed, while members of the mob yelled: “Kill him!”
  “Get his gun!” and “Kill him with his own gun!” Jan. 6th Report at 663.




          314. One of Officer Fanone’s attackers, Daniel Rodriguez, later told the FBI that he
  traveled to Washington because “Trump called us to DC … he’s the commander in chief and the
  leader of the country, and … I thought he was calling for help.” Id. at 663–64. Rodriguez was
  convicted of conspiracy and obstruction of an official proceeding, obstruction of justice, and
  assaulting a law enforcement officer with a deadly or dangerous weapon, and sentenced to more
  than 12 years in prison. 180

                        4. President Trump fails to defend the Capitol.

        315. Between learning of violence at the Capitol at 1:21 p.m. and 4:03 p.m., President
  Trump took no action to defend the Capitol.




  180
     California Man Sentenced to Prison for Felony Charges, Including Conspiracy and
  Assaulting Police Officer During Capitol Breach, U.S. Attorney’s Office for the Dist. of
  Columbia, June 21, 2023, https://www.justice.gov/usao-dc/pr/california-man-sentenced-prison-
  felony-charges-including-conspiracy-and-assaulting-police.

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         316. At no point on January 6th did President Trump contact top officials in his
  administration such as the Secretary of Defense, the Chairman of the Joint Chiefs of Staff, the
  Attorney General, the Secretary of Homeland Security, or the FBI Director to ensure they were
  working to quell the violence. Jan. 6th Report at 94. He took no action to deploy the D.C.
  National Guard, which falls under the President’s direct command. Id. at 724. Nor did he contact
  Vice President Pence to check on his safety. Id. at 94.

         317. Chairman of the Joint Chiefs of Staff General Mark Milley confirmed that
  President Trump did “[n]othing,” “[z]ero” to marshal a federal response to the assault on the
  Capitol. Id. at 578. Instead, it was Vice President Pence who issued “very explicit, very direct
  orders” to “get the [National] [G]uard down” to the Capitol, even though he lacked constitutional
  power to issue such orders. Id. Acting Secretary of Defense Christopher Miller likewise
  confirmed that Trump had no involvement—“none”—in “the Department of Defense efforts on
  January 6.” 181

         318.    General Milley was struck by President Trump’s inaction:

         You know, you’re the Commander in Chief. You’ve got an assault going on on the
         Capitol of the United States of America, and there’s nothing? No call? Nothing?
         Zero? … [N]o attempt to call the Secretary of Defense? No attempt to call the Vice
         President of the United States of America, who’s down on the scene?

  Jan. 6th Report at 578.

          319. Instead of mounting a federal response to defend the Capitol, President Trump
  watched the attack on live television. He failed to act for nearly three hours as his mob ransacked
  the seat of American democracy, brutally assaulted police officers, and called for the murder of
  elected officials, including his own Vice President. Id. at 593.

          320. President Trump’s inaction in the face of a violent assault on the Capitol by a mob
  of his supporters stood in stark contrast to his hyper-aggressive, militarized response to




  181
     Written Statement of Christopher C. Miller, The Capitol Insurrection: Unexplained Delays
  and Unanswered Questions, Hearing Before the H. Comm. on Oversight and Reform, 117th
  Cong. (2021), https://www.justsecurity.org/wp-content/uploads/2021/12/january-6-
  clearinghouse-house-oversight-hearing-chris-christopher-testimony-may-2021.pdf.

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  nationwide racial justice protests in 2020, including the forceful clearing of peaceful protesters
  from Lafayette Square in June 2020. 182

          321. President Trump’s senior staff, family, and close allies repeatedly urged him to
  issue a statement instructing the mob to leave the Capitol, but he refused. Jan. 6th Report at 592–
  606.

         322. Minutes after the mob breached the Capitol building at 2:13 p.m., White House
  Counsel Pat Cipollone told Chief of Staff Mark Meadows that “rioters have gotten to the
  Capitol” and that they needed to “go down and see the President now.” Id. at 595. Meadows
  responded: “He doesn’t want to do anything, Pat.” Id. at 595. Cipollone replied, “something
  needs to be done, or people are going to die and the blood’s going to be on your [fucking]
  hands.” Id.

          323. President Trump’s first public statement after the attack began was his 2:24 p.m.
  tweet targeting Vice President Pence, which intensified the violence.

         324. Shortly after the incendiary 2:24 p.m. tweet, Cipollone and Meadows emerged
  from a meeting with President Trump. Id. at 596. Cipollone said to Meadows, “Mark, we need to
  do something. They’re literally calling for the Vice President to be [fucking] hung.” Id.
  Meadows responded: “You heard him, Pat. He thinks Mike deserves it. He doesn’t think they are
  doing anything wrong.” Id.

          325. Rather than intervening to defend the Capitol, President Trump tried to enlist
  congressional allies to keep delaying the election certification. Id. at 577, 597–98. He made one
  such call to Senator Tommy Tuberville at 2:26 p.m., two minutes after his inflammatory tweet
  targeting Pence. Id. at 598.

          326. Between 2:26 p.m. and 3:06 p.m., President Trump had a heated phone call with
  then-House Minority Leader Kevin McCarthy. Id. McCarthy told Trump to “call … off” his
  mob. Trump replied, “Kevin, I guess they’re just more upset about the election theft than you
  are.” Id.

         327. At 2:38 p.m., Trump tweeted: “Please support our Capitol Police and Law
  Enforcement. They are truly on the side of our Country. Stay peaceful!” 183 At 3:13 p.m., he sent

  182
     Kriston Capps, The Double Standard for Policing Capitol Rioters and BLM Protesters,
  Bloomberg, Jan. 7, 2021, https://www.bloomberg.com/news/articles/2021-01-07/trump-rioters-
  weren-t-policed-like-blm-protesters.
  183
     Donald J. Trump (@realDonaldTrump), Twitter, Jan. 6, 2021,
  https://twitter.com/realDonaldTrump/status/1346904110969315332.

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  a similar tweet urging the crowd to “remain peaceful.” 184 Both tweets falsely implied his
  supporters were “peaceful,” when in fact Trump knew of the ongoing violence at the Capitol.
  Neither of Trump’s tweets condemned the mob’s violence or told them to leave the Capitol
  building.

         328. At some point after 3:05 p.m., President Trump was informed that an individual
  had been shot at the Capitol; that person was later revealed to be Ashli Babbitt. Jan. 6th Report at
  91.

           329. In the nearly three hour period between 1:21 p.m. and 4:03 p.m., President Trump
  could have walked just down the hallway from the Oval Office to record a statement instructing
  the mob to go home from the White House Press Briefing Room, where cameras are ready to go
  live at a moment’s notice. Id. at 604. He did not.

          330. Following nearly three hours of barbaric violence and desperate pleas for the
  President to intervene, and only after it was clear that the attack would fail to stop the election
  certification, Trump finally filmed a video statement at 4:03 p.m. telling the mob to “go home.”
  Id. at 606. The video was released at 4:17 p.m. Id.

         331. In the video, President Trump did not condemn the attack—he justified it. He
  repeated his lie of a “stolen” election, empathized with the attackers, and told them, “we love
  you” and “[y]ou’re very special.” His full statement read:

         I know your pain. I know you’re hurt. We had an election that was stolen from us.
         It was a landslide election and everyone knows it, especially the other side. But you
         have to go home now. We have to have peace. We have to have law and order. We
         have to respect our great people in law and order. We don’t want anybody hurt. It’s
         a very tough period of time. There’s never been a time like this where such a thing
         happened where they could take it away from all of us, from me, from you, from
         our country. This was a fraudulent election. But we can’t play into the hands of
         these people. We have to have peace. So go home, we love you. You’re very
         special. You’ve seen what happens. You see the way others are treated that are so
         bad and so evil. I know how you feel, but go home and go home in peace.

  Id.

          332. At the Capitol and on the grounds, attackers streamed President Trump’s video on
  their phones and heeded his command to go home. Id. at 606. Members of the mob relayed the

  184
     Donald J. Trump (@realDonaldTrump), Twitter, Jan. 6, 2021,
  https://twitter.com/realDonaldTrump/status/1346912780700577792.

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  message: “Donald Trump has asked everybody to go home. … That’s our order,” they told each
  other. Id. The mob then began to disperse. Id.

          333. After releasing the 4:17 p.m. video, Trump joined others in the outer Oval Office
  to watch the attack on television and said, “See, this is what happens when they try to steal an
  election. These people are angry. These people are really angry about it. This is what happens.”
  Trump Federal D.C. Indictment ¶ 117.

          334. At 6:01 p.m., after the violence, first of several deaths, and destruction were
  widely reported, President Trump sent a tweet justifying the attack and repeating the lies he used
  to incite it: “These are the things and events that happen when a sacred landslide election victory
  is so unceremoniously & viciously stripped away from great patriots. … Remember this day
  forever!” 185




          335. Throughout the evening of January 6th, Trump and Giuliani continued to try and
  exploit the violence and chaos at the Capitol by calling Members of Congress and urging them to
  further delay the election certification. Jan. 6th Report at 608–10. At 7:01 p.m., as Giuliani was
  calling U.S. Senators on Trump’s behalf, White House Counsel Pat Cipollone asked President
  Trump to withdraw any objections and allow the certification; Trump refused. Trump Federal
  D.C. Indictment ¶ 120.




  185
     Donald J. Trump (@realDonaldTrump), Twitter, Jan. 6, 2021,
  https://web.archive.org/web/20210106230114/https://twitter.com/realdonaldtrump/status/134695
  4970910707712.

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                        5. Law enforcement clears the Capitol with thousands of
                           reinforcements from the D.C. National Guard and federal, state,
                           and local law enforcement agencies.

          336. As detailed supra, the mob forced both chambers of Congress to go into recess by
  2:18 p.m. The Vice President could not return to the Senate chamber and the election
  certification proceedings could not resume until all trespassers in the restricted area were
  removed and the Capitol complex was deemed secure.

          337. Starting before 3:00 p.m., law enforcement spent approximately three hours
  clearing the mob out of the Capitol building and off the grounds. Jan. 6th Report at 666.

         338. With Trump refusing to call off his mob, Capitol Police were forced to call in
  more than 2,000 reinforcements from 19 federal, state, and local agencies, including the D.C.
  National Guard (whom Vice President Pence and others had called in, but not President
  Trump). 186 Officers had to use chemical spray and munitions, flash bangs, tactical teams with
  firearms, riot shields, and batons to fight back the mob. 187

         339. Even with this significant show of force, the Capitol grounds were not deemed
  secure until 8:00 p.m. Capitol Attack Senate Report at 26. The Senate proceedings resumed at
  8:06 p.m. and the House proceedings resumed at around 9:00 p.m. Jan. 6th Report at 467;
  Capitol Attack Senate Report at 26. It was not until 3:42 a.m. on January 7th that Congress
  completed its business and certified the election. Id.

          340. The fallout from the attack was considerable. Some police officers lost their lives,
  others suffered broken bones, contusions, lacerations, and psychological trauma. All told, the
  attack led to seven deaths, injuries to more than one hundred police officers, and more than $2.7
  billion in property damage and losses. 188




  186
     U.S. Gov’t Accountability Off., Capitol Attack: The Capitol Police Need Clearer Emergency
  Procedures and a Comprehensive Security Risk Assessment Process, GAO-22-105001, at 20,
  Feb. 2022, https://www.gao.gov/assets/gao-22-105001.pdf.
  187
     Id. at 21; U.S. Gov’t Accountability Off., Capitol Attack: Additional Actions Needed to Better
  Prepare Capitol Police Officers for Violent Demonstrations, GAO-22-104829, at 26–33, Mar.
  2022, https://www.gao.gov/assets/gao-22-104829.pdf.
  188
     U.S. Gov’t Accountability Off., Capitol Attack: Federal Agencies Identified Some Threats,
  But Did Not Fully Process And Share Information Prior to January 6, 2021, GAO-23-106625, at
  1, Feb. 2023, https://www.gao.gov/assets/gao-23-106625.pdf.

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                     SECTION 3 OF THE FOURTEENTH AMENDMENT

         341. The Civil War and Reconstruction marked America’s second founding. The
  Constitution’s Reconstruction Amendments abolished slavery, restored the Union, and “forged a
  new constitutional relationship between individual Americans and the national state.” Eric Foner,
  The Second Founding: How the Civil War and Reconstruction Remade the Constitution, Preface
  (2019). Section 3 of the Fourteenth Amendment played a key role in that transformation by
  barring from public office ex-Confederates and future officials who violated an oath to support
  the Constitution by engaging in insurrection or rebellion against it.

         342.   Section 3, also known as the Disqualification Clause, provides:

         No person shall be a Senator or Representative in Congress, or elector of President
         and Vice-President, or hold any office, civil or military, under the United States,
         or under any State, who, having previously taken an oath, as a member of
         Congress, or as an officer of the United States, or as a member of any State
         legislature, or as an executive or judicial officer of any State, to support the
         Constitution of the United States, shall have engaged in insurrection or
         rebellion against the same, or given aid or comfort to the enemies thereof. But
         Congress may by a vote of two-thirds of each House, remove such disability.

  U.S. Const. amend. XIV § 3 (emphasis added).

          343. Section 3 imposes a qualification for holding federal or state office. See Cawthorn
  v. Amalfi, 35 F.4th 245, 265 (4th Cir. 2022) (Wynn, J., concurring); id. at 275 (Richardson,
  concurring in the judgment); Griffin, 2022 WL 4295619, at *16; Greene v. Raffensperger, 599 F.
  Supp. 3d 1283, 1316 (N.D. Ga. 2022); Cong. Globe, 39th Cong., 1st Sess. 3036 (June 8, 1866)
  (statement of Sen. Henderson). It is a constitutional limitation on who can run for President, no
  less than the requirements that the President be at least 35 years of age, a natural-born U.S.
  citizen, a U.S. resident for at least 14 years, and one who has not served two prior presidential
  terms. See U.S. Const. art. II, § 1, amend. XXII.

          344. As with other constitutional qualifications, Section 3 challenges can be
  adjudicated through civil suits and administrative proceedings. See, e.g., Griffin, 2022 WL
  4295619 (quo warranto); Louisiana ex rel. Sandlin v. Watkins, 21 La. Ann. 631 (La. 1869) (quo
  warranto); Worthy, 63 N.C. 199 (mandamus); In re Tate, 63 N.C. 308, 309 (1869) (mandamus);
  Rowan v. Greene, No. 2222582-OSAH-SECSTATE-CE-57-Beaudrot (Ga. Off Admin. Hr’gs
  May 6, 2022), https://perma.cc/M93H-LA7X (administrative proceeding); see also Litigation of
  Criminal Prosecutions for Treason, Insurrection, and Seditious Conspiracy, 179 Am. Jur. Trials
  435, § 17 (2023) (Section 3 disqualification “can be asserted through a variety of channels,”
  including “state statutes permitting voters to challenge candidate qualifications.”); Baude &
  Paulsen, supra note 1, at 22–23 (Section 3 “must be followed … by anyone whose job it is to

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  figure out whether someone is legally qualified for office,” including “state elections officials”
  and “state and federal judges deciding cases where such legal rules apply”).

          345. Section 3 can be enforced against presidential candidates in state courts under
  state ballot access laws. As then-Judge Neil Gorsuch wrote for the Tenth Circuit, “a state’s
  legitimate interest in protecting the integrity and practical functioning of the political process
  permits it to exclude from the ballot candidates who are constitutionally prohibited from
  assuming office.” Hassan v. Colorado, 495 F. App’x 947, 948 (10th Cir. 2012) (upholding
  exclusion of constitutionally ineligible presidential candidate from the ballot); Lindsay v. Bowen,
  750 F.3d 1061 (9th Cir. 2014) (same); see also Elliott v. Cruz, 137 A.3d 646 (Pa. Commw. Ct.
  2016) (adjudicating the merits of challenge to presidential primary candidate Ted Cruz’s
  constitutional eligibility), aff’d, 635 Pa. 212 (2016); Ankeny v. Governor of Indiana, 916 N.E.2d
  678 (Ind. Ct. App. 2009) (same, in suit challenging constitutional eligibility of Barack Obama
  and John McCain). Indeed,“the State[s] ha[ve] obviously a great interest” in enforcing Section 3
  “and a clear right to do” so. Sandlin, 21 La. Ann. at 632.

          346. No federal statute is required to activate Section 3, just as no federal statute is
  required to activate other sections of the Fourteenth Amendment or other constitutional
  qualifications for office. Section 3 is a constitutional command with independent legal force,
  dictating that “[n]o person shall” hold public office if the disqualifying conditions are met. U.S.
  Const. amend. XIV § 3 (emphasis added); see also id. art. II § 1 (using similar “No Person …
  shall” language in imposing other qualifications for the presidency); id. amend. XXII (“No
  person shall be elected to the office of the President more than twice…”); Baude & Paulsen,
  supra, at 18 (Section 3 “does not grant a power to Congress (or any other body) to enact or
  effectuate a rule of disqualification”; it instead “directly adopts a constitutional rule of
  disqualification from office”).

          347. Where, as here, state law authorizes lawsuits challenging presidential candidates’
  constitutional eligibility, state courts are constitutionally obligated to adjudicate such claims. See
  U.S. Const. art. VI cl. 2 (“This Constitution … shall be the supreme Law of the Land; and the
  Judges in every State shall be bound thereby.”) (emphasis added); see also id. art. VI cl. 3
  (“[A]ll … judicial Officers … of the several States, shall be bound by Oath or Affirmation, to
  support this Constitution.”).

          348. Modern and historical precedent reinforce that state courts do not need Congress’s
  permission to enforce the Fourteenth Amendment. See, e.g., Griffin, 2022 WL 4295619
  (adjudicating Section 3 challenge under state law); Worthy, 63 N.C. 199 (same); In re Tate, 63
  N.C. 308 (same); Town of Dillon v. Yacht Club Condos. Home Owners Ass’n, 325 P.3d 1032
  (Colo. 2014) (adjudicating Fourteenth Amendment Due Process Clause claim brought directly
  under the Constitution); San Isabel Elec. Ass’n v. Pub. Utils. Comm’n, 487 P.3d 665 (Colo.
  2021) (same); Alliance for Retired Americans v. Sec’y of State, 240 A.3d 45 (Me. 2020) (same);
  see also Rowan, No. 2222582-OSAH-SECSTATE-CE-57-Beaudrot (adjudicating Section 3

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  challenge in state administrative proceeding). Leading scholars have confirmed this conclusion.
  E.g., Baude & Paulsen, supra note 1, at 17–49.

          349. Section 3’s text and precedent also make clear that a criminal conviction for
  “insurrection” or any other offense is not necessary for a person to be adjudged disqualified. See,
  e.g., Griffin, 2022 WL 4295619, at *16; Worthy, 63 N.C. 199; Sandlin, 21 La. Ann. 631; In re
  Tate, 63 N.C. 308. 189

          350. The standard of proof in civil disqualification suits is preponderance of the
  evidence. See, e.g., Griffin, 2022 WL 4295619, at *24; see also C.R.S. § 1-4-1204(4). This
  standard reflects that Section 3 merely “fix[es] a qualification for office” and is not a
  “punishment mean[t] to take away life, liberty, or property.” Cong. Globe, 39th Cong., 1st Sess.
  3036 (June 8, 1866) (statement of Sen. Henderson); see also Sandlin, 21 La. Ann. at 632-33
  (Section 3 suit was brought “not to inflict punishment or to impose penalties or disabilities,” but
  “to inquire legally into [defendant’s] right to hold … office”).

        FORMER PRESIDENT TRUMP IS DISQUALIFIED UNDER SECTION 3 OF THE
                          FOURTEENTH AMENDMENT

          351. Respondent Trump is disqualified under Section 3 because: (1) he took an
  “oath … as an officer of the United States … to support the Constitution of the United States” on
  January 20, 2017; (2) the January 6, 2021 mob attack on the U.S. Capitol and the preceding mob
  mobilization and incitement constituted an “insurrection” against the Constitution of the United
  States; and (3) Trump “engaged in” that insurrection.

          352. It follows that Trump is constitutionally ineligible to “hold any office, civil or
  military, under the United States,” including the Office of the President.




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     Accord Baude & Paulsen, supra note 1, at 68; Luttig & Tribe, supra note 1; Calabresi, supra
  note 1; Litigation of Criminal Prosecutions for Treason, Insurrection, and Seditious Conspiracy,
  179 Am. Jur. Trials 435, § 17 (2023); see also The Precedent for 14th Amendment
  Disqualification, Citizens for Responsibility and Ethics in Washington, July 7, 2023,
  https://www.citizensforethics.org/reports-investigations/crew-reports/past-14th-amendment-
  disqualifications/.

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        I.   Former President Trump took an “oath … as an officer of the United States …
             to support the Constitution of the United States” on January 20, 2017.

          353. On January 20, 2017, Trump took the Presidential Oath of Office, swearing to
  “faithfully execute the Office of President of the United States,” and “to the best of [his] Ability,
  preserve, protect and defend the Constitution of the United States.” U.S. Const. art. II § 1, cl. 8.

         354. Taking this oath made Trump subject to disqualification because the President of
  the United States is an “officer of the United States” within the meaning of Section 3.

          355. The conclusion that the President is an officer of the United States follows from
  the Constitution’s plain text. The Constitution refers to the President holding an “Office” 25
  times, including in the Oath of Office Clause. See U.S. Const. art. I, § 3, art. II, §§ 1, 4, amends.
  XII, XXII, XV. Because that “Office” is within the federal executive branch, it is necessarily an
  office “of the United States.” And one who holds an “office” is an “officer.”

          356. The Constitution’s plain text is bolstered by the original public meaning of the
  phrase “officer of the United States” and Section 3’s legislative history, 190 as well as two
  opinions of U.S. Attorney General Henry Stanbery interpreting federal statutes enforcing Section
  3 prior to its ratification. See The Reconstruction Acts, 12 U.S. Op. Att’y Gen. 182, 203 (1867)
  (construing “officers of the United States” broadly to cover “without limitation” anyone who
  “held any office, civil or military, under the United States, and has taken an official oath to
  support the Constitution of the United States”); The Reconstruction Acts, 12 U.S. Op. Atty. Gen.
  141, 158 (1867) (“Here the term officer is used in its most general sense, and without any
  qualification. … [T]he reason is apparent for including all officers of the United States, and for
  making the disfranchisement more general and comprehensive as to them, standing, as they do,
  in … direct relation and trust to the United States…”).

          357. Trump himself has conceded in court filings that “[t]he President of the United
  States” is an “officer … of the United States.” President Donald J. Trump’s Mem. of Law. in
  Opp. to Mot. to Remand, People v. Trump, 1:23-cv-3773-AKH, ECF No. 34, at 2–10 (S.D.N.Y.,
  filed June 15, 2023); see also K&D LLC v. Trump Old Post Off. LLC, 951 F.3d 503 (D.C. Cir.
  2020).
  190
     See John Vlahoplus, Insurrection, Disqualification, and the Presidency, 13 Brit. J. Am. Legal
  Stud. (forthcoming 2023), at 13–22 https://ssrn.com/abstract=4440157; Mark A. Graber,
  Disqualification From Office: Donald Trump v. the 39th Congress, Lawfare, Feb. 23, 2023,
  https://www.lawfaremedia.org/article/disqualification-office-donald-trump-v-39th-congress;
  Gerard N. Magliocca, Background as Foreground: Section Three of the Fourteenth Amendment
  and January 6th, J. Con. L., Vol. 25:5, at n.48, Feb., 2023,
  https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4306094; Baude & Paulsen, supra note 1, at
  107–11.

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         358. Thus, Trump became subject to disqualification under Section 3 when he took an
  “oath … to support the Constitution of the United States” upon assuming the Office of the
  President.

      II.    The January 6, 2021 mob attack on the U.S. Capitol and surrounding events
             constituted an “insurrection” against the U.S. Constitution.

                 A. It is a matter of public record that January 6th was an “insurrection.”

          359. That an event constitutes an “insurrection” can be proven by widespread
  governmental recognition alone. A Civil War era jury charge by Supreme Court Justice Stephen
  Field, sitting as a circuit justice, explained that the “existence of the [Confederate] rebellion
  [was] a matter of public notoriety, and like matters of general and public concern to the whole
  country, may be taken notice of by judges and juries.” United States v. Greathouse, 26 F. Cas.
  18, 23 (C.C.N.D. Cal. 1863). Justice Field explained that “public documents” such as
  “proclamations of the president” and “acts of congress” were “sufficient proof” of the
  Confederate rebellion’s existence for purposes of charges under a statute criminalizing
  participation in “rebellion or insurrection.” Id.

          360. The existence of the January 6th insurrection is similarly a “matter of public
  notoriety” supported by bipartisan acts of Congress, congressional reports, presidential
  statements, judicial decisions, and other “public documents.”

          361. All three branches of the federal government have referred to the January 6th
  attack as an “insurrection” and the participants as “insurrectionists,” including bipartisan
  majorities of both Houses of Congress during Trump’s impeachment and in legislation honoring




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  police officers who defended the Capitol, 191 President Biden, 192 the Department of Justice under
  former President Trump, 193 and more than a dozen federal courts. 194




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     See 167 Cong. Rec. H191 (daily ed. Jan. 13, 2021); 167 Cong. Rec. S733 (daily ed. Feb. 13,
  2021); S. Con. Res. 14, 117th Congress (2021-2022); H. Res. 503, 117th Cong., 1st Sess. (2021-
  2022); S. 35, 117th Cong. (2021); H.R. 3325, 117th Cong. (2021-2022).
  192
      E.g., Remarks by President Biden at Presentation of the Presidential Citizens Medal, Jan. 6,
  2023, https://www.whitehouse.gov/briefing-room/speeches-remarks/2023/01/06/remarks-by-
  president-biden-at-presentation-of-the-presidential-citizens-medal/; Statement by President Joe
  Biden on the Six-Month Anniversary of the January 6th Insurrection on the Capitol, July 6, 2021,
  https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/06/statement-by-
  president-joe-biden-on-the-six-month-anniversary-of-the-january-6th-insurrection-on-the-
  capitol/; Letter from Dana A. Remus, Counsel to the President, to David Ferriero, Archivist of
  the United States, Oct. 8, 2021, https://www.whitehouse.gov/briefing-room/statements-
  releases/2021/10/12/letter-from-dana-a-remus-counsel-to-the-president-to-david-ferriero-
  archivist-of-the-united-states-dated-october-8-2021/; Remarks by President Biden at Signing of
  H.R. 3325, Awarding Congressional Gold Medals to Those Who Protected the U.S. Capitol on
  January 6, Aug. 5, 2021, https://www.whitehouse.gov/briefing-room/speeches-
  remarks/2021/08/05/remarks-by-president-biden-at-signing-of-h-r-3325-awarding-congressional-
  gold-medals-to-those-who-protected-the-u-s-capitol-on-january-6/; Remarks by President Biden
  on Protecting the Sacred, Constitutional Right to Vote, July 13, 2021,
  https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/07/13/remarks-by-president-
  biden-on-protecting-the-sacred-constitutional-right-to-vote/.
  193
     United States v. Chansley, No. 21-cr-00003, ECF No. 5 (D. Ariz. filed Jan. 14, 2021),
  https://extremism.gwu.edu/sites/g/files/zaxdzs5746/files/Jacob%20Chansley%20Detention%20
  Memo.pdf.
  194
     E.g., United States v. Munchel, 991 F.3d 1273, 1281 (D.C. Cir. 2021); United States v.
  DeGrave, 539 F. Supp. 3d 184 (D.D.C. 2021); Noem v. Haaland, 542 F. Supp. 3d 898, 906
  (D.S.D. 2021); Alsaada v. City of Columbus, 536 F. Supp. 3d 216, 274 (S.D. Ohio 2021); United
  States v. Brogan, 2021 WL 2313008, at *2 (E.D.N.Y. June 7, 2021); United States v. Brockhoff,
  590 F. Supp. 3d 295, 298-99 (D.D.C. 2022); United States v. Hunt, 573 F. Supp. 3d 779, 807
  (E.D.N.Y. 2021); United States v. Puma, 596 F. Supp. 3d 90, 94 (D.D.C. 2022); O'Rourke v.
  Dominion Voting Sys. Inc., 552 F. Supp. 3d 1168, 1199 (D. Colo. 2021); United States v.
  Randolph, 536 F. Supp. 3d 128, 132 (E.D. Ky. 2021); United States v. Little, 590 F. Supp. 3d
  340, 342 (D.D.C. 2022); O'Handley v. Padilla, 579 F.Supp.3d 1163, 1172 (N.D. Cal. 2022);
  Amalgamated Transit Union Local 85 v. Port Auth. of Allegheny Cnty., 2021 WL 719671, at *2
  (W.D. Pa. Feb. 24, 2021).

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          362. The Justice Department has charged more than 1,100 participants in the January
  6th attack from nearly all 50 states and the District of Columbia. 195 The government has secured
  convictions or guilty pleas of more than a dozen Oath Keepers and Proud Boys for seditious
  conspiracy to oppose by force the lawful transfer of power, 196 charges which are similar to the
  definition of an insurrection. See infra Part II.B; Litigation of Criminal Prosecutions for Treason,
  Insurrection, and Seditious Conspiracy, 179 Am. Jur. Trials 435 (2023).

          363. Trump’s own impeachment counsel admitted “everyone agrees” there was “‘a
  violent insurrection of the Capitol” on January 6th. Cong. Rec., 117th Cong., Vol. 167, No. 28,
  S717, S733 (Feb. 13, 2021) (statement of Michael van der Veen).

           364. The January 6th Select Committee—a bipartisan congressional committee
  established to “investigate and report upon the facts, circumstances, and causes relating to the
  January 6, 2021, domestic terrorist attack upon the United States Capitol Complex … and …
  interference with the peaceful transfer of power,” H. Res. 503, 117th Cong. § 3(1)—concluded in
  its final report that the January 6th attack was an insurrection within the meaning of Section 3 of
  the Fourteenth Amendment. See Jan. 6th Report at 690.

           365. The Select Committee further recommended that “those who took an oath to
  protect and defend the Constitution and then, on January 6th, engaged in insurrection can
  appropriately be disqualified and barred from holding government office—whether federal or
  state, civilian or military—absent at least two-thirds of Congress acting to remove the disability
  pursuant to Section 3 of the Fourteenth Amendment.” Id.

          366. The only court to consider the specific question of whether the January 6th attack
  was an “insurrection” within the meaning of the Fourteenth Amendment—the New Mexico state
  court in Griffin—held that it was. See Griffin, 2022 WL 4295619, at **17–19 (“The Court
  concludes that the January 6, 2021 attack on the United States Capitol and the surrounding

  195
    31 Months Since the Jan. 6 Attack on the Capitol, U.S. Attorney’s Office for the Dist. of
  Columbia, Aug. 6, 2023, https://www.justice.gov/usao-dc/31-months-jan-6-attack-capitol.
  196
      See Leader of Oath Keepers and Oath Keepers Member Found Guilty of Seditious
  Conspiracy and Other Charges Related to U.S. Capitol Breach, U.S. Dep’t of Justice, Nov. 29,
  2022, https://www.justice.gov/opa/pr/leader-oath-keepers-and-oath-keepers-member-found-
  guilty-seditious-conspiracy-and-other; Four Oath Keepers Found Guilty of Seditious Conspiracy
  Related to U.S. Capitol Breach, U.S. Dep’t of Justice, Jan. 23, 2023,
  https://www.justice.gov/opa/pr/four-oath-keepers-found-guilty-seditious-conspiracy-related-us-
  capitol-breach; Jury Convicts Four Leaders of the Proud Boys of Seditious Conspiracy Related
  to U.S. Capitol Breach, U.S. Attorney’s Office for the Dist. of Columbia, May 4, 2023,
  https://www.justice.gov/usao-dc/pr/jury-convicts-four-leaders-proud-boys-seditious-conspiracy-
  related-us-capitol-breach.

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  planning, mobilization, and incitement constituted an ‘insurrection’ within the meaning of
  Section Three of the Fourteenth Amendment.”).

          367. In so holding, the Griffin court explained that the attack involved thousands of
  people using “violence, force, and intimidation by numbers” to stop the constitutionally
  mandated certification of the 2020 presidential election; that the attack “led to seven deaths,
  injuries to more than one hundred police officers, and millions of dollars in damage to the
  Capitol complex”; and that the “mob succeeded in delaying the constitutionally mandated
  counting of electoral votes by several hours and, for the first time in our Nation’s history,
  disrupted the peaceful transfer of presidential power.” Id. at *8, *18.

         368. Leading constitutional scholars from across the ideological spectrum agree that
  the January 6th attack and surrounding events were an insurrection within the meaning of
  Section 3. See, e.g., Baude & Paulsen, supra note 1, at 112–16 & n.412 (so concluding and
  compiling “public authorities” and statements of “other scholars” who “agree[] that January 6th
  was an insurrection”); Luttig & Tribe, supra note 1; Calabresi, supra note 1.

                 B. The January 6th attack and preceding mob mobilization and incitement
                    constituted an “insurrection” against the Constitution within the meaning
                    of Section 3 of the Fourteenth Amendment.

          369. The phrase “insurrection … against the [Constitution],” as used in Section 3 of the
  Fourteenth Amendment, refers to (1) an assemblage of persons, (2) acting with the purpose to
  oppose the continuing authority of the United States Constitution, (3) by force. These elements
  derive from Section 3’s text and original public meaning, historical context, case law, and
  leading dictionary definitions of “insurrection.” 197

         370. Judges, members of Congress, presidents, and legal experts in the 19th century
  described as insurrections events such as the Whiskey Insurrection (1794) and Fries’ Insurrection
  197
      See, e.g., In re Charge to Grand Jury, 62 F. 828, 830 (N.D. Ill. 1894) (“Insurrection is a rising
  against civil or political authority” by “a number of persons” to “resist the civil or political power
  of the United States.”); Griffin, 2022 WL 4295619, at *1 (citing foregoing definition in Section 3
  case); Webster’s Dictionary, “Insurrection” (1828),
  https://books.google.com/books?id=699BAQAAMAAJ&newbks=1&newbks_redir=0&pg=PT4
  74#v=onepage&q&f=false (“A rising against civil or political authority.”); Black’s Law
  Dictionary, “Insurrection” (1891),
  https://books.google.com/books?id=jLtDAQAAMAAJ&newbks=1&newbks_redir=0&dq=black'
  s%20law%20dictionary&pg=PA633#v=onepage&q&f=false (“combined resistance to … lawful
  authority … with intent to the denial thereof”); Merriam-Webster Dictionary, “Insurrection,”
  (2023), https://www.merriam-webster.com/dictionary/insurrection (“[A]n act or instance of
  revolting against civil authority or an established government.”).

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  (1799), which were “anti-tax revolt[s]” that involved “concerted acts of forcible interference
  with federal officials’ ability to perform their duties under law.” Baude & Paulsen, supra note 1,
  at 88–89; see also Case of Fries, 9 F. Cas. 924 (C.C.D. Pa. 1800) (Chase, J.); Griffin, 2022 WL
  4295619, at *17. These pre-Civil War insurrections were referenced in the legislative debates
  over Section 3. E.g., Cong. Globe, 39th Cong. 1st Sess. 2534 (May 10, 1866) (statement of Sen.
  Eckley) (discussing the “whiskey insurrection”). They provide “informative context for
  understanding ‘insurrection’” as used in Section 3. Baude & Paulsen, supra note 1, at 88.

          371. The text ultimately adopted in the Fourteenth Amendment refers not just to any
  insurrection, but an “insurrection … against the same.” U.S. Const. amend. XIV § 3. The “same”
  refers back to the immediately preceding clause—i.e., “the Constitution of the United States.”
  Id.; see also Luttig & Tribe, supra note 1. This choice of language reflects a core concern
  animating Section 3: constitutional loyalty.

         372. Section 3’s framers aimed to disqualify those who violated an oath to support the
  U.S. Constitution by engaging in efforts to forcibly oppose the federal government’s authority to
  be and function as our government under that Constitution. Such conduct is fundamentally
  disloyal to the United States and poses precisely the type of existential threat that warrants
  exclusion from future access to political power. As U.S. Senator Waitman Willey (W. Va.), a
  leading Section 3 proponent, explained:

         [Section 3] is a measure of self-defense. … [L]ooking to the future peace and
         security of this country, I ask whether it would be just or right to allow men who
         have thus proven themselves faithless to be again intrusted with the political power
         of the State. I think not; and upon that ground I think this exclusion is wise … [W]e
         would be faithless to our trust if we allowed the interests of the country and its
         future peace and welfare to be again disturbed by men who have shown themselves
         faithless in the past … [through] their insane efforts to destroy this Government. …
         Shall we again trust men of this character, who, while acting under the obligation
         of the oath to support the Constitution of the United States, thus betrayed their
         country and betrayed their trust?

  Cong. Globe, 39th Cong., 1st Sess. 2918 (May 31, 1866); see also id. at 2897–98 (statement of
  Sen. Hendricks) (“[T]he theory of” Section 3 is “that persons who have violated the oath to
  support the Constitution of the United States ought not to be allowed to hold any
  office.”); id. at 3010 (statement of Sen. Davis) (noting “the Constitution” itself “had been
  attacked” during the Civil War); id. at 2916 (statement of Sen. Grimes) (Section 3 “is intended as
  a prevention against the future commission of offenses, the presumption being … that the man
  who has once violated his oath will be more liable to violate his fealty to the Government in the
  future”).




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          373. A similar understanding of “insurrection” is reflected in President Lincoln’s
  Proclamations during the Civil War, which consistently expressed concern with the “insurrection
  against the United States,” Proclamation 98, Suspension of Commercial Trade with Certain
  States in Rebellion (April 2, 1863), and its “endangering the existence of the Constitution and
  Government of the United States,” Proclamation 113, Declaring Martial Law and a Further
  Suspension of the Writ of Habeas Corpus in Kentucky (July 5, 1864); see also, e.g.,
  Proclamation 86, Prohibiting Commercial Trade with States in Rebellion (Aug. 16, 1861)
  (describing “an insurrection against the laws, Constitution, and Government of the United
  States”); Proclamation 94, Suspending the Writ of Habeas Corpus (Sept. 24, 1862) (describing
  “disloyal persons” aiding “insurrection” and subjecting to martial law “anyone engaged in “any
  disloyal practice . . . against the authority of the United States”).

           374. To constitute an insurrection, an uprising’s “dimensions” need not “be so
  portentous as to insure probable success.” In re Charge to Grand Jury, 62 F. at 830. Nor must it
  rise to the level of civil war or secession from the Union. See Griffin, 2022 WL 4295619, at *17.
  “Insurrection against a government may or may not culminate in an organized rebellion, but a
  civil war always begins by insurrection against the lawful authority of the Government.” Prize
  Cases, 67 U.S. 635, 666 (1862). Prohibitions on insurrectionist activity are precautionary: they
  are “designed to protect the government and its authority against direct attack.” In re Charge to
  Grand Jury, 62 F. at 830.

          375. While “[i]t is not necessary that there should be bloodshed,” id. at 829, American
  insurrections have typically involved violence. See, e.g., Proclamation 15, Warning All Persons
  on Lake Champlain and Adjacent County to Cease Violence and Disperse (April 19, 1808);
  Proclamation, Authorizing Military Intervention to End Violence and Obstruction of Justice in
  Protest of Liquor Laws in Pennsylvania (Sept. 26, 1794).

          376. The overpowering of ordinary law enforcement is likewise a strong indicator
  (though not a requirement) of insurrectionist activity. See In re Charge to Grand Jury, 62 F. at
  830 (“When men gather to resist the civil or political power of the United States … and are in
  such force that the civil authorities are inadequate to put them down, and a considerable military
  force is needed to accomplish that result, they become insurgents.”). If the uprising is “so
  formidable as for the time being to defy the authority of the United States,” id., then this
  reinforces it is an insurrection.

          377. Under these standards, the January 6th mob attack on the U.S. Capitol, as well as
  the preceding mob mobilization and incitement, plainly qualifies as a constitutional insurrection.

          378. As detailed supra, the January 6th attack was the culmination of a months-long
  effort by President Trump and his allies to block the certification of the 2020 election results and
  prevent the duly elected government from taking office. Their insurrectionary purpose was self-
  evident: they called their movement “Stop the Steal” based on the lie that the 2020 election was

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  stolen and that the lawful transfer of power, as mandated by the Constitution, needed to be
  stopped.

         379. The Stop the Steal movement successfully inflamed and mobilized tens of
  thousands of Trump supporters from across the country to come to Washington, D.C., many of
  whom formed a violent mob to pressure, intimidate, and coerce by force Vice President Pence
  and Congress to unlawfully refuse to certify the election results.

          380. The mob that arrived at the Capitol on January 6th was an assemblage of persons
  who engaged in actual violence and made threats of imminent violence. The mob numbered in
  the thousands. Many came prepared for battle, adorned in body armor and tactical gear. Some
  came to Washington with specific plans to assault and kill elected officials. Members of the mob
  brought, improvised, and used many weapons, including guns, knives, tasers, cattle prods, brass
  knuckles, and pepper spray. They brutally attacked and injured police officers, and called for the
  murder of Vice President Pence and other officials working to certify the election results inside
  the Capitol building.

          381. The mob assembled gallows on the Capitol grounds as an intimidatory display.
  Later, as they stormed the Capitol building, they chanted, “Hang Mike Pence!”




        382. In another act of intimidation, members of the mob charged toward the office of
  Speaker of the House Nancy Pelosi, chanting menacingly, “Nancy! Nancy! Nancy!”


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          383. The mob was there to oppose the government’s authority to carry out the transfer
  of presidential power under the Constitution and federal law—specifically, Article II, Section 1
  of the Constitution, the Twelfth Amendment, and the Electoral Count Act. Through their chants,
  flags, banners, and clothing, the mob made clear that they went to the Capitol on behalf of
  President Trump to “Stop the Steal”; that is, to obstruct Congress’s certification of the election
  results and unlawfully keep Trump in office.

          384. The mob sought to oppose by force the federal government’s sovereign authority
  and coerce elected officials to bend to their will. As they illegally breached the Capitol grounds
  and building, the mob chanted, “Our house!”—demonstrating their denial of the government’s
  authority and their belief they had a right to disrupt the election certification.

           385. The mob made overt references to rebellion, revolution, and war. Many carried
  battle flags from the Confederate Army and Revolutionary War, including within the Capitol
  building. Others dressed as Continental Army soldiers. They erupted in chants of “1776!” and
  widely believed January 6th was their “1776 moment.”

           386. The mob ultimately achieved what even the Confederacy never did during the
  Civil War: the violent seizure of the United States Capitol and disruption of the peaceful transfer
  of power. They forced the Vice President and Members of Congress to flee for their lives and
  halt their constitutional duties until the mob’s leader, President Trump, ordered them to leave
  after it appeared they would not achieve their goal of stopping the certification.

           387. The attack disrupted Congress’s election certification proceedings for around six
  hours. The proceedings could not resume until every member of the mob was removed from the
  restricted area. Thus, the attack was “so formidable” that it did in fact “defy the authority of the
  United States” for “the time being.” In re Charge to Grand Jury, 62 F. at 830.

          388. The mob overpowered ordinary police forces. The thousands in the mob
  outnumbered police officers by about 50 or 75 to 1. Griffin, 2022 WL 4295619, at *8. The U.S.
  Capitol Police and D.C. Metropolitan Police Department were overwhelmed despite fully
  activating their personnel for January 6th. Jan. 6th Report at 700–01. To clear the mob and
  regain control of the Capitol, the Capitol Police had to call in more than 2,000 reinforcements
  from 19 federal, state, and local agencies, and used chemical spray and munitions, flash bangs,
  tactical teams with firearms, riot shields, and batons to fight back the mob.

          389. The attack “marked the most significant assault on the Capitol since the War of
  1812.” Trump, 20 F.4th at 18–19. “The building was desecrated, blood was shed, and several
  individuals lost their lives.” Id. at 19. “In the aftermath, workers labored to sweep up broken
  glass, wipe away blood, and clean feces off the walls.” Id. More than one hundred law




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  enforcement officers were injured, a Capitol Police officer who had been attacked died the next
  day, and four other officers died by suicide in the ensuing months.198

           390. The mob’s attack posed a dangerous threat to the federal government’s continuing
  authority and operations. As the incumbent President of the United States has stated, the
  “insurrectionists[’] … violent and deadly assault on the people’s house, on the people’s
  representatives, and on the Capitol police sworn to protect them … posed an existential crisis and
  a test of whether our democracy could survive,” 199 and it marked “the most serious attack on the
  operations of the Federal Government since the Civil War.” 200 The U.S. Senate Republican
  Leader has similarly stated that “January 6th … was a violent insurrection for the purpose of
  trying to prevent the peaceful transfer of power after a legitimately certified election, from one
  administration to the next. That’s what it was.” 201 If the insurrection prevailed, “it would have
  permanently ended the peaceful transition of power, undermining American democracy and the
  Constitution.” Eastman, 594 F. Supp. 3d at 1198.

         391. Thus, the January 6th mob attack on the U.S. Capitol was (1) an assemblage of
  persons, (2) acting with the purpose to oppose the continuing authority of the United States
  Constitution, (3) by force. The attack, as well as the preceding mob mobilization and incitement
  that made it possible, constituted an “insurrection” within the meaning of the Fourteenth
  Amendment.




  198
     Chris Cameron, These Are the People Who Died in Connection With the Capitol Riot, New
  York Times, Jan. 5, 2022, https://www.nytimes.com/2022/01/05/us/politics/jan-6-capitol-
  deaths.html.
  199
      Statement by President Joe Biden on the Six-Month Anniversary of the January 6th
  Insurrection on the Capitol, July 6, 2021, https://www.whitehouse.gov/briefing-room/statements-
  releases/2021/07/06/statement-by-president-joe-biden-on-the-six-month-anniversary-of-the-
  january-6th-insurrection-on-the-capitol/.
  200
      Letter from Dana A. Remus, Counsel to the President, to David Ferriero, Archivist of the
  United States, Oct. 8, 2021, https://www.whitehouse.gov/briefing-room/statements-
  releases/2021/10/12/letter-from-dana-a-remus-counsel-to-the-president-to-david-ferriero-
  archivist-of-the-united-states-dated-october-8-2021/.
  201
     Sahil Kapur, McConnell calls Jan. 6 a ‘violent insurrection,’ breaking with RNC, NBC News,
  Feb. 8, 2022, https://www.nbcnews.com/politics/congress/mcconnell-calls-jan-6-violent-
  insurrection-breaking-rnc-rcna15404.

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        III.   Former President Trump “engaged in” the January 6th insurrection.

           392. President Trump was indisputably the leader of the January 6th mob. Without his
  false claims of election fraud, coercive tactics, inflammatory rhetoric, mob mobilization,
  promotion of political violence, instructions to march on the Capitol, and decision to pour fuel on
  the fire rather than tell the mob to disperse, the attack on the Capitol would not have happened.

         393. Federal authorities have repeatedly attributed responsibility to Trump for the
  January 6th insurrection, including the following:

               a. The “overriding … conclusion” of the bipartisan January 6th Select Committee,
                  following its 18-month investigation, was that “the central cause of January 6th
                  was one man, former President Donald Trump, whom many others followed.
                  None of the events of January 6th would have happened without him.” Jan. 6th
                  Report at 8.

               b. The U.S. Senate Committee on Homeland Security and Governmental Affairs
                  similarly concluded that “former President Trump was the primary cause of the
                  [January 6th] insurrection.” 202

               c. A bipartisan majority of the House of Representatives impeached Trump for
                  “incitement of insurrection,” and a bipartisan majority of the Senate voted to
                  convict him, with several Senators voting against conviction solely “on the theory
                  that the Senate lacked jurisdiction to try a former president.” 203

               d. Numerous federal judges have cast blame on Trump for instigating the
                  insurrection. 204


  202
      Staff Rep. of S. Comm. on Homeland Sec. & Govt’l Affs., Planned in Plain Sight: A Review
  of the Intelligence Failures in Advance of January 6th, 2021, 118th Cong., at 104, June 2023,
  https://www.hsgac.senate.gov/wp-content/uploads/230627_HSGAC-Majority-Report_Jan-6-
  Intel.pdf.
  203
     Ryan Goodman and Josh Asabor, In Their Own Words: The 43 Republicans’ Explanations of
  Their Votes Not to Convict Trump in Impeachment Trial, Just Security, Feb. 15, 2021,
  https://www.justsecurity.org/74725/in-their-own-words-the-43-republicans-explanations-of-
  their-votes-not-to-convict-trump-in-impeachment-trial/.
  204
     Nine different federal judges have blamed Trump for January 6th, Citizens for Responsibility
  and Ethics in Washington, May 18, 2023, https://www.citizensforethics.org/reports-
  investigations/crew-investigations/nine-different-federal-judges-have-blamed-trump-for-january-
  6th/ (collecting cases).

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             e. Although Section 3 disqualification does not require a criminal charge or
                conviction for any offense, a federal grand jury and a Georgia grand jury have
                indicted Trump on a total of 17 felony charges arising out of his efforts to obstruct
                the lawful certification of the 2020 election results. See Trump Federal D.C.
                Indictment; Trump Georgia Indictment.

        394. Trump’s conduct easily qualifies as “engag[ing]” in insurrection within the
  meaning of Section 3 of the Fourteenth Amendment.

           395. A person “engage[s]” in an insurrection by “[v]oluntarily aiding the
  [insurrection], by personal service, or by contributions, other than charitable, of anything that [is]
  useful or necessary” to the insurrectionists’ cause. Worthy, 63 N.C. at 203; see also United States
  v. Powell, 27 F. Cas. 605, 607 (C.C.D.N.C. 1871) (defining “engage” as a “a voluntary effort to
  assist the Insurrection … and to bring it to a successful termination” from the insurrectionists’
  perspective); Griffin, 2022 WL 4295619, at *19 (adopting Worthy-Powell standard for
  engagement); Rowan, No. 2222582-OSAH-SECSTATE-CE-57-Beaudrot, at 13–14 (same).

          396. A person “‘engage[s] in’ insurrection whenever they [are] ‘leagued’ with
  insurrectionists—either by acting in concert with others knowing that the group intended to
  achieve its purpose in part by violence … or by performing an ‘overt act’ knowing that act would
  ‘aid or support’ the insurrection.” Griffin, 2022 WL 4295619, at *20.

           397. “One need not personally commit acts of violence to ‘engag[e] in’ insurrection.”
  Id. at **20–21 (“Mr. Griffin aided the [January 6th] insurrection even though he did not
  personally engage in violence”); Powell, 27 F. Cas. at 607 (defendant “engaged in” rebellion if
  he voluntarily provided a substitute to avoid serving in the Confederate Army). During
  Reconstruction, individuals were disqualified for previously holding local office in Confederate
  states, even though they did not take up arms in the Confederate army. E.g., Worthy, 63 N.C. 199
  (Confederate county sheriff).

          398. Engagement can include “non-violent overt acts or words in furtherance of the
  insurrection,” including words that incite, provoke, encourage, or command others to engage in
  insurrectionary conduct. Griffin, 2022 WL 4295619, at **20–21. In an opinion construing
  federal statutes enforcing Section 3 prior to its ratification, Attorney General Henry Stanbery
  wrote that “where a person has, by speech or by writing, incited others to engage in rebellion [or
  insurrection], he must come under the disqualification.” The Reconstruction Acts, 12 U.S. Op.
  Atty. Gen. 182, 205 (1867). He added that mere “[d]isloyal sentiments, opinions, or sympathies
  would not disqualify.” Id. President Andrew Johnson and his Cabinet approved Stanbery’s
  interpretation, and President Johnson directed officers commanding the Southern military




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  districts to follow it.205

         399. The only January 6th participant disqualified to date, Couy Griffin, was held to
  have engaged in insurrection both by “helping to mobilize and incite thousands across the
  country to join the mob” ahead of January 6th and by “incit[ing], encourag[ing], and help[ing to]
  normalize the violence” on January 6th. Griffin, 2022 WL 4295619, at **20–21. Griffin, like
  Trump, did not personally commit violent acts or breach the Capitol building. See id.

          400. To a far greater degree than Griffin, President Trump aided and incited the
  insurrection both before and on January 6th.

                   A. Trump knowingly and voluntarily aided and incited the insurrection
                      before January 6th.

          401. Ahead of January 6th, President Trump personally led a broad-based effort to
  coerce, pressure, and intimidate government officials at all levels to unlawfully overturn the
  election results in violation of their own oaths to the U.S. Constitution. As part of those efforts,
  Trump used the bully pulpit of the presidency and his massive social media following to
  summon tens of thousands of his supporters—including violent extremists and now-convicted
  seditionists—to travel to Washington, D.C. for a “wild” protest of Congress’s certification
  proceedings on January 6th. Trump’s December 19th “will be wild” tweet and other
  communications set in motion a chain of events that led directly to the January 6th attack on the
  Capitol.

         402. President Trump inflamed, incited, and angered his supporters for months by
  pervasively spreading false claims of a “stolen” and “rigged” election.

          403. President Trump persistently encouraged, promoted, and normalized violence and
  intimidation by his supporters against perceived political enemies, including by retweeting to his
  tens of millions of followers on May 28, 2020 a video of Trump supporter Couy Griffin saying
  “the only good Democrat is a dead Democrat” to a cheering crowd, and by celebrating the
  dangerous “Trump Train” highway confrontation carried out by his supporters against Biden
  campaign staff on October 30, 2020, just four days before the presidential election.

         404. President Trump repeatedly misled his supporters to believe that Vice President
  Pence had the legal authority to deliver victory for him on January 6th. To advance those efforts,
  205
     See 6 James D. Richardson, Joint Committee on Printing of the House and Senate, A
  Compilation of the Messages and Papers of the Presidents 528-31 (1898),
  https://books.google.com/books?id=1UEPAAAAYAAJ&newbks=1&newbks_redir=0&pg=PA5
  28#v=onepage&q&f=false (In Cabinet, June 18, 1867, summary item 16); id. at 552-56 (War
  Dep’t, Adjutant-General’s Office, Washington, June 20, 1867).

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  President Trump personally oversaw a scheme to create and transmit fake slates of presidential
  electors to Congress and the National Archives. Relying on those fake electoral slates, President
  Trump repeatedly pressured Vice President Pence, publicly and privately, to unlawfully refuse to
  certify the election results on January 6th.

          405. Before January 6th, President Trump knew or consciously disregarded the risk
  that the supporters he was summoning to Washington, D.C. were angry and prepared to use
  violence and threats of imminent violence to stop the lawful transfer of presidential power on
  January 6th.

          406. President Trump did in fact incite, provoke, influence, or otherwise cause
  supporters to come to Washington, D.C. to stop, obstruct, delay, or otherwise disrupt the lawful
  transfer of presidential power on January 6th, including nearly 200 January 6th criminal
  defendants who have confirmed they traveled to Washington, D.C. or marched to the Capitol
  because President Trump called on them to do so.

          407. President Trump’s pre-January 6th efforts materially aided the insurrection by
  mobilizing the mob around a single rallying date and location: January 6, 2021, in Washington,
  D.C. The mob’s size was their greatest weapon and enabled them to achieve the level of success
  that they did on January 6th. President Trump’s recruitment efforts increased the mob’s size and,
  in turn, furthered the insurrectionists’ goal of disrupting the lawful transfer of presidential power.

          408. Not only did President Trump’s “pre-January 6 mob mobilization and incitement
  efforts … help[] make the insurrection possible,” Griffin, 2022 WL 4295619, at *20, they caused
  it to happen.

                 B. Trump knowingly and voluntarily aided and incited the insurrection on
                    January 6th.

                       1.    The “Stop the Steal” rally.

          409. Once his tens of thousands of supporters were assembled in Washington for his
  January 6th rally and “wild” protest, President Trump continued to inflame them with the lie that
  the election was being stolen from them. He repeatedly directed their anger toward government
  officials, including Vice President Pence, who were meeting to certify the election results less
  than two miles away at the Capitol building. President Trump exhorted his supporters to “fight
  like hell” and instructed them to march on the Capitol to “Stop the Steal.” He used the word
  “fight” or variations of it 20 times, urged the crowd to show “strength,” and repeatedly insisted
  they “can’t let” the election certification happen. Trump summoned, primed, and deployed the
  mob as a weapon to attack Congress.

         410.    President Trump knew or consciously disregarded the risk that many in the crowd


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  were enraged, armed, and prepared to engage in violence or threats of imminent violence against
  individuals at the Capitol. Before his speech, Trump told his advance team: “I don’t [fucking]
  care that they have weapons. They’re not here to hurt me. Take the [fucking magnetometers]
  away. Let my people in. They can march to the Capitol from here. Take the [fucking] mags
  away.”

          411. President Trump knew or consciously disregarded the risk that his words were
  likely to incite, provoke, influence, or otherwise cause supporters to march to the Capitol
  grounds, illegally breach the restricted perimeter, or illegally breach the Capitol building.

         412. President Trump did in fact incite, provoke, influence, or otherwise cause
  supporters to march to the Capitol grounds, illegally breach the restricted perimeter, or illegally
  breach the Capitol building.

          413. President Trump knew or consciously disregarded the risk that his words were
  likely to incite, provoke, influence, or otherwise cause his supporters to engage in violence or
  threats of imminent violence against individuals at the Capitol.

         414. President Trump did in fact incite, provoke, influence, or otherwise cause
  supporters to engage in violence or threats of imminent violence against individuals at the
  Capitol.

          415. President Trump’s rally speech materially aided the insurrection and furthered the
  insurrectionists’ goal of disrupting the lawful transfer of presidential power by arousing his
  supporters’ anger and desperation, making them a more formidable obstacle to law enforcement,
  and increasing the size of the mob that attacked the Capitol.

                       2.    The 2:24 p.m. tweet.

          416. With full knowledge that the Capitol was under violent attack, President Trump
  sent a tweet at 2:24 p.m. that targeted Vice President Pence for lacking the “courage” to overturn
  the election results and appeared to sanction the mob’s ongoing invasion of the Capitol by
  declaring “USA demands the truth!”

         417. President Trump knew or consciously disregarded the risk that his 2:24 p.m. tweet
  was likely to incite, provoke, influence, or otherwise cause his supporters to engage in further
  violence or further threats of imminent violence against individuals at the Capitol.

         418. President Trump’s 2:24 p.m. tweet did in fact incite, provoke, influence, or
  otherwise cause his supporters to engage in further violence or further threats of imminent
  violence against individuals at the Capitol, including in these ways:



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             a. Throughout the afternoon, members of the mob chanted, “Hang Mike Pence!”;
                “Bring him out. Bring out Pence.”; and referred to Pence as a “traitor.”

             b. One minute after Trump’s tweet, at 2:25 p.m., the Secret Service determined they
                could no longer protect the Vice President in his ceremonial office and evacuated
                him and his family to a secure loading dock. The mob came within 40 feet of the
                Vice President as he was evacuated.

             c. Minutes after the 2:24 p.m. tweet, the mob broke through a security line of the
                D.C. Metropolitan Police Department, resulting in the first ever fighting
                withdrawal in that force’s 160-year history.

          419. President Trump’s 2:24 p.m. tweet materially aided the insurrection and furthered
  the insurrectionists’ goal of disrupting the lawful transfer of presidential power by exacerbating
  the mob’s anger and desperation, causing them to surge, intensifying their violence, and making
  them a more formidable obstacle to law enforcement.

                      3.    Exploitation of the violence and chaos at the Capitol.

         420. After learning by 1:21 p.m. that the Capitol was under attack and throughout the
  evening of January 6th, Trump exploited the violence and chaos at the Capitol and leveraged it to
  pressure Members of Congress to keep delaying the election certification, including in these
  ways:

             a. Around 2:26 p.m., he called Senator Tommy Tuberville of Alabama, who was
                then trapped in the Capitol building, to urge him to object to the electoral count.

             b. Immediately after that call, Trump spoke by phone with then-House Minority
                Leader Kevin McCarthy while McCarthy was sheltering in the Capitol, during
                which Trump refused to call off his mob and repeated his lies of “election theft”
                to justify the mob’s violence.

             c. Between around 5:00 and 8:00 p.m., Trump lawyer Giuliani called several
                Members of Congress on Trump’s behalf and urged them to keep delaying the
                election certification.

          421. By attempting to pressure, coerce, influence, or otherwise cause Members of
  Congress to keep delaying the election certification, Trump acted in furtherance of the
  insurrectionists’ goal of disrupting the lawful transfer of presidential power.

                      4.    Failure to authorize or deploy a federal response.

         422.    After learning by 1:21 p.m. that the Capitol was under attack, President Trump

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  refused to act to authorize or deploy a federal response to protect the Capitol, despite his
  affirmative constitutional duty to “take Care that the Laws be faithfully executed” and his role as
  Commander-in-Chief of the military, including the D.C. National Guard. U.S. Const. art. II, §§ 2,
  3.

          423. President Trump knew or consciously disregarded the risk that using his
  presidential powers on January 6th would have quelled, alleviated, or otherwise reduced the
  severity of the insurrection and the violence at the Capitol. Trump had multiple options at his
  disposal, including but not limited to ordering large-scale deployment of federal law
  enforcement, calling a snap cabinet meeting to better understand his options, ordering the D.C.
  National Guard to provide support in the area surrounding the Capitol grounds, authorizing
  deployment of out-of-state National Guard troops, and coordinating with the D.C. Metropolitan
  Police Department and U.S. Capitol Police. He did none of these things. Instead, he watched the
  insurrection unfold on television and ignored his advisors’ pleas to intervene to stop the violence.

          424. President Trump’s refusal to act, despite his legal duty to act, materially aided the
  insurrection and furthered the insurrectionists’ goal of disrupting the lawful transfer of
  presidential power by allowing the mob to advance unimpeded by federal forces that President
  Trump, as Chief Executive Officer and Commander-in-Chief, was uniquely empowered to
  authorize and deploy.

                       5.    Failure to timely instruct the mob to leave the Capitol.

          425. After learning by 1:21 p.m. that the Capitol was under attack, President Trump
  did not issue a statement instructing the insurrectionists to leave the Capitol until 4:17 p.m.,
  when he posted a video telling the mob to “go home.” During this nearly three-hour period,
  Trump could have easily walked down the hallway from the Oval Office Dining Room to record
  such a statement in the White House Press Briefing Room, where cameras are ready to go live at
  a moment’s notice. Trump refused to do so, despite repeated pleas from his staff and family.

          426. While Trump watched the attack unfold on television, law enforcement officers
  engaged in hours of hand-to-hand combat, resulting in about 140 D.C. Metropolitan Police and
  U.S. Capitol Police officers suffering injuries and one death, as well as additional deaths in the
  ensuing weeks. Members of Congress, their staff, members of the press, and many others were
  forced to flee for their lives. Some called loved ones to say goodbye, fearing imminent death.

          427. President Trump knew that instructing the insurrectionists to leave the Capitol
  prior to 4:17 p.m. would have quelled, alleviated, or otherwise reduced the severity of the
  insurrection and the violence at the Capitol.

          428. President Trump’s failure to act, despite his legal duty to act, materially aided the
  insurrection and furthered the insurrectionists’ goal of disrupting the lawful transfer of

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  presidential power.

          429. Through each of the acts and omissions alleged above in paragraphs 401–28,
  Trump “[v]oluntarily aid[ed] the [insurrection], by personal service” and “contributions” of
  things that were both “useful” and “necessary” to the January 6th insurrectionists’ cause. Worthy,
  63 N.C. at 203.

      IV.    The Office of the President is an “office … under the United States” from which
             Trump is disqualified.

          430. As alleged above in paragraphs 353–58, the President of the United States is an
  “officer of the United States” and one who takes a constitutional oath in that position is subject
  to Section 3 disqualification.

          431. For similar reasons, the Office of the President qualifies as “any office, civil or
  military, under the United States” from which a disqualified individual is barred. See Vlahoplus,
  supra note 190, at 6–13 (compiling authorities); Baude & Paulsen, supra note 1, at 107–111; see
  also Griffin, 2022 WL 4295619, at *22 (“Section Three’s list of offices from which one is
  disqualified … is facially broader than[] the offices” in which taking an oath makes one subject
  to disqualification).

          432. Thus, due to his disqualification under Section 3, Trump is constitutionally
  ineligible to assume the Office of the President.

                                       CLAIMS FOR RELIEF

                                           COUNT I
             (Relief Under C.R.S. § 1-4-1204 and § 1-1-113 – Respondent Griswold)

         433.    Petitioners repeat and incorporate by reference all preceding paragraphs.

          434. Under Colorado’s presidential primary elections statute, the Secretary is
  responsible for overseeing ballot access for presidential primary candidates, including by
  accepting a major political party’s form designating a candidate “as a bona fide candidate for
  president of the United States” who is “affiliated with [the] major political party,” C.R.S. § 1-4-
  1204(1)(b); accepting a “notarized candidate’s statement of intent together with either a
  nonrefundable filing fee of five hundred dollars or a petition signed by at least five thousand
  eligible electors,” id. § 1-4-1204(1)(c), § 1-4-903; and, ultimately, “certif[ying] and “listing” the
  “names and party affiliations of the candidates to be placed on any presidential primary election
  ballots,” id. §§ 1-4-1204(1), (4).

         435.    The legislature has declared that “it is the intent of the People of the State of


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  Colorado that the provisions of [the presidential primary elections statute] conform to the
  requirements of federal law,” id. § 1-4-1201, including the U.S. Constitution.

          436. As part of her duties “[t]o supervise the conduct of primary” and “general …
  elections in this state,” id. § 1-1-107(1)(a), the Secretary is “responsible for ensuring the
  qualifications of candidates for statewide and federal elections,” including presidential
  candidates, Hassan v. Colorado, 870 F. Supp. 2d 1192, 1195 (D. Colo. 2012), aff’d, 495 F.
  App’x 947 (10th Cir. 2012) (Gorsuch, J.) (upholding the Secretary’s exclusion of a
  constitutionally ineligible presidential candidate from the ballot); C.R.S. § 1-4-1203(3) (“The
  election officers … have the same powers and shall perform the same duties for presidential
  primary elections as they provide by law for other primary elections and general elections.”).

          437. Under Colorado law, “[n]o person is eligible to be a designee or candidate for
  office unless that person fully meets the qualifications of that office as stated in the constitution
  and statutes of this state on or before the date the term of that office begins.” C.R.S. § 1-4-501.

          438. Section 3 of the Fourteenth Amendment, as part of the U.S. Constitution, “shall
  be the supreme Law of the Land; and the Judges in every State shall be bound thereby.” U.S.
  Const. art. VI cl. 2; see also Colo. Const. art. II, § 2 (recognizing supremacy of the
  “[C]onstitution of the United States”).

           439. Both the Secretary and this Court are required by law to take an oath to support
  the U.S. Constitution, including Section 3 of the Fourteenth Amendment. See U.S. Const. art. VI
  cl. 3 (“[A]ll executive and judicial Officers … of the several States, shall be bound by Oath or
  Affirmation, to support this Constitution.”); Colo. Const. art. XII, § 8 (“Every civil officer …
  shall, before he enters upon the duties of his office, take and subscribe an oath or affirmation to
  support the constitution of the United States … and to faithfully perform the duties of the office
  upon which he shall be about to enter.”); id. art. IV, § 1 (“The executive department shall include
  the … secretary of state,” who “shall perform such duties as are prescribed … by law.”); C.R.S.
  § 24-12-101 (specifying form and requirements of the oath).

          440. The Secretary has a mandatory duty to support, obey, consider, apply, and enforce
  the U.S. Constitution, including Section 3 of the Fourteenth Amendment, in executing her
  official duties.

          441. To gain access to a presidential primary election ballot, a major party candidate
  must submit to the Secretary (and the Secretary must accept) “a notarized candidate’s statement
  of intent,” C.R.S. § 1-4-1204(1)(c), in which the candidate must expressly “affirm” to the




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  Secretary that the candidate “meet[s] all qualifications for the office prescribed by law.” 206

         442. Any action by the Secretary to provide ballot access to a presidential primary
  candidate who fails to meet all constitutional qualifications for the Office of President is an
  “impropriety,” id. § 1-4-1204(4), and “a breach or neglect of duty or other wrongful act,” id. § 1-
  1-113(1).

          443. As “eligible electors,” id., Petitioners have standing under state law to
  prospectively “challenge” as “improp[er]” the “listing of any candidate on the presidential
  primary election ballot … in accordance with section 1-1-113(1),” so long as the challenge is
  brought “no later than five days after the filing deadline for candidates,” id. § 1-4-1204(4). Such
  a challenge is ripe for adjudication as soon as a person qualifies as a “candidate” for a
  presidential primary election.

        444. Trump is presently a “candidate” under Colorado and federal law for the 2024
  Republican presidential primary election.

          445. Because Trump is disqualified from public office under Section 3 of the
  Fourteenth Amendment, he does not “meet all qualifications for the office [of the President]
  prescribed by law.”

           446. Despite the Secretary’s power and duty to exclude constitutionally ineligible
  candidates from the presidential primary ballot, the Secretary has not committed to excluding
  Trump from the presidential primary ballot based on his disqualification under Section 3. Based
  on historical practice, the Secretary will not independently investigate Trump’s constitutional
  eligibility under Section 3 and exclude him from the ballot on that basis absent a judicial order to
  that effect.

          447. Due to Trump’s constitutional ineligibility to serve as president, any action by the
  Secretary allowing Trump ballot access—including accepting the Colorado Republican Party’s
  form designating Trump “as a bona fide candidate for president of the United States,” C.R.S. § 1-
  4-1204(1)(b); accepting Trump’s “notarized candidate’s statement of intent together with either a
  nonrefundable filing fee of five hundred dollars or a petition signed by at least five thousand
  eligible electors,” id. § 1-4-1204(1)(c); or “certify[ing]” and “listing” his name on the primary
  election ballot, id. §§ 1-4-1204(1), (4)—will be “improp[er],” id. § 1-4-1204(4), and “a breach or
  neglect of duty or other wrongful act” that, absent relief by this Court, the Secretary is “about to
  commit,” id. § 1-1-113(1), in violation of the U.S. Constitution and Colorado law.

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     Colorado Sec. of State, Major Party Candidate Statement of Intent for Presidential Primary,
  https://www.coloradosos.gov/pubs/elections/Candidates/files/MajorPartyCandidateStatementOfI
  ntentForPresidentialPrimary.pdf.

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          448. There is an urgent public interest in promptly resolving whether Trump is
  constitutionally eligible to serve as president in advance of the approaching primary election.
  Absent timely relief, Petitioners and other voters will be irreparably harmed.

                                         COUNT II
     (Declaratory Relief Under C.R.S. § 13-51-105 and C.R.C.P. 57(a) – All Respondents)

         449.    Petitioners repeat and incorporate by reference all preceding paragraphs.

          450. “District and superior courts within their respective jurisdictions shall have the
  power to declare rights, status, and other legal relations whether or not further relief is or could
  be claimed.” C.R.C.P. 57(a); accord C.R.S. § 13-51-105. Although Rule 57 enumerates certain
  examples of cases where declaratory relief is appropriate, “[t]he enumeration in sections (b), (c),
  and (d) of this Rule does not limit or restrict the exercise of the general powers conferred in
  section (a) of this Rule, in any proceeding where declaratory relief is sought, in which a
  judgment or decree will terminate the controversy or remove an uncertainty.” C.R.C.P. 57(e);
  accord C.R.S. § 13-51-105.

         451. Petitioners seek declaratory relief to “terminate the controversy or remove an
  uncertainty” about whether Trump is constitutionally eligible for the office of the presidency and
  whether the Secretary may lawfully certify him as a candidate for that office.

         452. Because Trump is disqualified to serve as president under Section 3 of the
  Fourteenth Amendment, Petitioners are entitled to declaratory relief that Trump is disqualified
  from office and that the Secretary may not take any action to allow Trump access to the 2024
  Republican presidential primary ballot.

                                      PRAYER FOR RELIEF

         WHEREFORE, Petitioners respectfully request that the Court issue an order:

        1.     Setting an expedited hearing on this Petition under C.R.S. §1-4-1204(4) and
  C.R.C.P. 57(m);

         2.     Declaring that Trump is disqualified under Section 3 of the Fourteenth
  Amendment to the Constitution of the United States and is therefore constitutionally ineligible to
  appear on any Colorado ballot as a candidate for federal or state office;

         3.     Declaring that any action by the Secretary allowing Trump to access the 2024
  Republican presidential primary election ballot or any future primary or general election ballot in
  Colorado will be “improp[er],” C.R.S. § 1-4-1204(4), and “a breach or neglect of duty or other

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  wrongful act,” id. § 1-1-113(1);

          4.      Enjoining the Secretary from taking any action that would allow Trump to access
  the 2024 Republican presidential primary election ballot or any future primary or general
  election ballot in Colorado;

         5.      Awarding Petitioners their reasonable attorneys’ fees and costs incurred in
  prosecuting this action; and

         6.      Granting any other relief that this Court deems just and proper.

         Date: September 6, 2023               Respectfully submitted,

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                                      *Pro hac vice admission pending

                                      Counsel for Petitioners




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                            VERIFICATION OF NORMA ANDERSON

          I, Norma Anderson, being first duly swoflL state and affirm that the factual allegations set
  forth in this Petition are true and correct to the best of my knowledge, inforrnation, and belief.




  STATE OF COLORADO                               )
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  cor.rNrYorM                                     )


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A.       subscribed and swom to before -", QqR            rL( bnh
                                                               , in the county of
                . state of Colorado. on this  q
                                             day of September. 2023.



         Witness my hand and official seal.

         My commissionexpir"rr      9 ft          , 2o-d)




                                                        CONEISE CLARK
                                                            Notary Public
                                                          State of Colorado
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                             VERIFICATION OF MICHELLE PRIOLA

          I, Michelle Priola being first duly swom, state and affirm that the factual allegations set
  forth in this Petition are true and correct to the best of my knowledge, information, and belief.




                 Michelle Priola




  STATE OF COLORADO                             )
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  couNrY or Edarrv^->-                          )


                                   *r, Q-eru. O"oth , in the county of
         Subscribed and swom to before
  ?danoa-, state of Colorado, on this j{- day of September,2}23.

         Witness my hand and official   seal.
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                            VERIFICATION OF CLAUDINE CMARADA

            I, Claudine Cmarad4 being first duly sworn, state and affrm that the factual allegations
   set forth in this Petition are true and correct to the best of my knowledge, information, and belief.




                                                                                        ?AJ
                  Claudine Cmarada




   STATE OF COLORADO                             )

   couNrYorfu                                    ) SS.
                                                 )



          Subscribed and sworn to before    *.,@,                         in the county of
             t-   , state of Colorado, on this .![_ day of September, 2023.



          Witness my hand and official seal.

          My commission expire* C1 \       ]     ,   2oS


                                                 Notary Public    #
     Case No. 1:23-cv-02291-PAB Document 1-2 filed 09/07/23 USDC Colorado pg 113 of 115




                                     VERIFICATION OF KRISTA KAFER

               I, Krista Kafer, being first duly sworn, state and affirm that the factual allegations set
       forth in this Petition are true and correct to the best of my knowledge, information, and belief.




       STATE OF COLORADO                              )
                                                      ) SS.
       couNrYo@                                       )


.}            Subscribed
              LtLlt Jvrlu9u   alu sworn
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                                                    lll                      , in the county of
     at"qs].0.
          \-             , state of Colorado, on this      day of September, 2023.



              Witness my hand and official seal.

              My commission expirerr    9_A--, 2G
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                                      VERIFICATION OF KATHI WRIGHT

             I, Kathi Wright, being first duly sworn, state and affirm that the factual allegations set
     forth in this Petition are true and correct to the best of my knowledge, information, and belief.




                                                                   Date




     STATE OF COLORADO                             )
                                                   ) SS.
     CouNrY or R-r\ckra                            )



                                       e,@,
            Subscribed and sworn to before tt                in the county of
--@C,}g[ga--, state of Colorado, onthis q day of September, 2023.



            Witness my hand and official seal.


            My commission expirer,       9 )? , 2olEJ


                 CONEISE CLARK
                    Notary Public
                  State of Colorado
               Notary lD # 20194038701
          y_y fgq,'ssion Expires 0S-17-2027
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                            VERIFICATION OF CHRISTOPHER CASTILIAN

             I, Christopher Castilian, being first duly sworn, state and affirm that the factual
     allegations set forth in this Petition are true and correct to the best of my knowledge,
     information, and belief.


                                                                            09/05/2023
                     Christopher Castilian                                Date




     STATE OF COLORADO                              )
                                                    ) SS.
     COUNTY OF Denver                               )


                                                   Phillip Wilson a Notary Public
           Subscribed and sworn to before me,                         , in the county of
      Denver      , state of Colorado, on this 5 th day of September, 2023.by Christopher Castilian.


             Witness my hand and official seal.

             My commission expires: NOV 17          , 20 24 .

Notarized online using audio-video communication

                                                    Notary Public
